Case: 1:16-cv-00298-MWM Doc #: 113-3 Filed: 07/07/22 Page: 1 of 208 PAGEID #: 5542




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 JOSEPH HARDESTY, et al.                             :   Case No. 1:16-CV-00298
 Individually and on behalf of All                   :
 Others Similarly Situated                           :   Judge Matthew W. McFarland
                                                     :
                               Plaintiffs,           :
                                                     :   AFFIDAVIT OF JOSHUA M. SMITH,
        v.                                           :   ESQ. IN SUPPORT OF JOINT
                                                     :   MOTION TO APPROVE
 THE KROGER CO., et al.                              :   COLLECTIVE ACTION
                                                     :   SETTLEMENT
                               Defendants.           :


       Now comes Joshua M. Smith, Esq., Co-Counsel for Representative Plaintiffs Joseph

Hardesty, Madeline Hickey, Derek Chipman, and the 24 FLSA Collective Action Members

(collectively, “Plaintiffs”), and for his Declaration in the matter of Hardesty et al. v. The Kroger

Co. et al., Case No. 1:16-cv-00298 (the “Lawsuit”) states the following:

   1. I have been an associate attorney at Stagnaro, Saba & Patterson Co., L.P.A. for the last 8
      years.

   2. Throughout that time, I have represented multiple clients in labor and employment matters,
      including wage and hour disputes under the FLSA and Ohio law.

   3. In the present Lawsuit, I have represented the 27 Plaintiffs as counsel of record since the
      date of filing, February 9, 2016, including the three Representative Plaintiffs. All 27
      Plaintiffs submitted opt-in consent forms, which have been filed with the Court.

   4. Sharon J. Sobers, a fellow associate of the firm with 36 years of experience, and Peter A.
      Saba, a shareholder of the firm with 30 years of experience, have also represented the
      Plaintiffs as counsel of record throughout this time period. Both Ms. Sobers and Mr. Saba
      have represented multiple clients in wage and hour disputes throughout their years of
      practice, including claims arising under the FLSA and Ohio law.

   5. At certain times throughout the litigation, other attorneys and staff members have assisted
      in prosecuting the Plaintiff’s claims, including Jeffrey G. Stagnaro (shareholder), Jeffrey
      M. Nye (partner), Matthew D. Soaper (associate attorney), and staff members Emma F.
      Paxton, Karen A. Cittadino, Haley N. Rubel, and Jessica K. Peterson.



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   6. All of the above attorneys and staff are competent, experienced, and provided valuable and
      efficient services to the Plaintiffs in prosecuting their claims for overtime compensation.

   7. Since the Lawsuit began, the above attorneys and staff have expended significant time over
      a 7-year period prosecuting and assisting in the prosecution of the Plaintiffs’ claims. This
      includes, but is in no way limited to, preliminary investigations, witness interviews, intra-
      office meetings, conducting legal research on various issues including under the FLSA and
      federal rules, preparing and filing pleadings, preparing for and attending mediation,
      communications with class members, certification briefing, dispositive motion briefing,
      substantial discovery (including 14 depositions and reviewing thousands of pages of
      documents produced in discovery), discretionary appeals, and trial preparation up to and
      including the date of settlement (March 11, 2022).

   8. The attorneys and staff referenced contemporaneously tracked all of their time expended
      in prosecuting the Plaintiffs’ claims, in increments of 1/10 of an hour. A true and accurate
      copy of the attorney/staff time report reflecting such hours expended on the Lawsuit is
      attached hereto as Attachment 1.

   9. The total amount of hours expended by each of the above attorneys and staff are identified
      below:

               Attorney Hours

          a.
          b.
          c.
          d.
          e.
               Joshua M. Smith
               Sharon J. Sobers
               Peter A. Saba
               Matthew D. Soaper
               Jeffrey M. Nye
                                     -
                                     -
                                     -
                                     -
                                     -
                                            --       hours
                                                   hours
                                                   hours
                                                   hours
                                                  hours
          f.   Jeffrey G. Stagnaro

               Staff Hours
                                     -
                                             •   hours



          g.
          h.
          i.
          j.
               Emma F. Paxton
               Jessica K. Peterson
               Haley N. Rubel
               Karen A. Cittadino
                                     -
                                     -
                                     -
                                     -
                                             --      hours
                                                     hours
                                                     hours
                                                    hours


   10. The above hours expended on the Litigation were billed at the following hourly rates:

               Attorney Rates

          a. Joshua M. Smith         -                 / hour (2015 - 2017)
                                                       / hour (2018 - 2019)
                                                       / hour (2020)
                                                       / hour (Jan. 2021 – July 2021)

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                                                     / hour (Aug. 2021 – Jan. 2022)
                                                     / hour (Feb. 2022 – present)

          b. Sharon J. Sobers        -               / hour (2015 – 2020)
                                                     / hour (Jan. 2021 – Jan. 2022)
                                                     / hour (Feb. 2022 – present)

          c. Peter A. Saba           -               / hour (2015 – 2017)
                                                     / hour (2018 – 2019)
                                                     / hour (2020)
                                                     / hour (2021)
                                                     / hour (2022)

          d. Jeffrey G. Stagnaro     -               / hour (2022)

          e. Jeffrey M. Nye          -               / hour (2015 – 2017)
                                                     / hour (2018 – 2019)

          f. Matthew D. Soaper       -               / hour (2021 – present)

              Staff Rates

          g. Emma F. Paxton          -               / hour (2015 – 2017)

          h. Karen A. Cittadino      -               / hour (2018 – 2019)

          i. Haley N. Rubel          -               / hour (2019)
                                                     / hour (2020)

          j. Jessica K. Peterson     -               / hour (2021)
                                                     / hour (2022)


   11. Based upon the above rates and hours expended, the total amount of fees expended on the
       Litigation is             .

   12. The above rates and hours expended are reasonable, and consistent with prevailing rates of
       those in the community for similar services by lawyers of reasonably comparable skill,
       experience, and reputation.

   13. On March 11, 2022, following good faith, arm’s length negotiations between Plaintiffs and
       Defendants, the parties reached a settlement agreement in the Lawsuit, after seven years of
       litigation and three days prior to a jury trial in this matter.

   14. The formal Settlement Agreement reflects a total monetary amount of
       covering (a) all individual payments to each Plaintiff (total of   ); (b) a service

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       award to the Representative Plaintiffs (           each for total of               ); and (c) a
       partial payment of Plaintiffs’ Counsel’s attorney fees and expenses
       and             in expenses). The amount in fees is approximately
       expended, well below the lodestar referenced above.                      -              in fees,
                                                                                      of the amounts


   15. This settlement is fair, reasonable, and provides substantial relief to the Plaintiffs for the
       overtime amounts alleged to be owed to them. Since informing the Plaintiffs of the
       settlement and vacating of the trial, Plaintiffs’ counsel has received no negative feedback
       regarding the settlement, and in fact the feedback received has been positive.

   16. If forced to litigate this case further, the parties would likely engage in complex, costly,
       and protracted wrangling, including but not limited to conducting a 2-3 week trial,
       engaging in post-trial briefing, and potentially appealing any final judgment. On the other
       hand, the settlement provides a finality to this dispute at the present time.

   17. The individual payments to each Plaintiff (totaling                   ) were calculated based
       upon a thorough review of documents produced by Defendants in this case, including, but


      -•
       not limited to, (i) salary amounts of each Plaintiff; (ii) work schedules indicating, generally,
       a      hour workweek; (iii) detailed phone records/reports maintained by Kroger indicating
       various amounts of overtime work; (iv) security badge records indicating arrival times of
       Plaintiffs; and (v) Plaintiff testimony and/or anticipated testimony reflecting approximately
           hours of scheduled overtime, and
                                              •    additional hours of unscheduled overtime.

   18. Based upon the above, Plaintiffs’ counsel prepared a chart of damages which were
       presented to Defendants for purposes of settlement negotiations. A true and accurate copy
       of this chart is included in the settlement agreement, and also attached hereto as
       Attachment 2.


       individual’s salary at Kroger to a regular hourly rate, by dividing the salary by
                                                                                         -
   19. This chart calculates the individual amounts due to each Plaintiff by (i) converting each
                                                                                            hours;
       (ii) obtaining the overtime rate of each individual by multiplying that regular hourly rate
       by                                 ; (iii) determining the weeks of employment for each
       individual discounting any applicable leaves of absence; (iv) multiplying the overtime rate
       by the estimated amount of overtime hours (generally, I hours per person), and further
       multiplied by the individual’s weeks of employment, and, finally, (vi) multiplying the total
       amount owed in overtime back wages by I to account for liquidated damages under the
       FLSA.


       wages (
               -     of back wages, plus
                                           -
   20. As part of the settlement, the Plaintiffs will receive the equivalent of
                                                                                 -    of their back
                                                 of liquidated damages). This substantial amount,
       which is agreed to by the Representative Plaintiffs, accounts for the inherent risk of trial
       and ongoing litigation (including appeals). Had this case not settled, there is a substantial
       risk that Defendants could have succeeded. As such, there was a substantial risk of non-
       payment both to the Plaintiffs and Plaintiffs’ counsel.




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    21. The attorney's fees were also reduced significantly to account for these same factors.
        Indeed, while the total in fees is            , Plaintiffs have accepted a reduction of
        approximately • • (or

    22. The amount in expenses                 ) accounts for fixed costs throughout the litigation that
        were necessary and reasonable, including, but not limited to , mailing/postage/copying
        charges, filing fees, phone line costs, parking/trnvel, deposition attendance (court reporter)
        and transcript fees, witness fees, and significant legal research costs. A true and accurate
        copy of a repo1i detailing these expenses is included on the final page of Attachment 1.

    23. The Settlement Agreement's Service Award of             to each Representative Plaintiff
        (totaling        ) was also a result of arm's length negotiations and is a modest award
        which is consistent with the awards typically approved in FLSA collective action
        settlements.

    24. Representative Plaintiffs Joseph Hardesty, Madeline Hickey, and Derek Chipman all
        participated throughout this Litigation over and above other Plaintiffs, including attending
        multiple conferences with counsel, submitting to video depositions, attending mediation
        and pre-trial conferences, and assisting in negotiations which resulted in a settlement prior
        to trial.


    I declare under penalty of perjury that the fo regoing is true and co1Tect.



                                                                J shua M. Smith

                                                                Dated:   7 {~l&d-




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                               Stagnaro, Saba & Patterson Co., L.P.A.
                                              2623 Erie Avenue
                                           Cincinnati, OH 45208
                                      Billing Inquiries (513) 533-2479

       Paying with a credit card? Visit our secure client payment page: www.sspfirm.com/payment

                                       Federal Tax ID # XX-XXXXXXX

                                                                                             May 24, 2022

                                                                                         Invoice # 790903


                                             Invoice Summary

Professional services rendered through May 5, 2022:

Client.Matter: 14690.19512

Reference:    FLSA

                     Professional Services
                     Total Expenses

                     Total This Invoice




                                          Terms: Due On Receipt
                                       Service Charges After 30 Days                 Attachment 1
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                                Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                  May 24, 2022
FLSA                                                                                         Invoice #: 790903


   Date Int        Professional Services                                                      Hours Amount
 9/24/15 JMS       Telephone conference with the client regarding questionnaire and
                   follow-up questions
 9/24/15 JMS       Legal research regarding wage and hour issues
10/28/15 JMS       Draft request for pay records and client authorization form and
                   correspondence to Sharon J. Sobers regarding the same
10/28/15 JMS       Telephone conference with the client regarding the same and related
                   issues
10/29/15 EFP       Revise and finalize client authorization and request for pay records
10/29/15 EFP       Email to Kroger regarding request for pay records
10/29/15 JMS       Draft and revise correspondence to Kroger regarding request for pay
                   records and client authorization form, correspondence to Emma F.
                   Paxton regarding the same
10/29/15 JMS       Conference with the client regarding authorization and request for pay
                   records
11/02/15 EFP       Email to the client regarding request for pay records
11/02/15 JMS       Legal research regarding wage and hour issues, correspondence to
                   Sharon J. Sobers regarding the same
11/02/15 JMS       Correspondence to the client regarding wage and hour issues
11/03/15 JMS       Conference with Emma F. Paxton regarding dates for statute of
                   limitations
11/03/15 JMS       Legal research regarding wage and hour issues
11/03/15 JMS       Conference with Sharon J. Sobers regarding wage and hour issues
11/03/15 JMS       Receipt and review of responses from the client regarding job duties
11/04/15 JMS       Conference with Sharon J. Sobers regarding collective action issues and
                   procedural strategy moving forward
11/04/15 SJS       Review legal research
11/04/15 SJS       Conference with Joshua Smith regarding interaction of ADEA and
                   FLSA claims, legal research regarding FLSA claim, issues with FLSA
                   claim, offer of judgment, and calculation of damages (fluctuating
                   workweek, etc.)
11/04/15 SJS       Legal research regarding FLSA issue and misclassification of recruiters

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                                 Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                    May 24, 2022
FLSA                                                                                           Invoice #: 790903


   Date Int        Professional Services                                                        Hours Amount
11/05/15 JMS       Legal research regarding wage and hour issues and exemptions for
                   administrative and outside sales employees
11/11/15 JMS       Conference with Sharon J. Sobers regarding wage and hour issues
11/11/15 JMS       Legal research regarding collective action procedure and issues
                   regarding offers of judgment
12/01/15 SJS       Legal research regarding "picking off" class/collective action plaintiffs
                   through Rule 68 offer of judgment, legal research regarding Rule 68
                   offers of judgment mooting collective actions, Discuss Hardesty
                   conversation regarding settlement demand with Joshua M. Smith
12/01/15 SJS       Discuss offer of judgment caselaw briefly
12/03/15 SJS       Legal research regarding picking off plaintiffs, Continue legal research
                   regarding picking off plaintiffs, review cases cited in Charvot decision
                   regarding picking off plaintiffs
12/08/15 JMS       Conference with the client regarding job duties and other potential
                   FLSA wage and hour issues
12/08/15 JMS       Conference with Sharon J. Sobers regarding issues with respect to filing
                   complaint and upcoming class/collective action matter
12/08/15 JMS       Correspondence with potential named plaintiff Madeline Hickey
                   regarding representation
12/08/15 JMS       Receipt and review of response from named plaintiff Madeline Hickey
12/08/15 JMS       Telephone conference with potential named plaintiff Ckris Matibiri
12/08/15 JMS       Conference with Christopher R. Jones regarding potential named
                   plaintiff Michael Kovatch and draft correspondence to Christopher R.
                   Jones regarding the same
12/08/15 SJS       Emails with Josh M. Smith regarding additional plaintiffs for FLSA
                   action
12/08/15 SJS       Prepare for meeting with Joshua M. Smith regarding FLSA, conference
                   with Joshua Smith regarding FLSA litigation
12/09/15 JMS       Telephone conference with opposing counsel regarding settlement; Draft
                   settlement memo; Conference with Sharon J. Sobers regarding offer of
                   settlement; Telephone conference with the client regarding the same
12/09/15 JMS       Correspondence with potential named plaintiff Madeline Hickey
                   regarding other potential witnesses

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                                Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                 May 24, 2022
FLSA                                                                                        Invoice #: 790903


   Date Int        Professional Services                                                     Hours Amount
12/09/15 JMS       Legal research regarding administrative exemptions for human resources
                   employees
12/09/15 SJS       Legal research regarding adequacy of counsel for class action, legal
                   research regarding Ohio wage law issues
12/09/15 SJS       Research regarding Ohio law on preemption and opt-in/opt-out; Review
                   Monihan pleadings; Conference with Joshua M. Smith regarding
                   responding to Kroger's settlement offer
12/09/15 SJS       Review Monihan pleadings
12/09/15 SJS       Conference with Joshua M. Smith regarding responding to Kroger's
                   settlement offer and exhibits to request for unemployment hearing
12/10/15 JMS       Draft complaint; Conference with Sharon J. Sobers regarding the same
12/10/15 JMS       Legal research regarding conditional certification standards and
                   decisions in the Sixth Circuit
12/10/15 JMS       Draft consent forms
12/10/15 SJS       Review NELA FLSA seminar materials, legal research regarding hybrid
                   class actions in the Sixth Circuit
12/11/15 JMS       Review decision in Monahan v. Smyth Automotive in preparation for
                   pleading state wage claims in complaint
12/11/15 JMS       Telephone conference with Peter A. Saba regarding status of named
                   plaintiffs
12/11/15 JMS       Draft complaint
12/14/15 JMS       Conference with named plaintiff Madeline Hickey investigation of
                   claims
12/14/15 JMS       Revise complaint; Conference with Sharon J. Sobers regarding the same
12/14/15 JMS       Legal research regarding adequacy of representation, commonality, and
                   related state wage claims
12/14/15 JMS       Conference with Peter A. Saba regarding status of collective action
12/14/15 JMS       Telephone conference with potential named plaintiff Ckris Matibiri
                   regarding representation
12/14/15 JMS       Correspondence to named plaintiff Ckris Matibiri regarding fee
                   agreement; Telephone conference with potential named plaintiff Derek
                   Chipman regarding representation

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                                 Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                   May 24, 2022
FLSA                                                                                          Invoice #: 790903


   Date Int        Professional Services                                                       Hours Amount
12/14/15 JMS       Provide status update to Peter A. Saba and Sharon J. Sobers
12/14/15 SJS       Review Monihan issues prior to conference with Joshua M. Smith
                   regarding complaint, conference with Joshua M. Smith regarding
                   Monihan briefing and required provisions for complaint
12/15/15 SJS       Review Joshua M. Smith's status email, Email to Joshua M. Smith
                   regarding next steps
12/16/15 JMS       Revise complaint
12/17/15 SJS       Review issues regarding motion for certification
12/21/15 JMS       Legal research regarding Ohio class action and recent decision from
                   First District Court of Appeals, correspondence to Peter A. Saba and
                   Sharon J. Sobers regarding the same
12/22/15 SJS       Conference with Joshua M. Smith regarding status
12/24/15 JMS       Legal research regarding administrative exemption with respect to call
                   center employees
12/27/15 JMS       Legal research regarding conditional certification and legal standard
12/27/15 JMS       Call to Derek Chipman regarding representation
12/28/15 JMS       Draft motion for conditional class certification
12/31/15 JMS       Legal research regarding collective action claims in conjunction with
                   Ohio class action claims
12/31/15 JMS       Telephone conference with the client; Correspondence to Emma F.
                   Paxton regarding the same
 1/04/16 EFP       Review certified mail receipts regarding request for pay records
 1/04/16 JMS       Draft correspondence to Kroger regarding failure to provide pay records
                   and correspondence to Sharon J. Sobers and Peter A. Saba regarding the
                   same
 1/04/16 JMS       Legal research regarding conditional certification and related issues
 1/04/16 JMS       Telephone conference with Derek Chipman regarding fee agreement and
                   scheduled conference; Correspondence to Sharon J. Sobers and Peter A.
                   Saba regarding the same
 1/04/16 JMS       Telephone conference with Sharon J. Sobers regarding litigation strategy
                   and potential deadlines


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                                 Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                  May 24, 2022
FLSA                                                                                         Invoice #: 790903


   Date Int        Professional Services                                                      Hours Amount
 1/04/16 JMS       Telephone conference with the client regarding status of case
 1/04/16 JMS       Revise complaint; Correspondence to Sharon J. Sobers and Peter A.
                   Saba regarding the same
 1/04/16 JMS       Draft litigation strategy and calendar of deadlines
 1/04/16 JMS       Correspondence to Sharon J. Sobers regarding letter to Kroger
                   requesting pay records and potential lawsuit
 1/04/16 SJS       Legal research regarding 6th Circuit caselaw on class certification and
                   violation of the requirement to produce wage information under Ohio
                   wage statutes
 1/04/16 SJS       Conference with Joshua M. Smith regarding timeline for case issues
 1/05/16 EFP       Revise and finalize correspondence to Kroger regarding pay records,
                   email to Kroger regarding pay records correspondence and email to the
                   client regarding email to Kroger
 1/05/16 JMS       Legal research regarding equitable tolling with respect to FLSA actions
 1/05/16 JMS       Revise litigation strategy spreadsheet and correspondence to Peter A.
                   Saba and Sharon J. Sobers regarding the same
 1/06/16 EFP       Review consents from the client
 1/06/16 JMS       Preparation for and meeting with the client and Derek Chipman
                   regarding typical day to day duties at Kroger
 1/06/16 SJS       Review opt-in consent form, research background for development of
                   form
 1/06/16 SJS       Conference with Joshua M. Smith regarding opt-in forms, contents of
                   folders in Kaiser litigation, and Hardesty's resume
 1/06/16 SJS       Review class complaint
 1/07/16 JMS       Revise complaint
 1/07/16 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding status
                   update on litigation
 1/11/16 JMS       Outline and draft motion for conditional certification
 1/11/16 JMS       Telephone conference with the client regarding status of claims
 1/11/16 JMS       Conference with Sharon J. Sobers regarding motion for class
                   certification

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Hardesty, Joseph                                                                                    May 24, 2022
FLSA                                                                                           Invoice #: 790903


   Date Int        Professional Services                                                        Hours Amount
 1/13/16 JMS       Revise motion for conditional certification
 1/13/16 JMS       Conference with Sharon J. Sobers regarding litigation strategy and
                   upcoming deadlines
 1/13/16 JMS       Conference with Sharon J. Sobers regarding revisions to complaint
 1/13/16 JMS       Legal research regarding offers of judgment and mooting class action
                   claims
 1/13/16 SJS       Draft topics for declarations
 1/13/16 SJS       Draft outline of motions for collective action certification
 1/13/16 SJS       Review and revise schedule for class action/age discrimination claim
 1/13/16 SJS       Prepare for meeting with Joshua Smith to discuss schedule for FLSA
                   actions, changes to FLSA complaint, review FLSA Complaint, review
                   schedule for FLSA claims, review FLSA complaint
 1/14/16 JMS       Review complaint with Sharon J. Sobers; Revise the same
 1/14/16 JMS       Legal research regarding offers of judgment mooting class or collective
                   actions; Conference with Sharon J. Sobers regarding the same
 1/14/16 JMS       Review FLSA overview documents provided by Sharon J. Sobers
 1/14/16 SJS       Review class certification cases for supporting materials, legal research
                   regarding motions for certification, review "FLSA Litigation Basics,"
                   from NELA Seminar, conference with Joshua M. Smith regarding same,
                   continue review of NELA seminar materials
 1/14/16 SJS       Conference with Joshua M. Smith regarding FLSA payments to
                   undocumented immigrant workers
 1/15/16 JMS       Revise complaint
 1/18/16 JMS       Revise complaint
 1/20/16 SJS       Legal research: Review Campbell-Ewald Gomez decision from US
                   Supreme Court, exchange emails with Joshua M. Smith regarding the
                   same
 1/22/16 JMS       Legal research regarding offers of judgment and recent decision by the
                   United States Supreme Court in Campbell-Ewald v. Gomez
 1/25/16 EFP       Legal research regarding previous Kroger FLSA class actions



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                                 Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                    May 24, 2022
FLSA                                                                                           Invoice #: 790903


   Date Int        Professional Services                                                        Hours Amount
 1/25/16 JMS       Legal research regarding offers of judgment in the Sixth Circuit; Legal
                   research regarding use of declaratory judgment in FLSA actions
 1/25/16 SJS       Legal research regarding declaratory judgment in the Sixth Circuit, legal
                   research regarding declaratory judgment
 1/26/16 JMS       Legal research regarding declaratory judgment in FLSA actions;
                   Correspondence to Sharon J. Sobers regarding the same
 1/26/16 JMS       Revise complaint
 1/26/16 JMS       Conference with Sharon J. Sobers regarding plaintiff and witness
                   declarations and further factual investigation
 1/26/16 JMS       Research regarding potential of bringing collective and class actions
                   under Rule 23(b)(2) for injunctive relief; Correspondence with Sharon J.
                   Sobers regarding the same; Conference with Sharon J. Sobers regarding
                   the same
 1/26/16 SJS       Review Joshua M. Smith's declaratory judgment case
 1/26/16 SJS       Legal research regarding class certification in the Sixth Circuit
 1/26/16 SJS       Review complaint
 1/26/16 SJS       Legal research regarding class actions
 1/27/16 JMS       Revise complaint
 1/27/16 JMS       Legal research regarding ORC 4113.15
 1/27/16 JMS       Draft declarations
 1/27/16 JMS       Telephone conference with the client
 1/28/16 JMS       Telephone conference with the client regarding W-2's
 1/29/16 EFP       Make changes to complaint
 1/29/16 JMS       Telephone conference with the client regarding draft complaint
 1/29/16 JMS       Telephone conference with Derek Chipman regarding fact issues
 1/29/16 JMS       Correspondence to Sharon J. Sobers regarding the same
 1/29/16 JMS       Finalize draft of complaint to be sent to clients
 1/30/16 JMS       Receipt and review of correspondence from the clients regarding
                   complaint


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                                 Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                 May 24, 2022
FLSA                                                                                        Invoice #: 790903


   Date Int        Professional Services                                                     Hours Amount
 1/30/16 JMS       Revise complaint
 1/30/16 JMS       Legal research regarding Ohio unpaid wage claims
 2/01/16 JMS       Telephone conference with the client regarding W-2's and FLSA
                   complaint
 2/01/16 JMS       Correspondence to counsel for Kroger regarding status of W-2's
 2/01/16 JMS       Correspondence to Christopher R. Jones regarding update on status of
                   witness
 2/01/16 JMS       Correspondence to Kroger regarding W-2's of client; Correspondence to
                   the client regarding the same
 2/01/16 JMS       Revise complaint; Correspondence with Sharon J. Sobers regarding the
                   same
 2/01/16 JMS       Legal research regarding declaratory judgment actions with respect to
                   FLSA collective action claims
 2/01/16 JMS       Receipt and review of correspondence from the client
 2/01/16 JMS       Follow-up telephone conference with Ckris Matibiri regarding job
                   duties, hours worked, and other allegations against Kroger; Draft memo
                   to file regarding the same
 2/01/16 JMS       Review of Dukes v. Wal-Mart decision and correspondence to Sharon J.
                   Sobers regarding the same
 2/01/16 SJS       Prepare chronology for meeting with Peter A. Saba
 2/01/16 SJS       Conference with Joshua Smith regarding bringing Declaratory Judgment
                   as part of Collective Action, legal research during discussion
 2/02/16 EFP       Make changes to litigation memo
 2/02/16 JMS       Review file
 2/02/16 JMS       Draft memo regarding potential declarants and testimony;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 2/02/16 JMS       Correspondence to Madeline Hickey regarding review of complaint
 2/02/16 JMS       Correspondence to Christopher R. Jones regarding Michael Kovatch
                   start date



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   Date Int        Professional Services                                                       Hours Amount
 2/02/16 JMS       Conference with Peter A. Saba and Sharon J. Sobers regarding
                   complaint, legal research, upcoming deadlines, and other related issues
                   in upcoming litigation
 2/02/16 JMS       Correspondence to Kroger law department regarding W-2 request
 2/02/16 PAS       Conference with Sharon J. Sobers and Josh M. Smith regarding issues
                   with respect to commonality, factual support for overtime, timing of
                   filing, and discovery
 2/02/16 SJS       Review Joshua Smith email regarding list of potential individuals
                   willing to sign declarations
 2/02/16 SJS       Conference with Peter A. Saba and Joshua M. Smith regarding status of
                   collective action
 2/03/16 JMS       Legal research regarding picking off plaintiffs and declaratory judgment
 2/03/16 SJS       Review Dukes
 2/03/16 SJS       Review and revise class action section of complaint
 2/03/16 SJS       Legal research regarding class actions
 2/03/16 SJS       Finish first review of Dukes
 2/04/16 JMS       Conference with the client regarding draft complaint and legal strategy
                   regarding individual claims
 2/04/16 JMS       Draft memo to file regarding Rhonda Furr
 2/04/16 JMS       Conference with Sharon J. Sobers regarding draft complaint
 2/04/16 SJS       Review Mt. Clemens Pottery decision and associated cases regarding
                   continuing validity of Mt. Clemens holding regarding situations where
                   there are no time records, review NELA Seminar Notebook for
                   information regarding calculation of damages, legal research regarding
                   class actions
 2/04/16 SJS       Review and revise FLSA class action complaint
 2/04/16 SJS       Conference with Joshua M. Smith regarding final revisions
 2/05/16 JMS       Revise complaint and correspondence to Peter A. Saba regarding the
                   same
 2/08/16 JMS       Telephone conference with the client regarding potential opt-in Rhonda
                   Furr


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Hardesty, Joseph                                                                                     May 24, 2022
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   Date Int        Professional Services                                                         Hours Amount
 2/08/16 SJS       Review schedule and filing date estimates
 2/09/16 EFP       Review procedures for filing class action complaint
 2/09/16 EFP       Research regarding applicant tracking systems
 2/09/16 EFP       Finalize complaint, exhibit, civil cover sheet, and notices and waivers of
                   summons
 2/09/16 EFP       Telephone conference with the Court x2 regarding complaint issues
 2/09/16 EFP       File complaint, exhibit, and civil cover sheet
 2/09/16 EFP       Correspondence to defendants regarding notices and waivers of service
                   of summons
 2/09/16 JMS       Receipt and review of redlined complaint from Peter A. Saba and
                   correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 2/09/16 JMS       Conference with Peter A. Saba and Sharon J. Sobers regarding changes
                   to complaint
 2/09/16 PAS       Review and revise class action complaint
 2/09/16 PAS       Conference with Josh M. Smith and Sharon J. Sobers regarding issues
                   with changes to complaint and filing
 2/09/16 PAS       Receipt and review of correspondence from the Court
 2/09/16 SJS       Review previous motion for certification regarding class certification
 2/09/16 SJS       Telephone conference with Peter A. Saba regarding changes to
                   complaint
 2/09/16 SJS       Review redline of Peter A. Saba's regarding changes to complaint
 2/09/16 SJS       Conference with Peter A. Saba and Joshua M. Smith regarding
                   complaint
 2/09/16 SJS       Draft model declaration for FLSA action
 2/10/16 EFP       Create file, email to the clients regarding complaint and notices of
                   lawsuit and review news articles regarding lawsuit
 2/10/16 JMS       Telephone conference with the client regarding status of complaint,
                   released news article, and potential opt-ins




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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours Amount
 2/10/16 JMS       Telephone conference with Rhonda Furr and correspondence to the
                   client regarding the same
 2/10/16 JMS       Revise motion for conditional certification
 2/10/16 PAS       Receipt and review of correspondence from Law 360
 2/11/16 EFP       Telephone conference with potential witness/class member x2 regarding
                   additional information
 2/11/16 EFP       Draft and revise notice of appearance of Josh M. Smith
 2/11/16 EFP       File notice of appearance of Josh M. Smith
 2/11/16 EFP       Draft and revise notice of appearance of Sharon J. Sobers
 2/11/16 EFP       Research regarding contact information for Carmen Miller
 2/11/16 EFP       Research regarding filing consents to become plaintiff before filing
                   motion to certify class
 2/11/16 EFP       Draft and revise spreadsheet of plaintiffs and potential opt-ins
 2/11/16 JMS       Telephone conference with potential opt-in Amanda Gayhart; Draft
                   memo to file regarding the same; Correspondence to Sharon J. Sobers
                   and Peter A. Saba regarding the same
 2/11/16 JMS       Receipt and review of correspondence from Amanda Gayhart regarding
                   exit interview with Kroger and issues noted
 2/11/16 JMS       Correspondence with Madeline Hickey regarding news article and future
                   potential opt-in witness
 2/11/16 JMS       Telephone conference with Joseph Hardesty regarding potential opt-in
                   and witness Rhonda Furr
 2/11/16 JMS       Telephone conference with potential opt-in witness Christian Bradley;
                   Draft memo to file regarding the same; Correspondence to Peter A. Saba
                   and Sharon J. Sobers regarding the same
 2/11/16 JMS       Follow-up telephone conference to potential opt-in witness Christian
                   Bradley
 2/11/16 JMS       Conference with Sharon J. Sobers regarding necessary documents for
                   motion for conditional certification
 2/11/16 JMS       Draft questionnaire for potential opt-in plaintiffs and witnesses;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same

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Hardesty, Joseph                                                                                      May 24, 2022
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   Date Int        Professional Services                                                          Hours Amount
 2/11/16 JMS       Review spreadsheet with information on all potential opt-in plaintiffs;
                   Correspondence with Emma F. Paxton regarding the same
 2/11/16 JMS       Conference with Christopher R. Jones regarding FLSA claims against
                   Kroger and potential opt-in witness Michael Kovatch
 2/11/16 JMS       Receipt and review of voicemail from client regarding Rhonda Furr and
                   changes to Kroger policy on clock-in/clock-out; Correspondence to
                   Sharon J. Sobers and Peter A. Saba regarding the same
 2/11/16 PAS       Receipt and review of correspondence from potential plaintiffs
 2/11/16 PAS       Receipt and review of correspondence from the Court
 2/11/16 PAS       Conference with Josh M. Smith regarding issues with charting evidence
                   and questions for witnesses
 2/11/16 SJS       Legal research regarding authority for time for filing opt-in forms and
                   wording for non-plaintiff opt-in forms, review emails from Joshua M.
                   Smith regarding calls from potential opt-ins, draft task list for motion to
                   certify, conference with Joshua M. Smith regarding task list and in
                   particular setting up databases, opt-in lists, review consent forms, legal
                   research regarding time for filing opt-in forms and date of
                   commencement of action, email to Joshua M. Smith regarding the same,
                   review opt-in consent form, email to Joshua M. Smith regarding the
                   same
 2/12/16 EFP       Legal research regarding consent form language, telephone conference
                   with potential class member, review and revise opt-in form
 2/12/16 JMS       Telephone conference with the client regarding status update
 2/12/16 JMS       Draft memo to file regarding general questions for witnesses and proof
                   required for damages in relation to wage and hour claims
 2/12/16 JMS       Telephone conference with potential opt-in Dominic Martin
 2/12/16 PAS       Conference with Josh M. Smith regarding evidence in support of excess
                   hours worked; Conference with Josh M. Smith regarding issues with
                   confidentiality
 2/15/16 EFP       Revise notice of appearance of Sharon J. Sobers; File the same
 2/15/16 JMS       Conference with Sharon J. Sobers regarding reports of Kroger's
                   subsequent remedial measures, and information necessary for witness
                   and opt-in declarations


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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 2/15/16 PAS       Receipt and review of correspondence from the Court
 2/15/16 SJS       Legal research regarding damages (Mt. Clemens), i.e. that credible
                   testimony by plaintiff regarding damages can be sufficient
 2/15/16 SJS       Conference with Joshua Smith regarding failure to pay 401K benefits as
                   damage and scheduling issues
 2/15/16 SJS       Research regarding scheduling issues
 2/15/16 SJS       Email to Joshua M. Smith regarding the same
 2/16/16 EFP       Receipt and review of return receipts for service to Kroger
 2/16/16 JMS       Revise motion for conditional certification
 2/17/16 EFP       Review news articles regarding requests for contact information
 2/17/16 JMS       Follow-up correspondence to Christian Bradley regarding opt-in
                   representation form
 2/17/16 JMS       Telephone conference with potential opt-in Sara Elkins
 2/17/16 JMS       Correspondence to potential opt-in Sara Elkins regarding opt-in form
                   and follow-up questions
 2/17/16 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding
                   appointment with Sara Elkins
 2/17/16 JMS       Conference with Christopher R. Jones regarding potential opt-in Michael
                   Kovatch
 2/17/16 JMS       Telephone conference with potential opt-in Kimberly Burchett
 2/17/16 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 2/17/16 PAS       Conference with Josh M. Smith regarding issues with new opt-ins
 2/18/16 EFP       Revise opt-in spreadsheet regarding information from Sara Elkins
 2/18/16 JMS       Telephone conference with the client regarding status update to case
 2/18/16 JMS       Receipt and review of correspondence from Sara Rainey regarding opt-
                   in; Correspondence to Emma F. Paxton regarding the same
 2/18/16 JMS       Receipt and review of correspondence from potential opt-in Sara
                   Rainey; Correspondence to Emma F. Paxton regarding the same
 2/19/16 JMS       Draft motion for conditional certification

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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 2/20/16 JMS       Draft motion for conditional certification
 2/22/16 EFP       Review documents from Kim Burchett and Sara Elkins; Correspondence
                   to Kim Burchett regarding original notes
 2/22/16 JMS       Consultation with Sara Elkins and Kim Burchett regarding opt-in and
                   wage and hour issues
 2/22/16 JMS       Telephone conference with the client regarding potential opt-in witness
                   Rhonda Furr and updates regarding issues at Kroger
 2/22/16 JMS       Receipt and review of opt-in form from Rhonda Furr
 2/22/16 JMS       Correspondence with Rhonda Furr regarding opt-in form and issues at
                   Kroger
 2/22/16 JMS       Correspondence with opt-in Kimberly Burchett regarding resignation
                   letter and correspondence with Peter A. Saba regarding the same
 2/22/16 PAS       Conference with Josh M. Smith regarding review of employee
                   resignation letter
 2/23/16 JMS       Review of documentation provided by potential opt-ins regarding
                   resignation, hours worked, and employer policy handbook
 2/23/16 JMS       Correspondence with potential opt-in Rhonda Furr regarding factual
                   issues
 2/23/16 JMS       Correspondence with Madeline Hickey regarding status update and
                   anticipated events prior to trial
 2/24/16 JMS       Telephone conference with potential opt-in Kim Burchett regarding
                   follow-up questions; Draft memo to file regarding the same
 2/24/16 JMS       Conference with Peter A. Saba regarding primary duty issues
 2/26/16 JMS       Correspondence to plaintiff Madeline Hickey regarding Kroger's answer
                   to complaint and anticipated responses
 2/26/16 JMS       Revise motion for conditional certification
 2/29/16 SJS       Review email regarding Burchett interview, finish review of Burchett
                   memo and determine issues to be addressed
 3/01/16 JMS       Legal research regarding class action certification and liability/damage
                   determinations in preparation for drafting motion for class certification
 3/03/16 JMS       Conference with Sharon J. Sobers regarding administrative exemption
                   issues

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Hardesty, Joseph                                                                                      May 24, 2022
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   Date Int        Professional Services                                                          Hours Amount
 3/05/16 JMS       Revise motion for conditional certification; Legal research regarding
                   administrative exemption
 3/07/16 JMS       Telephone conference with Sharon J. Sobers regarding waiver of service
                   of summons and deadline
 3/07/16 SJS       Legal research regarding administrative exemption
 3/08/16 JMS       Correspondence to opposing counsel regarding waiver of service of
                   summons, receipt and review of correspondence regarding the same and
                   conference with Sharon J. Sobers regarding the same
 3/08/16 SJS       Continued review of recent Sixth Circuit law on administrative
                   exemption
 3/08/16 SJS       Discuss next steps in the preparation of motion to certify with Joshua M.
                   Smith
 3/09/16 EFP       Legal research regarding opposing counsel's federal cases
 3/09/16 JMS       Receipt and review of memo from Sharon J. Sobers regarding opposing
                   counsel; Telephone conference with Sharon J. Sobers regarding the
                   same
 3/09/16 JMS       Revise motion for conditional certification
 3/09/16 JMS       Conference with Sharon J. Sobers regarding declarations
 3/09/16 JMS       Receipt and review of documents from opt-in Michael Kovatch and
                   correspondence to Sharon J. Sobers and Peter A. Saba regarding the
                   same
 3/09/16 PAS       Receipt and review of correspondence from opposing counsel; Receipt
                   and review of correspondence from the Court
 3/09/16 SJS       Legal research regarding certification standard in 6th Circuit, review 6th
                   Circuit collective action certification decisions, legal research regarding
                   certification standard in Sixth Circuit, recent case law, misclassification
 3/09/16 SJS       Conference with Joshua M. Smith regarding obtaining declarations from
                   various call center teams
 3/09/16 SJS       Review and revise draft declaration in light of legal research
 3/10/16 EFP       Receipt and review of waivers of service from opposing counsel; File
                   waivers of service of summons; Email to the client regarding waiver of
                   service of summons


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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours Amount
 3/10/16 EFP       Review answer deadline
 3/10/16 EFP       Draft and revise notice of filing consents to become plaintiff
 3/10/16 EFP       File notice of filing and consents
 3/10/16 EFP       Correspondence to opposing counsel regarding notice of filing and
                   consents
 3/10/16 EFP       Email to opposing counsel regarding notice of filing and consents
 3/10/16 EFP       Email to the client regarding notice of filing and consents
 3/10/16 JMS       Correspondence to opposing counsel regarding waiver of service;
                   Telephone conference with Sharon J. Sobers and Emma F. Paxton
                   regarding the same
 3/10/16 JMS       Revise motion for conditional certification
 3/10/16 JMS       Revise notice of filing consents; Correspondence to Sharon J. Sobers
                   regarding the same; Telephone conference with Sharon J. Sobers
                   regarding the same
 3/10/16 PAS       Receipt and review of correspondence from the Court x4; Review email
                   regarding scheduling
 3/10/16 SJS       Legal research regarding recruiters claiming overtime, review research
                   regarding time to file opt-in forms, legal research regarding
                   recruiters/call center employees
 3/11/16 JMS       Revise motion for conditional certification
 3/14/16 JMS       Revise motion for conditional certification
 3/14/16 JMS       Draft and revise declaration of Joseph Hardesty
 3/15/16 EFP       Calculate deadline to exchange attorney fee information
 3/15/16 JMS       Revise motion for conditional certification; conference with Sharon J.
                   Sobers regarding the same
 3/15/16 JMS       Telephone conference with Sharon J. Sobers regarding opposing counsel
 3/15/16 JMS       Review Judge Black's standing orders and other local procedures in the
                   Southern District
 3/15/16 JMS       Receipt and review of notes from Sharon J. Sobers regarding meeting
                   with Peter A. Saba



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 3/15/16 SJS       Review voicemail from opposing counsel, email to Peter A. Saba and
                   Joshua M. Smith regarding voicemail, review procedure, prepare cases
                   for meeting with Peter A. Saba regarding call from opposing counsel,
                   conference with Joshua M. Smith regarding call from opposing counsel,
                   draft chronology for conference with Peter A. Saba
 3/15/16 SJS       Legal research regarding time to file opt-in forms
 3/16/16 JMS       Conference with Sharon J. Sobers and Peter A. Saba regarding motion
                   for conditional certification and potential discovery issues
 3/16/16 JMS       Telephone conference with opposing counsel, Peter A. Saba and Sharon
                   J. Sobers regarding discovery and procedural issues
 3/16/16 JMS       Legal research regarding preliminary discovery prior to motion for
                   conditional certification; Correspondence to Sharon J. Sobers and Peter
                   A. Saba regarding the same
 3/16/16 JMS       Conference with Sharon J. Sobers regarding draft of motion for
                   conditional certification
 3/16/16 JMS       Draft memo to file regarding offers of judgment, conditional
                   certification standard, and legal strategy with respect to FLSA claims
 3/16/16 JMS       Telephone conference with Joseph Hardesty regarding
                   interchangeability of recruiters on teams
 3/16/16 JMS       Multiple correspondence to opt-in plaintiffs and named plaintiffs
                   regarding assisting other teams at CoRE
 3/16/16 PAS       Review evidence supporting commonality of issues, overriding policy,
                   and facts supporting employees' similar situations
 3/16/16 PAS       Conference with Josh M. Smith regarding issues with discovery;
                   evidence supporting conditional certification and timing of filings
 3/16/16 PAS       Telephone conference with opposing counsel regarding issues with
                   tolling and calculation of overtime
 3/16/16 SJS       Review certification standard in Monroe
 3/16/16 SJS       Review Derek Chipman email forwarded from Joshua M. Smith
 3/16/16 SJS       Review draft of facts and legal analysis for certification of collective
                   action in draft motion to certify
 3/16/16 SJS       Review Smith v. Lowes decision


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   Date Int        Professional Services                                                       Hours Amount
 3/16/16 SJS       Review emails from Joshua M. Smith to Peter A. Saba prior to meeting
                   regarding call to opposing counsel
 3/16/16 SJS       Legal research regarding class action certification
 3/16/16 SJS       Conference with Peter A. Saba and Joshua M. Smith prior to initial
                   phone call to opposing counsel
 3/16/16 SJS       Conference with Joshua M. Smith regarding fact section and collective
                   action section of draft motion for class certification
 3/17/16 JMS       Telephone conference with Joseph Hardesty regarding job classification
                   and hours worked
 3/18/16 JMS       Receipt and review of correspondence from Sara Rainey
 3/18/16 JMS       Telephone conference with the client regarding status update
 3/22/16 JMS       Revise motion for conditional certification; Correspondence to Sharon J.
                   Sobers regarding the same
 3/22/16 JMS       Receipt and review of Tyson Foods decision; Correspondence to Sharon
                   J. Sobers and Peter A. Saba regarding the same
 3/22/16 JMS       Telephone conference with Peter A. Saba regarding damages
                   calculations and drafting memo to file regarding the same
 3/22/16 SJS       Review US Supreme Court decision in Tyson Foods/Bouaphakeo
 3/23/16 JMS       Telephone conference with the client regarding status update
 3/23/16 JMS       Receipt and review of legal research memo from Sharon J. Sobers
                   regarding Tyson Foods decision
 3/23/16 SJS       Review Tyson v. Bouaphakeo decision by US Supreme Court
 3/23/16 SJS       Draft memo to Peter A. Saba and Joshua M. Smith regarding calculation
                   of damages in FLSA litigation
 3/23/16 SJS       Review administrative exemption cases to discuss with Joshua M. Smith
 3/24/16 JMS       Conference with Sharon J. Sobers regarding motion for conditional
                   certification draft and declaration of Joseph Hardesty
 3/24/16 JMS       Telephone conference with the client regarding status update
 3/24/16 JMS       Correspondence with opposing counsel x2 regarding meeting
 3/24/16 JMS       Revise motion for conditional certification


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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 3/24/16 JMS       Revise declaration of Joseph Hardesty in support of motion for
                   conditional certification
 3/24/16 JMS       Review of Sharon J. Sobers's redline to Hardesty declaration; Revise the
                   same; Correspondence to Sharon J. Sobers regarding the same
 3/24/16 SJS       Review drafts of declaration and motion to certify collective action
                   section
 3/24/16 SJS       Conference with Joshua M. Smith regarding motion to certify,
                   declaration, and information needed for meeting with opposing counsel
 3/24/16 SJS       Prepare redline of declaration
 3/25/16 JMS       Review correspondence from Sharon J. Sobers regarding Hardesty
                   affidavit
 3/28/16 JMS       Revise motion for conditional certification
 3/28/16 JMS       Draft and revise potential notices to class and collective action members
 3/28/16 JMS       Draft letter to class members regarding notices
 3/28/16 JMS       Draft exclusion form
 3/28/16 JMS       Draft declaration of Kim Burchett
 3/28/16 JMS       Draft declaration of Derek Chipman
 3/28/16 JMS       Draft memo to file regarding damages estimate; Correspondence to Peter
                   A. Saba and Emma F. Paxton regarding the same
 3/28/16 JMS       Conference with Sharon J. Sobers regarding damages estimate
 3/28/16 SJS       Review and revise affidavit of counsel for Peter A. Saba
 3/28/16 SJS       Conference with Joshua M. Smith regarding damage calculation and
                   declarations
 3/29/16 EFP       Make changes to class action notice;Make changes to declaration of
                   Joseph Hardesty
 3/29/16 JMS       Draft and revise declaration of Derek Chipman and Madeline Hickey
 3/29/16 JMS       Draft and revise declaration of Amanda Gayhart
 3/29/16 JMS       Draft and revise declaration of Michael Kovatch
 3/29/16 JMS       Telephone conference with potential opt-in Ckris Matibiri


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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 3/29/16 JMS       Revise Joseph Hardesty declaration
 3/29/16 JMS       Revise declarations of potential opt-in plaintiffs Gayhart, Chipman, and
                   Burchett; Conference with Sharon J. Sobers regarding the same
 3/29/16 JMS       Revise declaration of Madeline Hickey
 3/29/16 JMS       Correspondence with Joe Hardesty regarding declaration
 3/29/16 SJS       Review and revise class action notice
 3/29/16 SJS       Email to Joshua M. Smith regarding changes to declaration
 3/30/16 JMS       Correspondence to multiple declarants (Derek Chipman, Madeline
                   Hickey, Joseph Hardesty, Amanda Gayhart, Michael Kovatch) regarding
                   draft declarations and follow-up questions
 3/30/16 JMS       Multiple correspondence with potential opt-in Amanda Gayhart
                   regarding changes to declaration
 3/30/16 JMS       Telephone conference with Joe Hardesty regarding draft declaration
 3/30/16 JMS       Telephone conference with Derek Chipman regarding declaration and
                   related issues; Correspondence with Derek Chipman regarding the same
 3/30/16 JMS       Draft memo to file regarding telephone conference with Derek Chipman
                   and issues regarding criminal background checks; Correspondence to
                   Sharon J. Sobers and Peter A. Saba regarding the same
 3/30/16 JMS       Revise affidavit of Amanda Gayhart
 3/30/16 JMS       Telephone conference with Amanda Gayhart; Draft memo to file and
                   correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 3/30/16 JMS       Conference with Sharon J. Sobers regarding declarations
 3/30/16 JMS       Legal research regarding Ohio class action and conditional certification
                   of class action
 3/30/16 SJS       Review motion to certify
 3/30/16 SJS       Review orders in New Jersey case regarding handling of class action
                   issue
 3/30/16 SJS       Conference with Joshua M. Smith regarding Derek Chipman's
                   discussion of recruiters responsibilities regarding criminal questions,
                   issue of whether discovery is needed for class action certification, and
                   potential solutions to discovery issue

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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 3/30/16 SJS       Draft list of items for Peter A. Saba for meeting with opposing counsel
 3/31/16 JMS       Telephone conference with Amanda Gayhart regarding declaration and
                   opt-in participation
 3/31/16 JMS       Telephone conference with Joe Hardesty
 3/31/16 JMS       Legal research regarding class action certification; Correspondence to
                   Sharon J. Sobers and Peter A. Saba regarding the same
 3/31/16 JMS       Revise affidavit of Sara Elkins-Shumann
 3/31/16 JMS       Receipt and review of opt-in form from Ckris Matibiri
 3/31/16 JMS       Draft memo to file regarding factual investigation and CoRE Recruiter
                   screening process
 4/01/16 JMS       Telephone conference with the client regarding meeting with opposing
                   counsel, settlement, and discussion of recent CoRE Job Posting
 4/01/16 JMS       Correspondence with potential opt-in Ckris Matibiri regarding lawsuit
 4/01/16 JMS       Correspondence with Derek Chipman regarding declaration
 4/01/16 JMS       Revise declaration; Further correspondence with Derek Chipman
                   regarding the same
 4/01/16 JMS       Legal research regarding class actions and pre-discovery certification;
                   Draft memo to file regarding the same
 4/01/16 JMS       Correspondence with Rhonda Furr regarding witness interview
 4/01/16 PAS       Review job posting on Kroger website
 4/04/16 EFP       Prepare Sharon J. Sobers binder for meeting with opposing counsel
 4/04/16 JMS       Revise damages calculation; Correspondence to Sharon J. Sobers
                   regarding the same
 4/04/16 JMS       Legal research regarding damages with respect to Ohio state claims
 4/04/16 JMS       Correspondence with Madeline Hickey regarding tax documentation;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 4/04/16 JMS       Research class certification issues with respect to statute of limitation
                   and tolling




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   Date Int        Professional Services                                                      Hours Amount
 4/04/16 PAS       Conference with Josh M. Smith regarding issues for meeting with
                   opposing counsel; Review damages calculations for meeting with
                   opposing counsel
 4/04/16 SJS       Finish updates to motion to certify for Peter A. Saba's notebook for
                   meeting with opposing counsel
 4/04/16 SJS       Conference with Joshua Smith regarding statute of limitations and
                   liquidated damages for overtime under Ohio statutes, review Joshua M.
                   Smith's argument that overtime liqudated damages are double under
                   Ohio law
 4/04/16 SJS       Review and revise motion for conditional certification
 4/04/16 SJS       Conference with Joshua M. Smith regarding notebook for Peter A. Saba,
                   continued work on notebook for Peter A. Saba for meeting with
                   opposing counsel
 4/05/16 EFP       Prepare documents for meeting with opposing counsel, review
                   documents from opposing counsel
 4/05/16 JMS       Conference with Sharon J. Sobers and Peter A. Saba regarding
                   preparation for meeting with opposing counsel
 4/05/16 JMS       Meeting with opposing counsel
 4/05/16 JMS       Conference with Sharon J. Sobers regarding review of documents from
                   opposing counsel with respect to potential damages and calculation of
                   overtime
 4/05/16 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding W-2
                   from Madeline Hickey
 4/05/16 JMS       Telephone conference with Joseph Hardesty regarding meeting with
                   opposing counsel and documents produced
 4/05/16 PAS       Review prior conditional certification issues
 4/05/16 PAS       Conference with Josh M. Smith and Sharon J. Sobers regarding issues
                   with conditional certification
 4/05/16 PAS       Prepare for and attend meeting with opposing counsel regarding position
                   regarding litigation
 4/05/16 SJS       Legal research regarding liquidated damages under the Ohio statute




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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 4/05/16 SJS       Prepare with Peter A. Saba and Joshua M. Smith regarding meeting with
                   opposing counsel, conference with opposing counsel, Peter A. Saba, and
                   Joshua M. Smith, conference with Joshua M. Smith following meeting
                   with opposing counsel
 4/06/16 EFP       Review documents from opposing counsel and draft spreadsheet of
                   hours worked per week by Hardesty and Chipman
 4/06/16 JMS       Review documentation provided by opposing counsel; Draft memo to
                   file regarding the same
 4/06/16 SJS       Conference with Joshua M. Smith regarding preparation for 26(f)
                   conference and requests for additional information from defendant
 4/07/16 JMS       Conference with the client regarding documentation provided by
                   opposing counsel and related matters
 4/07/16 JMS       Conference with Sharon J. Sobers regarding legal research of call center
                   employees and preparation time
 4/07/16 SJS       Review and revise motion for certify class; Revise and revise collective
                   action section of motion to certify class
 4/08/16 JMS       Telephone conference with the client regarding draft declaration
 4/08/16 JMS       Revise declaration of Kim Burchett
 4/08/16 JMS       Receipt and review of correspondence from Kim Burchett regarding W-
                   2
 4/11/16 EFP       Review filings by Kroger, email to the client regarding filings by Kroger
 4/11/16 JMS       Revise motion for certification of class action; Correspondence and
                   conference with Sharon J. Sobers regarding the same
 4/11/16 JMS       Receipt and review of defendant's answer; Telephone conference with
                   the client regarding the same; Conference with Sharon J. Sobers
                   regarding the same
 4/11/16 JMS       Legal research regarding motion to strike FLSA affirmative defenses as
                   insufficiently pled
 4/11/16 PAS       Receipt and review of correspondence from the Court x4
 4/11/16 SJS       Review answer; Email from Josh M. Smith regarding the same
 4/12/16 JMS       Revise motion for conditional certification
 4/12/16 JMS       Revise declaration of Joe Hardesty

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   Date Int        Professional Services                                                     Hours Amount
 4/12/16 JMS       Revise declaration of Derek Chipman; Correspondence to Sharon J.
                   Sobers regarding the same
 4/12/16 JMS       Follow-up research regarding motion to strike and insufficient
                   affirmative defenses
 4/12/16 JMS       Correspondence with opposing counsel regarding 26(f) conference
 4/13/16 JMS       Telephone conference with Sharon J. Sobers regarding litigation status
 4/14/16 EFP       Conference with Sharon J. Sobers regarding class action and collective
                   action notices
 4/14/16 EFP       Revise collective action notice
 4/14/16 EFP       Calculate overall average of hours worked per day for Hardesty and
                   Chipman
 4/14/16 JMS       Conference with Sharon J. Sobers regarding discovery plan and motion
                   for conditional certification
 4/14/16 JMS       Receipt and review of correspondence from opposing counsel;
                   Correspondence with Sharon J. Sobers and Peter A. Saba regarding the
                   same
 4/14/16 JMS       Revise class action portion of motion for conditional certification
 4/14/16 PAS       Receipt and review of correspondence from opposing counsel
 4/14/16 SJS       Review email from Joshua M. Smith regarding topics to discuss; Review
                   notes for 26(f) form; Conference with Joshua Smith regarding 26(f)
                   conference, 26(f) form, and related issues
 4/18/16 JMS       Revise declarations of Amanda Gayhart, Joseph Hardesty, Madeline
                   Hickey, and Derek Chipman
 4/18/16 JMS       Draft declaration of Christian Bradley
 4/18/16 JMS       Revise declaration of Kim Burchett
 4/18/16 JMS       Revise declaration of Sara Elkins-Schumann
 4/18/16 JMS       Correspondence with Peter A. Saba and Sharon J. Sobers regarding
                   discovery and motion for conditional certification
 4/18/16 SJS       Prepare draft of 26(f) form, forward to Joshua M. Smith
 4/18/16 SJS       Review Amanda Gayhart's declaration, forward comments to Joshua M.
                   Smith

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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 4/19/16 EFP       Emails to Madeline Hickey and Derek Chipman regarding answer
 4/19/16 JMS       Correspondence with Madeline Hickey regarding Defendant's answer
 4/19/16 JMS       Revise declaration of Ckris Matibiri, Sara Elkins-Schuman, Michael
                   Kovatch, and Kim Burchett; Correspondence to Emma F. Paxton and
                   Sharon J. Sobers regarding the same
 4/19/16 JMS       Telephone conference with Sharon J. Sobers regarding draft declaration
                   of Ckris Matibiri
 4/19/16 JMS       Correspondence with Madeline Hickey regarding Kroger Answer
 4/19/16 JMS       Correspondence to multiple opt-ins regarding draft declarations
 4/19/16 SJS       Review Joshua M. Smith's changes to 26(f) form
 4/20/16 EFP       Make changes to collective action notice
 4/20/16 JMS       Correspondence with Ckris Matibiri regarding declaration
 4/20/16 JMS       Conference with Peter A. Saba and Sharon J. Sobers regarding 26(f)
                   conference
 4/20/16 JMS       Draft informal discovery requests to opposing counsel regarding
                   documentation of hours worked from Kroger; Conference with Sharon J.
                   Sobers regarding the same
 4/20/16 JMS       Review of 26(f) draft report
 4/20/16 JMS       Legal research regarding 26(f) and discovery procedures with respect to
                   collective actions
 4/20/16 PAS       Conference with Sharon J. Sobers and Josh M. Smith regarding issues
                   with 26(f) conference
 4/20/16 SJS       Prepare for meeting with Peter A. Saba regarding 26(f) conference with
                   opposing counsel; Review collective action and class action notices;
                   Conference with Peter A. Saba and Joshua M. Smith in preparation for
                   26(f) meeting with opposing counsel;Review collective and class action
                   notices, and letter to potential plaintiffs; Email Swigert decisions to
                   Peter A. Saba; Assemble materials for Peter A. Saba for 26(f)
                   conference; Conference with Joshua M. Smith regarding obtaining
                   information regarding Swigert decision from PACER; Review list of
                   potential documents to request from defendant informally; Conference
                   with Josh M. Smith regarding the same



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Hardesty, Joseph                                                                                      May 24, 2022
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   Date Int        Professional Services                                                          Hours Amount
 4/21/16 EFP       Prepare documents for rule 26(f) conference, revise correspondence to
                   potential plaintiffs
 4/21/16 JMS       Correspondence with opposing counsel regarding 26(f) conference and
                   rescheduling; Correspondence to Peter A. Saba and Sharon J. Sobers
                   regarding the same
 4/22/16 JMS       Revise motion for conditional certification; Correspondence to the
                   clients regarding status update
 4/25/16 JMS       Revise motion for conditional certification; Correspondence to Sharon J.
                   Sobers regarding the same
 4/26/16 JMS       Draft and revise motion to strike
 4/26/16 JMS       Telephone conference with the client regarding status update
 4/26/16 JMS       Revise motion for conditional certification; Telephone conference with
                   Sharon J. Sobers regarding the same
 4/26/16 JMS       Receipt and review of correspondence from potential opt-in Michael
                   Kovatch regarding declaration; Correspondence to Emma F. Paxton
                   regarding the same
 4/26/16 JMS       Legal research regarding Class Action Fairness Act
 4/26/16 SJS       Review and revise class action and collective action notices
 4/26/16 SJS       Legal research regarding the standard for similarly situated in Class
                   Action vs collective action
 4/27/16 JMS       Revise motion to strike; Correspondence to Sharon J. Sobers regarding
                   the same
 4/27/16 JMS       Receipt and review of correspondence from Sharon J. Sobers regarding
                   collective action and research of differing standards between class and
                   collective action
 4/27/16 JMS       Conference with Sharon J. Sobers regarding meeting with Peter A. Saba
                   and 26(f) conference
 4/27/16 JMS       Revise declarations; Correspondence to Sharon J. Sobers regarding the
                   same
 4/27/16 SJS       Review facts in motion for collective action certification and class action




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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 4/27/16 SJS       Conference with Joshua M. Smith regarding citing to declarations and
                   issues with declarations related to description of facts in light of
                   conference with opposing counsel
 4/27/16 SJS       Draft footnote regarding difference in similarly situated standard
                   (collective action) and predominance standard (class action) to motion
 4/28/16 EFP       Research regarding filings in other class actions
 4/28/16 JMS       Conference with opposing counsel regarding 26(f) report; Follow-up
                   conference with Peter A. Saba and Sharon J. Sobers regarding the same;
                   Revise 26(f) report; Correspondence with Sharon J. Sobers and Peter A.
                   Saba regarding the same; Conference with Sharon J. Sobers and Peter A.
                   Saba regarding the same
 4/28/16 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding statute
                   of limitations with respect to class actions
 4/28/16 PAS       Attend 26(f) conference with opposing counsel; Conference with Sharon
                   J. Sobers and Josh M. Smith regarding changes to 26(f) report; Review
                   and revise 26(f) report
 4/28/16 SJS       Review and revise motion to strike affirmative defenses
 4/28/16 SJS       Prepare for meeting with opposing counsel regarding 26(f), research
                   regarding initial disclosures in collective action context, review prior
                   litigation, conference with Joshua Smith, Peter A. Saba regarding 26(f)
                   meeting with opposing counsel, 26(f) meeting with Opposing Counsel,
                   review procedures in other Southern District of Ohio collective and class
                   action certifications, review and revise 26(f) motion including Joshua M.
                   Smith's version and Peter A. Saba's version, conference with Joshua M.
                   Smith and Peter A. Saba regarding 26(f) changes prior to sending to
                   opposing counsel
 4/29/16 JMS       Correspondence with Peter A. Saba regarding 26(f) report; Telephone
                   conference with Peter A. Saba regarding the same; Receipt and review
                   of correspondence from opposing counsel regarding 26(f) report;
                   Review opposing counsel changes to 26(f) report
 4/29/16 PAS       Receipt and review of correspondence from opposing counsel;
                   Conference with Josh M. Smith
 4/30/16 JMS       Revise 26(f) report; Correspondence to Peter A. Saba and Sharon J.
                   Sobers regarding the same



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 5/02/16 EFP       Finalize 26(f) report; Finalize correspondence; Email from opposing
                   counsel regarding 26(f) report; File 26(f) report; Receipt and review of
                   correspondence from the Court; Email to the client regarding 26(f)
                   report
 5/02/16 EFP       Finalize correspondence
 5/02/16 EFP       Email from opposing counsel regarding 26(f) report
 5/02/16 EFP       File 26(f) report
 5/02/16 EFP       Receipt and review of correspondence from the Court
 5/02/16 EFP       Email to the client regarding 26(f) report
 5/02/16 JMS       Conference with Sharon J. Sobers regarding 26(f) report
 5/02/16 JMS       Revise motion to strike
 5/02/16 JMS       Conference with opposing counsel regarding 26(f) report;
                   Correspondence to opposing counsel regarding the same; Receipt and
                   review of revisions regarding the same
 5/02/16 JMS       Review of 26(f) revised report from Sharon J. Sobers; Conference with
                   Emma F. Paxton and Sharon J. Sobers regarding the same
 5/02/16 JMS       Revise letter to opposing counsel regarding 26(f) report
 5/02/16 JMS       Correspondence with Sharon J. Sobers regarding research of statute of
                   limitations and amending/altering order on class action
 5/02/16 JMS       Legal research regarding motion for 23(b) decertification;
                   Correspondence to Sharon J. Sobers regarding the same
 5/02/16 PAS       Conference with Sharon J. Sobers regarding issues with 26(f) report
 5/02/16 SJS       Conference with Peter A. Saba regarding 26(f) conference with
                   opposing counsel; Review previous drafts of Plaintiffs' and Defendants'
                   26(f) reports; Conference with Joshua M. Smith regarding implications
                   of defendant's proposal and changes; Conference with Peter A. Saba
                   regarding ongoing 26(f) discussions with opposing counsel; Conference
                   with Joshua M. Smith and opposing counsel regarding 26(f) report;
                   Revise 26(f) report; Draft cover letter to opposing counsel regarding
                   26(f) report; Conference with Joshua M. Smith and Emma F. Paxton
                   regarding correcting Rule 26(f) redline and clean version to forward to
                   opposing counsel



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Hardesty, Joseph                                                                                      May 24, 2022
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   Date Int        Professional Services                                                          Hours Amount
 5/03/16 JMS       Conference with Sharon J. Sobers regarding motion for conditional
                   certification and declarations
 5/03/16 SJS       Review and revise collective action complaint eliminating references to
                   class action, review declaration of Amanda Gayhart
 5/03/16 SJS       Legal research regarding tolling S/L for class actions
 5/03/16 SJS       Conference with Joshua M. Smith regarding revision of facts section of
                   motion for collective action certification and division of labor going
                   forward to complete motion for collective action certification
 5/04/16 JMS       Correspondence with Amanda Gayhart regarding declaration
 5/04/16 JMS       Conference with Sharon J. Sobers regarding motion for conditional
                   certification
 5/04/16 PAS       Review and revise declaration of Burchett
 5/04/16 SJS       Review recent 6th Circuit FLSA decisions, review decisions regarding
                   forfeiting affirmative defenses, add forfeiting affirmative defense
                   information to motion to certify, review FLSA cases with topics for
                   issues arriving later in litigation
 5/04/16 SJS       Review declarations of Bradley, Chipman, Matibiri, and Hardesty,
                   telephone conference with Joshua M. Smith regarding declarations,
                   email declarations to Peter A. Saba
 5/05/16 JMS       Conference with Sharon J. Sobers regarding declarations; Conference
                   with Peter A. Saba and Sharon J. Sobers regarding declarations; Revise
                   declarations
 5/05/16 PAS       Review and revise declarations
 5/05/16 SJS       Conference with Peter A. Saba and Joshua M. Smith regarding
                   declarations; Review language of each declaration; Compare
                   declaration language against factual allegations in motion to certify in
                   preparation for conference with Joshua M. Smith regarding declarations;
                   Conference with Joshua M. Smith regarding Peter A. Saba's changes to
                   declarations; Review each paragraph of declaration; Revise declarations
                   to cover factual allegations in motion to certify; Review language
                   specific to particular declarations; Create redine of generic changes to be
                   made to all declarations
 5/06/16 EFP       Make changes to declarations



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   Date Int        Professional Services                                                           Hours Amount
 5/06/16 JMS       Multiple telephone conferences with Sharon J. Sobers regarding
                   declarations; Telephone conference with Derek Chipman regarding
                   declaration; Revise declarations; Conference with Emma F. Paxton
                   regarding the same; Correspondence with multiple opt-ins regarding
                   declarations
 5/06/16 SJS       Review and revise final draft of declarations prior to sending to
                   declarants, draft cover letter language to send to opt-ins with declaration,
                   conference with Joshua M. Smith regarding status of declarations
 5/06/16 SJS       Review and revise bullet point list in motion to certify regarding ways in
                   which recruiters are similarly situated, email draft of motion for
                   collective action certification to Peter A. Saba
 5/07/16 JMS       Revise declarations; Correspondence to multiple opt-in declarants
                   regarding the same
 5/09/16 EFP       Telephone conference with Amanda Gayhart regarding declaration
                   issues
 5/09/16 EFP       Revise Matibiri declaration
 5/09/16 EFP       Review order setting preliminary pretrial conference
 5/09/16 EFP       Conference with Peter A. Saba regarding telephone conference with the
                   Court
 5/09/16 EFP       Receipt and review of calendar order from the Court
 5/09/16 EFP       Email to the clients regarding calendar order
 5/09/16 JMS       Conference with Sharon J. Sobers regarding declarations; Revise
                   declarations; Conference with the client regarding declaration;
                   Conference with opt-in Amanda Gayhart regarding declaration; Attend
                   pretrial conference; Follow-up conference with Peter A. Saba and
                   Sharon J. Sobers regarding the same
 5/09/16 JMS       Attend Rule 26(f) conference; Follow-up conference with Peter A. Saba
                   and Sharon J. Sobers regarding the same
 5/09/16 PAS       Prepare for and attend pretrial conference; Receipt and review of
                   correspondence from the Court x2




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Hardesty, Joseph                                                                                     May 24, 2022
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   Date Int        Professional Services                                                         Hours Amount
 5/09/16 SJS       Meeting with Joe Hardesty, prepare for preliminary pretrial conference,
                   email information for preliminary pretrial conference to Peter A. Saba,
                   attend preliminary pretrial conference with Judge Black via telephone,
                   conference with Peter A. Saba and Joshua M. Smith following
                   conference with Judge Black, memo to file regarding the same
 5/09/16 SJS       Draft list of follow-up supplemental questions for opt-ins, i.e. questions
                   to explore more deeply what was said in declarations, email to Joshua
                   M. Smith, review motion to certify identifying changes to be made
                   regarding comparing overtime allegedly worked by each declarant with
                   information in their declaration
 5/09/16 SJS       Prepare changes for Emma F. Paxton to make in declarations
 5/10/16 EFP       Conference with Sharon J. Sobers regarding changes to declarations,
                   revise declarations
 5/10/16 JMS       Revise declaration of Derek Chipman; Correspondence to Chipman
                   regarding the same
 5/10/16 SJS       Draft correspondence regarding declarations, conference with EFP
                   regarding same
 5/10/16 SJS       Review notes on case law regarding cases to add to motion to certify
                   collective action, add cases to motion to certify regarding production of
                   information to facilitate sending notice
 5/11/16 EFP       Emails to plaintiffs regarding revised declarations; Emails with
                   Kimberly Burchett regarding signed declaration
 5/11/16 JMS       Conference with Emma F. Paxton regarding revised declarations;
                   Correspondence with Sharon J. Sobers regarding declarations;
                   Correspondence with Sara Elkins regarding the same; Correspondence
                   with Sharon J. Sobers regarding declarations; Correspondence with Sara
                   Elkins-Schuman regarding declaration
 5/11/16 SJS       Review and revise motion to certify collective action
 5/12/16 EFP       Receipt and review of signed declaration from Ckris Matibiri, email to
                   Ckris Matibiri regarding signed declaration
 5/12/16 JMS       Receipt and review of discovery requests from defendant;
                   Correspondence to Sharon J. Sobers and Peter A. Saba regarding the
                   same
 5/12/16 JMS       Correspondence with Madeline Hickey regarding declaration


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Hardesty, Joseph                                                                                       May 24, 2022
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   Date Int        Professional Services                                                           Hours Amount
 5/12/16 JMS       Conference with Sharon J. Sobers regarding motion for conditional
                   certification
 5/12/16 JMS       Revise declarations
 5/12/16 JMS       Receipt and review of declaration from Madeline Hickey
 5/12/16 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding status
                   of declarations
 5/12/16 PAS       Receipt and review of correspondence from opposing counsel
 5/12/16 SJS       Review and revise motion to certify collective action; Cite check
                   motion; Review and revise letter to potential opt-ins; Prepare exhibit list;
                   Conference with Joshua M. Smith regarding motion to certify
 5/13/16 EFP       Finalize declaration of Joseph Hardesty
 5/13/16 EFP       Finalize declaration of Madeline Hickey
 5/13/16 JMS       Revise motion for conditional certification
 5/14/16 JMS       Revise motion for conditional certification; Correspondence to Peter A.
                   Saba and Sharon J. Sobers regarding the same
 5/14/16 JMS       Telephone conference with Christian Bradley regarding declaration;
                   Revise declaration; Correspondence to Christian Bradley regarding the
                   same
 5/16/16 EFP       Finalize declarations
 5/16/16 EFP       Revise and finalize motion for conditional certification and exhibits
 5/16/16 EFP       File motion for conditional certification
 5/16/16 EFP       Review response deadline
 5/16/16 EFP       Email to the client regarding motion for conditional certification
 5/16/16 JMS       Revise motion for conditional certification; Telephone conference with
                   Peter A. Saba and Emma F. Paxton regarding the same; Conference with
                   Peter A. Saba regarding the same
 5/16/16 JMS       Finalize exhibit list
 5/16/16 JMS       Revise declarations
 5/16/16 JMS       Conference with Emma F. Paxton regarding exhibits to motion for
                   conditional certification


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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 5/16/16 PAS       Revise and finalize motion for conditional certification
 5/16/16 PAS       Review and revise employee notice
 5/16/16 SJS       Review Peter A. Saba redline's of motion to certify FLSA class action;
                   Conference with Peter A. Saba and Joshua Smith regarding Peter A.
                   Saba's changes to motion to certify the class; Telephone conference with
                   Christian Bradley regarding declaration; Review motion to certify class;
                   Review decision in Kaiser regarding information requested with respect
                   to sending notices; Forward Kaiser decision to Peter A. Saba and Joshua
                   M. Smith
 5/17/16 PAS       Receipt and review of correspondence from the Court
 5/18/16 JMS       Correspondence to Sharon J. Sobers and Peter A. Saba regarding class
                   certification and changes to department of labor regulations
 5/19/16 SJS       Review 26(f) report and initial disclosures
 5/19/16 SJS       Review 6th Circuit Craig decision
 5/23/16 JMS       Telephone conference with Sharon J. Sobers regarding security cards at
                   Kroger GO; Telephone conference with the client regarding the same
 5/23/16 JMS       Review of employee handbook
 5/23/16 SJS       Review Kroger handbook and notice access cards; Conference with
                   Joshua M. Smith regarding access cards
 5/24/16 JMS       Conference with Sharon J. Sobers regarding discovery requests from
                   Defendant and correspondence to named plaintiffs
 5/24/16 SJS       Review Kroger's discovery requests to named plaintiffs; Conference
                   with Joshua M. Smith regarding letter to named plaintiff's regarding
                   discovery requests
 5/25/16 EFP       Draft and revise spreadsheets for the clients regarding overtime worked
                   per week of employment
 5/25/16 EFP       Convert recruiter job posting to word document
 5/25/16 EFP       Revise and finalize correspondence to plaintiffs regarding discovery
                   requests and spreadsheet
 5/25/16 EFP       Email to plaintiffs regarding discovery requests and spreadsheet




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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 5/25/16 JMS       Draft and revise correspondence to clients regarding discovery requests;
                   Correspondence with Sharon J. Sobers and Peter A. Saba regarding the
                   same
 5/25/16 JMS       Review of hours spreadsheets
 5/25/16 JMS       Telephone conference with the client regarding job description
                   inaccuracies
 5/25/16 JMS       Conference with Emma F. Paxton regarding discovery requests and
                   letter to clients
 5/25/16 SJS       Draft discovery requests; Review and revise letter to named plaintiffs
                   regarding discovery responses; Draft discovery requests; Draft
                   discovery requests to defendants; Review documents in file; Review
                   Kroger handbook; Review Madeline Hickey's twitter postings;
                   Conference with Joshua M. Smith regarding issues including the above
 5/26/16 JMS       Receipt and review of discovery responses from Derek Chipman;
                   Correspondence to Sharon J. Sobers and Peter A. Saba regarding the
                   same
 5/26/16 SJS       Review Phipps v. Wal-Mart 6th Circuit decision
 6/01/16 JMS       Correspondence with opposing counsel regarding telephone conference
 6/01/16 SJS       Emails with Joshua M. Smith regarding opposing counsel's request for
                   conference call on motion to certify collective action
 6/02/16 JMS       Legal research regarding social media discovery requests;
                   Correspondence with Peter A. Saba and Sharon J. Sobers regarding the
                   same
 6/02/16 JMS       Correspondence with opposing counsel regarding telephone conference
                   (requested by Defense counsel)
 6/06/16 EFP       Review motion to certify regarding versions of notice and
                   correspondence to send to opposing counsel, email to opposing counsel
                   regarding notice and correspondence
 6/06/16 JMS       Telephone conference with opposing counsel regarding motion for
                   conditional certification and notice; Follow-up discussions with Sharon
                   J. Sobers and Peter A. Saba regarding the same
 6/06/16 JMS       Draft response to opposing counsel regarding agreed notice terms




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   Date Int        Professional Services                                                      Hours Amount
 6/06/16 JMS       Telephone conference with Sharon J. Sobers regarding notice and bulk
                   mailing service
 6/06/16 JMS       Telephone conference with Class Action Administrators regarding third
                   party service; Correspondence to Peter A. Saba and Sharon J. Sobers
                   regarding the same
 6/06/16 JMS       Receipt and review of Defendant's proposed changes to collective action
                   notice
 6/06/16 PAS       Conference call with opposing counsel
 6/06/16 PAS       Conference with Sharon J. Sobers and Josh M. Smith regarding response
                   to acquiescence to conditional certification
 6/06/16 PAS       Conference with Emma F. Paxton regarding legal bill disclosure
 6/06/16 SJS       Conference with Joshua M. Smith regarding conference call with
                   opposing counsel regarding certification of class, conference call with
                   opposing counsel regarding possibility of consenting to certify class
 6/06/16 SJS       Conference with Joshua M. Smith regarding class administrator for
                   class, conference with Ed Forman and Joshua M. Smith regarding class
                   administrators, telephone conference with Deborah Grayson regarding
                   class action administrators, forward email from Deborah Grayson to
                   Joshua M. Smith with information obtained from Deborah Grayson
                   during telephone call
 6/07/16 JMS       Receipt and review of quote from Class Action Administrators;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 6/07/16 JMS       Conference with Sharon J. Sobers regarding response to opposing
                   counsel's proposed terms of notice; Draft memo to Peter A. Saba
                   regarding the same
 6/07/16 JMS       Conference with Peter A. Saba and Sharon J. Sobers regarding response
                   to opposing counsel terms; Conference with Sharon J. Sobers regarding
                   the same
 6/07/16 JMS       Legal research regarding terms of collective action notice and
                   communications with potential opt-in plaintiffs
 6/07/16 JMS       Draft and revise proposed notice to opposing counsel; Correspondence
                   to Peter A. Saba and Sharon J. Sobers regarding the same



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   Date Int        Professional Services                                                      Hours Amount
 6/07/16 SJS       Review opposing counsel's redline of proposed notice, Conference with
                   Joshua M. Smith regarding issues related to consent certification;
                   Review memo from Joshua M. Smith regarding response to defendant's
                   proposal regarding mutual consent to collective action certification;
                   Review order and briefing in Kaiser regarding notice; Legal research
                   regarding FLSA websites; Review TQL website
 6/08/16 EFP       Draft and revise attorneys fees summary for the Court, draft and revise
                   correspondence to opposing counsel regarding attorneys fees summary
 6/08/16 JMS       Revise response to opposing counsel regarding agreed notice terms;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same; Correspondence to opposing counsel regarding agreed notice
                   terms
 6/08/16 JMS       Revise discovery requests to Kroger; Correspondence to Sharon J.
                   Sobers regarding the same
 6/08/16 PAS       Review and revise correspondence to opposing counsel regarding terms
                   for concession to motion for conditional certification
 6/08/16 PAS       Conference with Josh M. Smith regarding changes to terms
 6/08/16 PAS       Review and revise summary of legal fees
 6/08/16 PAS       Correspondence to opposing counsel
 6/08/16 SJS       Review proposed response to opposing counsel's proposal for a
                   stipulated class certification
 6/09/16 EFP       Review Fledderman fees regarding comparison
 6/09/16 JMS       Conference with Sharon J. Sobers regarding discovery requests to
                   Kroger; Revise the same
 6/09/16 SJS       Conference with Emma F. Paxton regarding hours and rate for Kaiser
                   time, Email to Joshua M. Smith regarding the same
 6/09/16 SJS       Review Joshua M. Smith draft of discovery requests to Kroger,
                   conference with Joshua M. Smith regarding admissions, interrogatories,
                   and document requests, conference with Joshua M. Smith regarding
                   review of document requests to Kroger
 6/10/16 EFP       Conference with Peter A. Saba and Josh M. Smith regarding notices to
                   potential opt-ins




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   Date Int        Professional Services                                                      Hours Amount
 6/10/16 JMS       Conference with Sharon J. Sobers and Peter A. Saba regarding
                   Defendant's responses to proposed agreed notice; Draft responses to the
                   same; Conference with Peter A. Saba regarding the same;
                   Correspondence with opposing counsel regarding pending response
 6/10/16 PAS       Review correspondence from opposing counsel; Conference with Josh
                   M. Smith and Sharon J. Sobers regarding issues with conditional
                   certification and notice to putative class
 6/10/16 SJS       Conference with Peter A. Saba, Joshua M. Smith and Emma F. Paxton
                   regarding issues related to collective action or class certification
 6/13/16 JMS       Draft and revise response to opposing counsel's terms of agreed notice;
                   Conference with Peter A. Saba and Sharon J. Sobers regarding the same
 6/13/16 PAS       Review and revise correspondence to opposing counsel; Receipt and
                   review of correspondence from opposing counsel
 6/14/16 EFP       Make changes to discovery requests
 6/14/16 JMS       Revise discovery requests to defendant
 6/14/16 JMS       Correspondence to Madeline Hickey regarding discovery responses
 6/14/16 JMS       Revise discovery responses of Derek Chipman
 6/14/16 JMS       Attempt telephone conference with Derek Chipman
 6/14/16 SJS       Review and revise Joshua M. Smith's revisions to discovery requests to
                   Kroger
 6/15/16 JMS       Correspondence with Sharon J. Sobers regarding draft discovery
                   requests
 6/15/16 JMS       Receipt and review of Defendant's memorandum in opposition to motion
                   to certify
 6/15/16 JMS       Legal research regarding multiple notice and discovery of email
                   addresses Legal research regarding multiple notice and discovery of
                   email addresses
 6/15/16 SJS       Review Joshua M. Smith's changes to discovery; Email to Joshua M.
                   Smith regarding additional changes
 6/16/16 JMS       Conference with Sharon J. Sobers regarding discovery requests to
                   Defendant; Revise discovery requests to defendant; Correspondence to
                   Peter A. Saba regarding the same


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   Date Int        Professional Services                                                      Hours Amount
 6/16/16 SJS       Review defendant's response to motion for conditional certification of
                   collective action; Conference with Joshua M. Smith regarding the same
                   and status of discovery in light of memorandum in opposition
 6/17/16 JMS       Revise discovery responses to Kroger
 6/20/16 JMS       Review Facebook message responses from Derek Chipman; Conference
                   with Peter A. Saba and Sharon J. Sobers regarding the same; Legal
                   research regarding client communications with putative class members
 6/20/16 SJS       Review Derek Chipman's Facebook posts; Conference with Joshua M.
                   Smith regarding the same
 6/21/16 JMS       Correspondence with Madeline Hickey regarding discovery responses;
                   Receipt and review of the same
 6/22/16 JMS       Revise discovery responses of Derek Chipman; Correspondence with
                   Sharon J. Sobers regarding the same
 6/22/16 JMS       Draft memo to file regarding deleted text messages from client
 6/22/16 SJS       Locate privilege log and finish initial review of Chipman discovery;
                   Redline Chipman's discovery responses
 6/23/16 JMS       Draft and revise discovery responses
 6/24/16 JMS       Correspondence with opposing counsel regarding discovery
 6/24/16 PAS       Receipt and review of correspondence from opposing counsel
 6/28/16 JMS       Telephone conference with Sharon J. Sobers regarding notice of
                   collective action and disputed language
 6/28/16 SJS       Legal research regarding information needed for sending notices
 6/29/16 SJS       Research regarding equitable tolling, notice, and information regarding
                   sending notice; Email to Peter A. Saba and Josh M. Smith
 6/30/16 EFP       Log documents from the clients
 6/30/16 SJS       Review discovery to Kroger for additional time, review exhibits
 6/30/16 SJS       Review discovery responses of all plaintiffs
 6/30/16 SJS       Review and revise discovery requests to defendant and exhibits
 6/30/16 SJS       Conference with Emma F. Paxton regarding document log




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   Date Int        Professional Services                                                     Hours Amount
 6/30/16 SJS       Email to Joshua M. Smith regarding discovery responses for all
                   plaintiffs
 6/30/16 SJS       Email to Joshua M. Smith regarding discovery requests
 6/30/16 SJS       Review Eversole decision on work product privilege
 7/01/16 PAS       Conference with Sharon J. Sobers regarding issues with discovery
 7/05/16 PAS       Review memorandum in opposition to motion for conditional
                   certification
 7/05/16 PAS       Review applicable case law for standard of review concerning
                   decertification discovery
 7/05/16 PAS       Review current available documentation regarding similarly situated
                   standard
 7/05/16 PAS       Review and revise discovery requests
 7/06/16 JMS       Conference with Peter A. Saba regarding discovery requests to
                   defendant and revisions; Revise the same
 7/06/16 PAS       Conference with Josh M. Smith regarding changes to discovery
 7/06/16 PAS       Outline all areas of written discovery and information needed
 7/07/16 JMS       Revise discovery requests to defendant; Correspondence to Peter A.
                   Saba and Sharon J. Sobers regarding the same; Telephone conference
                   with Sharon J. Sobers regarding discovery requests
 7/07/16 PAS       Draft and revise discovery requests; Conference with Sharon J. Sobers
                   regarding issues with splitting requests
 7/07/16 SJS       Review changes to discovery
 7/08/16 EFP       Review and revise discovery requests to defendant, correspondence to
                   opposing counsel regarding discovery requests, email to the clients
                   regarding discovery requests
 7/08/16 JMS       Revise discovery requests; Correspondence to Peter A. Saba regarding
                   the same; Correspondence to Sharon J. Sobers regarding the same;
                   Telephone conference with Sharon J. Sobers regarding the same
 7/08/16 PAS       Review and revise discovery requests
 7/08/16 SJS       Review Peter A. Saba's revised version of discovery requests to Kroger



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   Date Int        Professional Services                                                           Hours Amount
 7/11/16 EFP       Conference with Sharon J. Sobers regarding document production and
                   prepare document production
 7/11/16 JMS       Revise reply in support of motion for conditional certification
 7/11/16 SJS       Review discovery responses, conference with Emma F. Paxton
                   regarding organization of documents in file
 7/11/16 SJS       Draft reply to defendant's response to collective action certification
                   regarding notice language and procedures
 7/12/16 JMS       Review Sharon J. Sobers' revisions to reply in support of motion for
                   conditional certification; Conference with Sharon J. Sobers regarding the
                   same
 7/12/16 SJS       Review and revise reply in support of class certification regarding
                   notice; Draft affidavit for Joshua M. Smith to accompany reply in
                   support; Cite check reply in support of certification
 7/13/16 EFP       Conference with Sharon J. Sobers regarding document production and
                   prepare documents for production
 7/13/16 JMS       Revise reply in support of motion for conditional certification;
                   Correspondence to Sharon J. Sobers regarding the same
 7/13/16 SJS       Review Joshua M. Smith's changes to reply to motion to certify
                   regarding notice, review and revise reply
 7/13/16 SJS       Draft email to Joshua M. Smith regarding equitable tolling
 7/13/16 SJS       Review documents for production to defendant, review documents in
                   connection with answers to document requests, conference with Joshua
                   M. Smith regarding inclusion of documents that were not in initial
                   exhibit list, conference with Emma F. Paxton regarding preparation of
                   documents for production, conference with Joshua M. Smith regarding
                   revisions of discovery responses and settlement demand
 7/14/16 EFP       Revise discovery responses and prepare documents for production
 7/14/16 JMS       Revise draft discovery responses
 7/14/16 SJS       Revise Chipman's discovery responses, conference with Emma F.
                   Paxton regarding formatting responses for Chipman and other named
                   plaintiffs, review Burchett notes for redactions, identify items that will
                   be different for the different Plaintiffs for double checking differences in
                   responses, add notes to Chipman responses regarding rationale for
                   response

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   Date Int        Professional Services                                                          Hours Amount
 7/14/16 SJS       Legal research regarding Anderson v. Mt. Clemons Pottery (plaintiff
                   testimony regarding hours worked)
 7/14/16 SJS       Review and revise Emma F. Paxton's formatting of discovery responses,
                   email to Joshua M. Smith regarding same
 7/14/16 SJS       Continue legal research regarding Mt. Clemens Pottery/employee
                   testimony regarding hours worked, email to Joshua M. Smith x2
                   regarding status and memo regarding legal research regarding what
                   evidence FLSA employee needs to establish time worked
 7/15/16 EFP       Finalize reply in support of motion for conditional certification and
                   supporting affidavit and file same, email to the clients regarding reply in
                   support of motion for conditional certification
 7/15/16 JMS       Revise reply in support of motion for conditional certification
 7/15/16 PAS       Review and revise reply in support of conditional certification
 7/15/16 PAS       Conference with Josh M. Smith regarding changes to reply brief
 7/15/16 PAS       Receipt and review of correspondence from the Court
 7/18/16 JMS       Correspondence with opposing counsel regarding extension to discovery
                   responses and deposition dates for Diana Victoriano
 7/19/16 EFP       Receipt and review of order regarding motion for conditional
                   certification from the Court, email to the clients regarding order
 7/19/16 PAS       Receipt and review of correspondence from the Court; Receipt and
                   review of correspondence from opposing counsel; Conference with Josh
                   M. Smith regarding issues with the Court's decision
 7/19/16 SJS       Conference with Joshua M. Smith regarding court order certifying class
 7/19/16 SJS       Review protective order and other protective orders for supplementation
 7/20/16 EFP       Review process for filing under seal
 7/20/16 JMS       Conference with Sharon J. Sobers regarding agreed protective order
 7/20/16 SJS       Conference with Joshua M. Smith regarding protective order and sealing
                   documents
 7/21/16 JMS       Receipt and review of article from Christopher R. Jones regarding Fair
                   Credit Reporting Act litigation against Kroger; Conference with Sharon
                   J. Sobers regarding the same



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   Date Int        Professional Services                                                      Hours Amount
 7/22/16 JMS       Draft memo to file regarding Fair Credit Reporting Act lawsuit against
                   Kroger; Correspondence to Sharon J. Sobers and Peter A. Saba
                   regarding the same
 7/22/16 JMS       Revise protective order
 7/22/16 JMS       Correspondence to Peter A. Saba regarding the same
 7/22/16 PAS       Receipt and review of correspondence from opposing counsel
 7/22/16 SJS       Review protective order; Conference with Joshua M. Smith regarding
                   protective order
 7/25/16 EFP       Review deadlines in collective action certification order
 7/25/16 SJS       Review calendar order
 7/25/16 SJS       Review Joshua Smith changes to Protective Order
 7/28/16 EFP       Email to Peter A. Saba regarding protective order
 7/28/16 PAS       Review and revise agreed protective order
 7/29/16 PAS       Finalize protective order
 8/01/16 JMS       Conference with Peter A. Saba regarding stipulated protective order;
                   Revise protective order; Correspondence to Sharon J. Sobers regarding
                   the same; Correspondence to opposing counsel regarding the same
 8/01/16 PAS       Receipt and review of correspondence from opposing counsel x2
 8/01/16 PAS       Conference with Josh M. Smith regarding changes to protective order
 8/01/16 PAS       Review and revise protective order
 8/01/16 SJS       Review changes by Peter A. Saba and Joshua M. Smith to protective
                   order, conference with Joshua M. Smith regarding the same
 8/02/16 EFP       Receipt and review of correspondence from the Court regarding
                   stipulated protective order
 8/02/16 EFP       Review spreadsheet of current and former employees and prepare
                   envelopes for notice
 8/02/16 JMS       Receipt and review of confidential putative class list; Conference with
                   Sharon J. Sobers regarding the same
 8/02/16 JMS       Revise collective action notice; Draft memo to Peter A. Saba, Sharon J.
                   Sobers, and Emma F. Paxton regarding the same


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   Date Int        Professional Services                                                    Hours Amount
 8/02/16 PAS       Receipt and review of correspondence from the Court
 8/02/16 PAS       Receipt and review of correspondence from opposing counsel
 8/02/16 PAS       Conference with Josh M. Smith regarding issues with notices
 8/02/16 SJS       Review time to propose for progress of litigation, review list of
                   addresses from defendant, conference with Joshua M. Smith regarding
                   same
 8/02/16 SJS       Email comments on discovery to Joshua M. Smith
 8/03/16 EFP       Prepare envelopes for sending notices, draft and revise notice log,
                   telephone conference with phone provider regarding new phone line
                   (vm) and email to phone provider regarding new phone line
 8/03/16 JMS       Receipt and review of correspondence from opposing counsel regarding
                   proposed calendar order; Correspondence to opposing counsel regarding
                   the same
 8/03/16 JMS       Correspondence to Madeline Hickey regarding document production
 8/03/16 PAS       Conference with Josh M. Smith and Emma F. Paxton regarding issues
                   with notices and consent forms for putative class
 8/03/16 PAS       Receipt and review of correspondence from opposing counsel
 8/03/16 SJS       Review dates for proposed calendar order in FLSA litigation with
                   Joshua M. Smith
 8/04/16 EFP       Email to the clients regarding protective order, telephone conference
                   with phone provider x2 regarding new line and conference with phone
                   provider to set up new line, draft and revise notice log
 8/04/16 JMS       Conference with Peter A. Saba regarding discovery responses; Revise
                   responses
 8/04/16 JMS       Conference with Peter A. Saba and Emma F. Paxton regarding notices
 8/04/16 JMS       Draft script for voicemail to collective action phone line
 8/04/16 JMS       Correspondence to opposing counsel regarding proposed calendar order
                   and telephone conference
 8/04/16 PAS       Receipt and review of correspondence from the Court
 8/04/16 PAS       Draft and revise discovery responses



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   Date Int        Professional Services                                                      Hours Amount
 8/05/16 EFP       Revise cover letter and class action notice regarding phone number;
                   Finalize discovery responses; Prepare documents for production;
                   Correspondence to opposing counsel regarding discovery responses;
                   Emails to opposing counsel regarding discovery responses; Emails to the
                   clients regarding discovery responses
 8/05/16 EFP       Finalize discovery responses
 8/05/16 EFP       Prepare documents for production
 8/05/16 EFP       Correspondence to opposing counsel regarding discovery responses
 8/05/16 EFP       Emails to opposing counsel regarding discovery responses
 8/05/16 EFP       Emails to the clients regarding discovery responses
 8/05/16 JMS       Conference with Peter A. Saba regarding discovery responses; Revise
                   responses to discovery
 8/05/16 JMS       Review documents to be produced to opposing counsel; Conference with
                   Emma F. Paxton regarding the same
 8/05/16 PAS       Receipt and review of correspondence from the client
 8/05/16 PAS       Review documents for production
 8/05/16 SJS       Conference with Joshua M. Smith regarding schedule/planning and
                   Kroger's discovery responses
 8/05/16 SJS       Conference with Shiela Smith, Esq. regarding Swigert litigation
                   proposed calendar for collective/class certification
 8/08/16 JMS       Telephone conference with opposing counsel regarding calendar order;
                   Conference with Peter A. Saba and Sharon J. Sobers regarding the same;
                   Draft and revise proposed calendar order to opposing counsel
 8/08/16 PAS       Receipt and review of correspondence from opposing counsel
 8/08/16 PAS       Conference with opposing counsel regarding issues with scheduling
 8/08/16 PAS       Review and revise email to opposing counsel
 8/08/16 SJS       Conference with Peter A. Saba and Joshua M. Smith regarding
                   scheduling order for balance of collective action certification,
                   conference with opposing counsel regarding scheduling order,
                   conference with Peter A. Saba and Joshua M. Smith regarding next
                   steps, review email from Joshua M. Smith regarding wording for
                   response to the Court regarding dates for scheduling order


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   Date Int        Professional Services                                                       Hours Amount
 8/08/16 SJS       Review notice documents for FLSA class, conference with Joshua M.
                   Smith regarding Hardesty job and phone number on revised notice
 8/09/16 JMS       Receipt and review of correspondence from opposing counsel regarding
                   proposed calendar; Conference with Peter A. Saba and Sharon J. Sobers
                   regarding the same; Revise proposed calendar order; Correspondence to
                   opposing counsel regarding the same
 8/09/16 PAS       Receipt and review of correspondence from opposing counsel x3
 8/09/16 PAS       Conference with Josh M. Smith regarding changes to proposed
                   scheduling order
 8/09/16 SJS       Email Joshua M. Smith and Peter A. Saba response to email from
                   opposing counsel regarding email to the Judge regarding scheduling
                   order, conference with Joshua M. Smith regarding responding to email
                   from opposing counsel regarding proposed scheduling order for the
                   Judge
 8/10/16 EFP       Revise and print out of deposition exhibit relating to CoRE Office
                   Layout
 8/10/16 JMS       Review finalized notice; Conference with Peter A. Saba regarding the
                   same; Revise notice; Correspondence to opposing counsel regarding the
                   same
 8/10/16 PAS       Receipt and review of correspondence from the Court; Review changes
                   to notice
 8/10/16 SJS       Calculate overtime from staffed time on database from defendant;
                   Conference with Joshua M. Smith regarding the same
 8/11/16 EFP       Prepare notices for mailing to potential class members, review list of
                   recruiters and weekly time, create spreadsheet of weekly time less lunch
                   breaks
 8/11/16 JMS       Draft initial disclosures
 8/11/16 JMS       Review call metric data in determining damages/overtime
 8/11/16 JMS       Final review notice documents
 8/11/16 PAS       Receipt and review of correspondence from opposing counsel x3
 8/11/16 PAS       Conference with Josh M. Smith regarding initial disclosures




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   Date Int        Professional Services                                                         Hours Amount
 8/12/16 EFP       Review addresses and letters; Finalize and mail notices to potential class
                   members; Emails to former recruiters regarding notices; Record
                   voicemail for class phone line; Finalize initial disclosures; Email to
                   opposing counsel regarding initial disclosures; Email to the client
                   regarding initial disclosures
 8/12/16 EFP       Record voicemail for class phone line
 8/12/16 EFP       Finalize initial disclosures
 8/12/16 EFP       Email to opposing counsel regarding initial disclosures
 8/12/16 EFP       Email to the client regarding initial disclosures
 8/12/16 JMS       Review and confirm mailing addresses with respect to opt-in notices to
                   putative class members
 8/12/16 PAS       Review and revise telephone script for voicemail
 8/12/16 PAS       Conference with Josh M. Smith regarding changes to script
 8/15/16 EFP       Receipt and review of signed consent from Jeremy Hadden; Email to
                   Jeremy Hadden
 8/15/16 EFP       Receipt and review of email regarding incorrect email address
 8/15/16 EFP       Calendar scheduling order
 8/15/16 EFP       Email to the clients regarding discovery responses, initial disclosures,
                   and calendar order
 8/15/16 EFP       Telephone conference with the Court regarding status conference
 8/15/16 SJS       Review prior emails regarding resolution of schedule for litigation;
                   Conference with Joshua M. Smith regarding extension to respond to
                   current requests from defendant in light of prior discussions
 8/16/16 EFP       Revise and finalize spreadsheet of time records
 8/17/16 JMS       Legal research regarding communications with potential class members;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 8/18/16 EFP       Calculate hours of overtime for recruiters
 8/18/16 JMS       Correspondence with Sharon J. Sobers regarding damages calculation
                   based on telephone records
 8/19/16 JMS       Receipt and review of opt-in consent form from Rhondalyn West

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   Date Int        Professional Services                                                    Hours Amount
 8/19/16 JMS       Attempt telephone conference with Ms. West
 8/19/16 JMS       Legal research regarding opt-in consent forms and filing deadlines
 8/19/16 PAS       Receipt and review of correspondence from opt in
 8/22/16 JMS       Receipt and review of opt-in consent form; Correspondence with Sharon
                   J. Sobers and Peter A. Saba regarding the same
 8/22/16 JMS       Revise witness questionnaire and correspondence to Peter A. Saba and
                   Sharon J. Sobers regarding the same
 8/22/16 PAS       Review third opt in client
 8/24/16 JMS       Correspondence to opt-in plaintiffs x3 regarding follow-up telephone
                   calls
 8/25/16 EFP       Receipt and review of returned mail to Jaclynn Olnhausen and Kenea
                   Deckle (potential opt ins) and update notice log
 8/25/16 JMS       Telephone conference with opt-in plaintiff Jeremy Hadden;
                   Correspondence to Sharon J. Sobers regarding the same
 8/25/16 PAS       Review correspondence from opt in
 8/26/16 EFP       Update notice spreadsheet regarding Jessica Conroy opt in
 8/26/16 JMS       Correspondence with opt-in plaintiff Rhondalyn West
 8/26/16 PAS       Receipt and review of correspondence from opposing counsel
 8/26/16 PAS       Conference with Josh M. Smith regarding communications with opt-ins
 8/29/16 EFP       Receipt and review of consent form from Craig McIntire
 8/29/16 EFP       Receipt and review of returned mail from potential opt ins
 8/29/16 EFP       Compare ADEA spreadsheet to FLSA spreadsheet regarding missing
                   potential opt ins
 8/29/16 EFP       Review Lane v. Pickerington docket
 8/29/16 JMS       Telephone conference with opt-in plaintiff Rhondalyn West; Draft
                   memo to file regarding interview with Rhondalyn West
 8/29/16 JMS       Draft memo to file regarding interview with Jeremy Hadden
 8/29/16 JMS       Legal research regarding informational website setup



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   Date Int        Professional Services                                                       Hours Amount
 8/29/16 JMS       Telephone conference with Sebastien Hue regarding website setup;
                   Correspondence with Peter A. Saba regarding the same
 8/29/16 JMS       Receipt and review of documentation of missing recruiters on class
                   notice list
 8/29/16 PAS       Review interview memo
 8/29/16 PAS       Review consent form from opt in
 8/29/16 PAS       Receipt and review of correspondence from potential opt in
 8/29/16 PAS       Conference with Josh M. Smith regarding issues with faulty name
                   disclosure
 8/29/16 SJS       Review Joshua M. Smith's notes regarding Rondalynn West, review list
                   of recruiters for information on Rondalynn West, email to Joshua M.
                   Smith regarding the same
 8/29/16 SJS       Respond to Joshua M. Smith regarding email from Kroger recruiter who
                   did not get FLSA mailing, conference with Peter A. Saba regarding
                   filing to extend time for opt-ins to respond in light of inaccuracies in
                   recruiter lists, email to Joshua M. Smith regarding the same
 8/29/16 SJS       Review legal research regarding website information
 8/29/16 SJS       Email to Joshua M. Smith regarding Espenscheid decision
 8/29/16 SJS       Conference with Joshua M. Smith regarding website and filing motion
                   regarding recruiter list inaccuracies
 8/30/16 EFP       Receipt and review of consent form from Matt Taske, receipt and review
                   of returned mail from Madeline Hickey and Kathryn Mahoney
 8/30/16 JMS       Draft and revise correspondence to opposing counsel regarding
                   deficiencies in class member list; Conference with Peter A. Saba
                   regarding the same; Correspondence with Sharon J. Sobers regarding the
                   same
 8/30/16 JMS       Legal research regarding Court-imposed sanctions for failure to disclose
                   potential opt-in class members
 8/30/16 PAS       Conference with Josh M. Smith regarding issues with resolution of
                   Kroger's failure to disclosure names of employees and correspondence to
                   opposing counsel




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   Date Int        Professional Services                                                         Hours Amount
 8/30/16 SJS       Review Joshua M. Smith's letter to opposing counsel regarding problems
                   with FLSA recruiter list; Legal research regarding problems with class
                   certification lists; Review brief regarding class action certification;
                   Conference with Joshua M. Smith regarding letter to opposing counsel
                   regarding issues with recruiter list; Email to Peter A. Saba regarding the
                   same; Review Judge Black's procedural orders regarding handling
                   disputes; Email to Joshua M. Smith regarding the same
 8/31/16 JMS       Telephone conference with opposing counsel x2 regarding rescheduling
                   call; Conference with Sharon J. Sobers regarding the same
 8/31/16 SJS       Review what is needed for class action motion to certify
 9/01/16 SJS       Review class action initial draft
 9/02/16 EFP       Draft and revise list of recruiters for letter to opposing counsel
 9/02/16 JMS       Revise letter to opposing counsel regarding class notice list and
                   deficiencies; Correspondence to Peter A. Saba and Sharon J. Sobers
                   regarding the same
 9/02/16 PAS       Review opt in resignation letter; Revise correspondence to opposing
                   counsel regarding recruiter list issues
 9/06/16 EFP       Finalize correspondence to opposing counsel regarding failure to
                   disclose, email to opposing counsel regarding failure to disclose and
                   email to the client regarding correspondence to opposing counsel
 9/06/16 JMS       Revise correspondence to opposing counsel regarding notice
                   deficiencies; Correspondence to Emma F. Paxton regarding the same
 9/06/16 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding class
                   website setup
 9/06/16 JMS       Telephone conference with opt-in plaintiff Wahid Lewis
 9/06/16 JMS       Telephone conference with Peter A. Saba regarding telephone
                   conference with opposing counsel on notice issue
 9/06/16 JMS       Telephone conference with Sharon J. Sobers regarding discovery and
                   extension of dates
 9/06/16 PAS       Receipt and review of correspondence from the client regarding issues
                   with putative class disclosure
 9/06/16 SJS       Review Peter A. Saba's changes to letter regarding missed potential opt-
                   ins on Kroger's list identifying recruiters


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   Date Int        Professional Services                                                        Hours Amount
 9/06/16 SJS       Conference with Joshua M. Smith regarding date for conference
                   regarding names missing from opt-in list, extension on defendant's
                   request for discovery from current opt-ins, and changing date for court
                   ordered conference following our receipt of discovery
 9/07/16 JMS       Correspondence to opposing counsel regarding extension of time and
                   notice issue; Telephone conference with opposing counsel regarding the
                   same
 9/07/16 JMS       Draft memo to file regarding call with opposing counsel;
                   Correspondence to Sharon J. Sobers and Peter A. Saba regarding the
                   same
 9/07/16 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding
                   telephone conference with opposing counsel and terms for notice
                   deficiency
 9/07/16 PAS       Receipt and review of correspondence from opposing counsel; Review
                   issues for conference call with opposing counsel
 9/07/16 SJS       Conference with Joshua M. Smith regarding conference with opposing
                   counsel regarding extension of time to respond to discovery directed to
                   opt-ins and issues with recruiter list; Compare list of potential missed
                   opt-ins with time worked on ADEA list regarding part-time status;
                   Review summary of deficiency letter conversation with opposing
                   counsel
 9/08/16 EFP       Draft and revise notice of filing consents to become party-plaintiff and
                   file same, correspondence to opposing counsel regarding notice of filing
                   consents and email to opposing counsel regarding notice of filing
                   consents; Email to the client regarding notice of filing consents; Update
                   consent log
 9/08/16 JMS       Prepare for and attend telephone conference with opposing counsel
                   regarding notice list deficiencies
 9/08/16 JMS       Draft additional discovery requests and correspondence to opposing
                   counsel regarding alleged temporary employees; Correspondence to
                   Peter A. Saba and Sharon J. Sobers regarding the same
 9/08/16 JMS       Legal research regarding opt-in plaintiff rates
 9/08/16 PAS       Review documents for conference call
 9/08/16 PAS       Conference call with opposing counsel regarding issues with employee
                   information

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   Date Int        Professional Services                                                     Hours Amount
 9/08/16 PAS       Receipt and review of correspondence from the Court x2
 9/08/16 SJS       Conference with Joshua M. Smith and Peter A. Saba regarding
                   upcoming conference with opposing counsel, conference with opposing
                   counsel regarding missed opt-ins on list
 9/08/16 SJS       Review Joshua M. Smith's letter regarding discovery related to
                   "temporary" employees at CoRE, review discovery requests regarding
                   temporary employees
 9/09/16 JMS       Revise correspondence and discovery requests to opposing counsel
                   regarding temporary employees
 9/09/16 JMS       Receipt and review of discovery responses from opposing counsel
 9/09/16 PAS       Receipt and review of correspondence from the Court
 9/12/16 EFP       Email to the clients regarding discovery responses
 9/12/16 JMS       Receipt and review of correspondence from opposing counsel regarding
                   telephone conference
 9/12/16 JMS       Correspondence to Emma F. Paxton regarding scheduling of conference
                   call
 9/12/16 JMS       Telephone conference with the client regarding Kroger discovery
                   responses
 9/12/16 JMS       Telephone conference with Sharon J. Sobers regarding Kroger discovery
                   responses and issues with notice
 9/12/16 JMS       Review of documents produced by Kroger
 9/12/16 JMS       Correspondence with Sebastien Hue regarding website
 9/12/16 PAS       Receipt and review of correspondence from opposing counsel
 9/12/16 SJS       Review defendant's written responses to interrogatories and production
                   of documents; Review materials for conference call regarding missing
                   opt-ins; Review document production
 9/13/16 EFP       Finalize correspondence to opposing counsel regarding temporary
                   employees; Finalize discovery requests; Review and log documents
                   produced by opposing counsel; Email to opposing counsel regarding
                   temporary employee letter and discovery requests; Email to the client
                   regarding letter to opposing counsel and discovery requests
 9/13/16 EFP       Revise and finalize discovery requests


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   Date Int        Professional Services                                                      Hours Amount
 9/13/16 EFP       Review and log documents produced by opposing counsel
 9/13/16 EFP       Email to opposing counsel regarding temporary employee letter and
                   discovery requests
 9/13/16 EFP       Email to the client regarding letter to opposing counsel and discovery
                   requests
 9/13/16 JMS       Meeting with Sharon J. Sobers and Peter A. Saba regarding notice issues
 9/13/16 JMS       Telephone conference with opposing counsel regarding class notice
                   issues
 9/13/16 JMS       Review documents produced by defendant
 9/13/16 JMS       Telephone conference with opt-in plaintiff Rhonda Furr;
                   Correspondence to Sharon J. Sobers regarding the same
 9/13/16 JMS       Telephone conference with the client regarding status update
 9/13/16 JMS       Telephone conference with opposing counsel regarding aux code reports
 9/13/16 JMS       Receipt and review of the same
 9/13/16 PAS       Conference with Josh M. Smith and Sharon J. Sobers regarding issues
                   with notice period
 9/13/16 PAS       Review and revise temporary employee discovery
 9/13/16 PAS       Conference call with opposing counsel regarding issues with missing opt
                   ins on list
 9/13/16 PAS       Receipt and review of correspondence from opposing counsel
 9/13/16 SJS       Meeting with Peter A. Saba and Joshua M. Smith in preparation for
                   telephone conference with opposing counsel regarding missing opt-ins;
                   Telephone conference with Peter A. Saba and Joshua M. Smith
                   regarding resolving missing opt-in issues
 9/14/16 EFP       Review and log documents from opposing counsel
 9/14/16 JMS       Correspondence with Emma F. Paxton regarding additional notice to
                   omitted class members
 9/14/16 JMS       Correspondence with Peter A. Saba and Emma F. Paxton regarding
                   notes from witness interview with Rhonda Furr (opt-in)




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   Date Int        Professional Services                                                       Hours Amount
 9/14/16 JMS       Draft and revise deficiency letter regarding defendant's responses to
                   discovery requests; Correspondence to Sharon J. Sobers regarding the
                   same
 9/14/16 JMS       Telephone conference with Sebastien Hue regarding website;
                   Correspondence to Peter A. Saba regarding the same
 9/14/16 PAS       Receipt and review of correspondence from opposing counsel
 9/14/16 SJS       Review discovery requests to opt-ins in preparation for conference with
                   opposing counsel regarding discovery; Review topics for discussion at
                   conference; Prepare for conference with opposing counsel regarding
                   discovery
 9/15/16 EFP       Cross-reference spreadsheets produced by opposing counsel with
                   putative class list; Revise spreadsheet of aux times; Finalize
                   correspondence to opposing counsel regarding list of individuals; Email
                   to opposing counsel regarding list of individuals; Email to the client
                   regarding letter to opposing counsel
 9/15/16 EFP       Revise spreadsheet of aux times
 9/15/16 EFP       Revise and finalize correspondence to opposing counsel regarding list of
                   individuals
 9/15/16 EFP       Email to opposing counsel regarding list of individuals
 9/15/16 EFP       Email to the client regarding letter to opposing counsel
 9/15/16 JMS       Correspondence to Peter A. Saba regarding discovery telephone
                   conference with opposing counsel; Telephone conference with opposing
                   counsel regarding discovery plan; Conference with Sharon J. Sobers and
                   Peter A. Saba regarding the same; Prepare for telephone conference
                   with opposing counsel
 9/15/16 JMS       Receipt and review of correspondence to Sebastien Hue regarding
                   website; Conference with Peter A. Saba regarding the same
 9/15/16 JMS       Draft correspondence to opposing counsel regarding list of individuals
                   identified as being omitted from putative class list
 9/15/16 JMS       Multiple telephone conferences with the named plaintiffs regarding
                   deposition availability; Correspondence to Peter A. Saba regarding the
                   same
 9/15/16 PAS       Conference with Josh M. Smith regarding issues with witnesses and
                   discovery

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   Date Int        Professional Services                                                      Hours Amount
 9/15/16 PAS       Conference call with opposing counsel regarding issues with timing of
                   discovery
 9/15/16 PAS       Conference with Josh M. Smith and Sharon J. Sobers regarding issues
                   with notice
 9/15/16 SJS       Review BNA FLSA cases (Senne, Kaur 9thCir), email to Joshua M.
                   Smith regarding the same
 9/15/16 SJS       Conference with opposing counsel pursuant to the Court's scheduling
                   order regarding discovery, conference with Peter A. Saba and Joshua M.
                   Smith following conference with opposing counsel regarding written
                   discovery, depositions, and notice issues
 9/15/16 SJS       Draft task list, conference with Joshua M. Smith regarding division of
                   tasks
 9/15/16 SJS       Review email from opposing counsel regarding deficiency letter with
                   respect to certain requested items, email to Emma F. Paxton
 9/15/16 SJS       Email to Emma F. Paxton regarding list of missing opt-ins and
                   requesting list of individuals from defendant's list of missing opt-ins
 9/15/16 SJS       Conference with Joshua M. Smith regarding current task list
 9/16/16 EFP       Review aux spreadsheets regarding additional recruiters and log
                   documents produced by opposing counsel
 9/19/16 EFP       Emails with opposing counsel regarding word versions of discovery
                   requests to opt ins
 9/19/16 EFP       Review and log documents produced by opposing counsel
 9/19/16 JMS       Revise supplemental cover letter to opt-in plaintiffs
 9/19/16 JMS       Review documents produced to date by Kroger; Correspondence to
                   Sharon J. Sobers regarding the same
 9/19/16 JMS       Revise cover letter to opt-in plaintiffs regarding discovery requests
 9/19/16 PAS       Receipt and review of correspondence from opposing counsel regarding
                   discovery issues




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   Date Int        Professional Services                                                       Hours Amount
 9/19/16 SJS       Draft proposed language for belated opt-in notices; Draft cover letters
                   for the opt-in discovery; Forward cover letter to Joshua M. Smith;
                   Review Bates numbers for spreadsheets proposed by opposing counsel;
                   Review lists of names of supplemental opt-ins; Conference with Joshua
                   M. Smith regarding the same and proposed unified list of individuals
                   with notice issues
 9/20/16 EFP       Make changes to supplemental notice letter, review and log documents
                   produced by opposing counsel, finalize letter to opt-in plaintiffs
                   regarding discovery requests and emails to opt-in plaintiffs regarding
                   discovery requests
 9/20/16 JMS       Correspondence with named plaintiffs regarding deposition dates;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 9/20/16 JMS       Revise correspondence to opt-in plaintiffs regarding discovery requests
 9/20/16 JMS       Receipt and review of correspondence from opposing counsel regarding
                   aux time sheets
 9/20/16 PAS       Receipt and review of correspondence from opposing counsel
 9/20/16 PAS       Review correspondence to opt-in clients
 9/20/16 PAS       Conference with Josh M. Smith regarding communication with new opt-
                   ins
 9/21/16 JMS       Telephone conference with the client regarding status update;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 9/21/16 JMS       Correspondence with Sharon J. Sobers and Peter A. Saba regarding
                   deposition dates
 9/22/16 JMS       Receipt and review of discovery requests to additional opt-in plaintiffs
 9/22/16 JMS       Draft generic responses to opt-in plaintiff discovery requests
 9/22/16 PAS       Receipt and review of correspondence from opposing counsel
 9/23/16 JMS       Correspondence with Amanda Gayhart regarding opt-in discovery
                   requests; Telephone conference with Amanda Gayhart regarding the
                   same
 9/26/16 EFP       Revise supplemental notice letter
 9/26/16 JMS       Revise supplemental notice letter to additional class members

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   Date Int        Professional Services                                                     Hours   Amount
 9/26/16   JMS     Telephone conference with the client regarding status update
 9/26/16   JMS     Correspondence with Sebastien Hue regarding website · Conespondence
                   to Peter A. Saba regarding the same
 9/26/16   PAS     Review and revise supplemental notice; Conference with Josh M. Smith
                   regarding changes to supplemental notice for omitted opt ins
 9/27/16   EFP     Review documents from Amanda Gayhart
 9/27/16   JMS     Correspondence with opposing counsel regarding supplemental notice
 9/27/16   JMS     Receipt and review of discovery responses from opposing counsel with
                   respect to temporary employees
 9/27/16   JMS     Conference with Amanda Gayhart regarding discovery responses
 9/27/16   JMS     Review documents produced in discove1y
 9/27/16   PAS     Receipt and review of conespondence from opposing counsel x2
                   regarding discovery and supplemental notice
 9/28/16   EFP     Review consent from Jalen Johnson and update notice log
 9/28/16   JMS     Receipt and review of conespondence from opposing counsel regarding
                   supplemental notice letter; Conespondence to Peter A. Saba and Sharon
                   J. Sobers regarding the same;
 9/28/16   JMS     Review documents produced by opposing counsel
 9/29/16   JMS     Draft 30(b)(6) deposition in conjunction with all Kroger policies with
                   respect to CoRE Recruiters; Review documents produced in conjunction
                   with drafting 30(b)(6) deposition
 9/30/16   JMS     Conference with Peter A. Saba regarding notice to additional putative
                   class members; Revise the same · Correspondence to opposing counsel
                   regarding the same
 9/30/16   JMS     Revise 30(b)(6) notice of deposition
 9/30/16   PAS     Conference with Josh M . Smith regarding review of supplemental notice
                   and agreed order
 9/30/16   PAS     Review and revise 30(b)(6)
10/03/16   JMS     Receipt and review of conespondence from opposing counsel regarding
                   agreed order; Conespondence to Peter A. Saba regarding the same
10/04/16   JMS     Revise responses to opt-in discovery requests


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   Date Int        Professional Services                                                    Hours Amount
10/05/16 EFP       Finalize supplemental notice documents
10/05/16 JMS       Correspondence with opposing counsel regarding agreed order;
                   Telephone conference with the Court regarding the same;
                   Correspondence to Emma F. Paxton regarding agreed order and exhibit
10/05/16 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding email
                   status update to current opt-in plaintiffs
10/05/16 JMS       Correspondence to the court regarding proposed agreed order
10/06/16 EFP       Finalize supplemental notice letters
10/06/16 PAS       Receipt and review of correspondence from the Court; Conference
                   regarding website modifications and issues
10/07/16 EFP       Receipt and review of discovery responses and production, review and
                   log documents from opposing counsel
10/10/16 EFP       Review deadline for opt-in discovery responses
10/10/16 JMS       Telephone conference with Peter A. Saba regarding supplemental opt-in
                   notices and follow-up
10/10/16 JMS       Correspondence to Peter A. Saba regarding website
10/10/16 JMS       Revise discovery responses of Amanda Gayhart; Correspondence to
                   Peter A. Saba regarding the same
10/11/16 JMS       Receipt and review of multiple correspondence from opt-in plaintiffs
                   regarding discovery requests
10/11/16 PAS       Conference with Jeffrey M. Nye regarding deposition preparation and
                   litigation issues
10/13/16 JMS       Correspondence with opposing counsel regarding discovery requests and
                   depositions
10/17/16 EFP       Review contract for website development and draft and revise check
                   request for website development
10/17/16 JMS       Telephone conference with Jeffrey M. Nye regarding inspection of
                   premises; Correspondence to Peter A. Saba regarding the same
10/17/16 JMS       Correspondence with Madeline Hickey regarding deposition dates;
                   Correspondence to opposing counsel regarding the same
10/17/16 JMS       Correspondence to Peter A. Saba regarding website and contract
                   agreement

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   Date Int        Professional Services                                                        Hours Amount
10/18/16 JMS       Telephone conference with Peter A. Saba regarding inspection of
                   premises; Legal research regarding Rule 34 inspection of premises;
                   Correspondence to opposing counsel regarding the same
10/19/16 EFP       Receipt and review of returned mail from Marcus LaCour, update notice
                   log regarding new address for LaCour and Corbin Hom consent
10/19/16 JMS       Correspondence with Rhonda Furr regarding discovery requests; Revise
                   the same
10/21/16 JMS       Correspondence with Michael Kovatch regarding discovery requests
10/21/16 JMS       Correspondence to opposing counsel regarding deposition of Madeline
                   Hickey, Joseph Hardesty, and Derek Chipman
10/21/16 JMS       Multiple correspondences with the named plaintiffs regarding deposition
                   dates and scheduling
10/21/16 JMS       Receipt and review of documents produced by Michael Kovatch in
                   response to requests for document production
10/24/16 JMS       Revise draft discovery responses from opt-in plaintiffs; Telephone
                   conference with opposing counsel regarding discovery responses and
                   extension; Correspondence to opposing counsel regarding the same
10/24/16 PAS       Receipt and review of correspondence from opposing counsel
10/25/16 EFP       Telephone conference with potential opt-in Jeanne George regarding
                   deadline and pdate notice log
10/26/16 JMS       Correspondence with opt-in plaintiffs (Furr, Matibiri, Kovatch, Burchett,
                   Bradley) regarding discovery responses
10/26/16 JMS       Revise discovery responses
10/26/16 JMS       Draft correspondence to second set of opt-in plaintiffs regarding
                   discovery requests; Correspondence to Peter A. Saba regarding the same
10/27/16 EFP       Review emails regarding Kimberly Burchett discovery responses;
                   Finalize opt-in discovery responses; Prepare documents for production
                   to opposing counsel; Correspondence to opposing counsel regarding
                   discovery responses
10/27/16 EFP       Revise and finalize opt-in discovery responses
10/27/16 EFP       Prepare documents for production to opposing counsel
10/27/16 EFP       Correspondence to opposing counsel regarding discovery responses


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   Date Int        Professional Services                                                      Hours Amount
10/27/16 JMS       Multiple correspondence with opt-in plaintiffs regarding discovery
                   responses; Correspondence to Peter A. Saba regarding the same; Revise
                   opt-in discovery responses
10/27/16 PAS       Review discovery responses
10/28/16 JMS       Telephone conference with Dominic Martin regarding opt-in consent
                   form and documents to produce
10/28/16 JMS       Multiple correspondence and telephone conferences to opt-ins regarding
                   litigation and status update
10/28/16 JMS       Review discovery responses from Kimberly Burchett; Correspondence
                   to Kimberly Burchett regarding the same
11/01/16 EFP       Finalize Burchett discovery responses; Revise correspondence to opt-ins
                   regarding discovery requests; Correspondence to op-ins regarding
                   discovery requests; Correspondence to opposing counsel regarding
                   Burchett discovery responses
11/01/16 EFP       Revise correspondence to opt-ins regarding discovery requests
11/01/16 EFP       Correspondence to op-ins regarding discovery requests
11/01/16 EFP       Correspondence to opposing counsel regarding Burchett discovery
                   responses
11/01/16 JMS       Revise correspondence to second set of opt-ins
11/01/16 JMS       Revise discovery responses of Opt-In Kimberly Burchett
11/01/16 JMS       Telephone conference with opposing counsel regarding deposition of
                   Buck Moffett; Conference with Peter A. Saba regarding the same
11/01/16 PAS       Review and revise discovery letter to opt-ins
11/01/16 PAS       Conference with Josh M. Smith regarding revisions to website and dates
                   for on-site visit
11/02/16 EFP       Receipt and review of word versions of discovery requests from
                   opposing counsel
11/02/16 EFP       Email to Rondalyn West regarding discovery requests
11/02/16 EFP       Email to Sebastien Hue regarding signed contract for website
                   development
11/02/16 JMS       Correspondence to Peter A. Saba regarding request for inspection


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   Date Int        Professional Services                                                        Hours Amount
11/03/16 PAS       Receipt and review of correspondence from opposing counsel
11/04/16 JMS       Conference with Dominic Martin
11/07/16 EFP       Receipt and review of draft discovery responses from Jessica Conroy
11/07/16 EFP       Receipt and review of signed consent form from Lawanna Haskins
11/07/16 EFP       Update notice log
11/07/16 JMS       Receipt and review of correspondence from Sebastien Hue regarding
                   website
11/07/16 JMS       Draft website provisions for Peter A. Saba review; Correspondence to
                   Peter A. Saba and Sebastien Hue regarding the same
11/07/16 JMS       Telephone calls to multiple opt-ins regarding discovery requests and opt-
                   in closing period (calls to 12 individuals)
11/07/16 JMS       Review documents produced by Dominic Martin
11/08/16 EFP       Review draft discovery responses and documents from Alexandra
                   Cooper
11/08/16 JMS       Draft litigation strategy memo
11/08/16 JMS       Draft multiple memos to file regarding calls to Jalen Johnson, Lawanna
                   Haskins, and all other opt-in plaintiffs
11/08/16 JMS       Correspondence to Sebastien Hue regarding website and draft provisions
11/08/16 JMS       Conference with Peter A. Saba regarding opt-ins and status updates on
                   the same
11/08/16 JMS       Telephone conference with Amanda Gayhart regarding status update
11/09/16 JMS       Correspondence to opposing counsel regarding confirmation of
                   deposition dates
11/09/16 JMS       Telephone conference with Lawanna Haskins; Draft memo to file
                   regarding the same; Correspondence to Peter A. Saba and Sharon J.
                   Sobers regarding the same
11/09/16 JMS       Review and revise discovery responses of opt-ins Jessica Conroy and
                   Alexandra Cooper
11/10/16 EFP       Review filed and unfiled notices; Revise notice log
11/10/16 EFP       Revise and finalize Bradley discovery responses


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   Date Int        Professional Services                                                      Hours Amount
11/10/16 EFP       Draft and revise notice of filing consent forms
11/10/16 EFP       File notice of filing and consent forms
11/10/16 EFP       Email to the client regarding notice of filing and consent forms
11/10/16 EFP       Correspondence to opposing counsel regarding Bradley discovery
                   responses
11/10/16 JMS       Receipt and review of discovery responses from opt-in plaintiff Matt
                   Taske
11/10/16 JMS       Correspondence to Emma F. Paxton regarding opt-in consent forms
11/10/16 JMS       Correspondence to Madeline Hickey regarding deposition
11/10/16 JMS       Telephone conference with Sara Elkins-Schumann regarding discovery
                   responses; Correspondence to Sara Elkins-Schumann regarding the same
11/10/16 JMS       Attempt telephone conference with Ckris Matibiri; Correspondence to
                   Ckris Matibiri regarding discovery requests
11/10/16 JMS       Attempt telephone conference with Christian Bradley; Correspondence
                   to Christian Bradley regarding discovery requests
11/10/16 JMS       Telephone conference with opposing counsel
11/10/16 JMS       Telephone conference with Peter A. Saba regarding depositions
11/10/16 JMS       Telephone conference with the client regarding status update
11/10/16 JMS       Revise discovery responses of Christian Bradley
11/10/16 PAS       Conference with Josh M. Smith regarding additional opt ins; Receipt and
                   review of correspondence from opposing counsel x2; Review
                   correspondence from opt in
11/11/16 EFP       Review deadlines for discovery responses
11/11/16 EFP       Review deposition notices
11/11/16 EFP       Emails to Madeline Hickey and Derek Chipman regarding deposition
                   notices
11/11/16 JMS       Receipt and review of correspondence from Christian Bradley
11/11/16 JMS       Correspondence to Sharon J. Sobers regarding deposition scheduling
                   issues



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   Date Int        Professional Services                                                       Hours Amount
11/11/16 JMS       Receipt and review of correspondence from Kelly Rutledge (potential
                   opt-in); Correspondence to Kelly Rutledge regarding the same
11/11/16 PAS       Conference with Jeffrey M. Nye regarding issues with discovery and
                   depositions
11/12/16 JMS       Draft deficiency letter to opposing counsel regarding discovery
                   responses
11/14/16 EFP       Draft and revise notice of filing consents and file notice of filing
11/14/16 JMS       Prepare for and attend status conference with opposing counsel
                   regarding discovery plan
11/14/16 JMS       Correspondence to Emma F. Paxton regarding opt-in consent form
11/14/16 JMS       Correspondence to the client (Joseph Hardesty) regarding deposition
11/14/16 PAS       Conference with Josh M. Smith regarding issues for discovery
                   conference and discovery needed
11/14/16 PAS       Conference call with opposing counsel regarding discovery issues and
                   scheduling
11/14/16 PAS       Receipt and review of correspondence from the Court
11/14/16 PAS       Receipt and review of correspondence from opposing counsel
11/15/16 EFP       Revise and finalize deficiency letter and email to opposing counsel
                   regarding deficiency letter
11/15/16 JMS       Revise deficiency letter; Conference with Peter A. Saba regarding the
                   same
11/15/16 PAS       Review and revise discovery letter to opposing counsel
11/16/16 EFP       Draft and revise notice of filing consents, file notice of filing
11/16/16 JMS       Draft third set of discovery requests to defendant
11/16/16 JMS       Correspondence with Sara Rainey regarding responses to discovery
                   requests
11/16/16 JMS       Telephone conference with the client regarding status update and request
                   for inspection
11/17/16 EFP       Finalize Elkins-Schumann discovery responses and correspondence to
                   opposing counsel regarding discovery responses, email to opposing
                   counsel regarding discovery responses

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   Date Int        Professional Services                                                     Hours Amount
11/17/16 JMS       Telephone conference with Sara Elkins-Schumann
11/17/16 JMS       Revise discovery responses of Sara Elkins-Schumann
11/17/16 JMS       Correspondence with Sharon J. Sobers regarding FLSA and injunction
                   decision on overtime regulations
11/17/16 JMS       Revise motion for 23(b) certification
11/17/16 PAS       Receipt and review of correspondence from the Court
11/18/16 EFP       Review Rondalyn West's draft discovery responses
11/18/16 EFP       Telephone conference with court reporter regarding Victoriano
                   deposition transcript
11/18/16 JMS       Telephone conference with Sharon J. Sobers regarding request for
                   inspection
11/18/16 JMS       Receipt and review of correspondence from opposing counsel regarding
                   discovery deficiencies
11/18/16 PAS       Receipt and review of correspondence from opposing counsel
11/21/16 JMS       Revise discovery responses of Rondalyn West
11/21/16 JMS       Telephone conference with the client regarding status update
11/21/16 JMS       Review photographs taken from Inspection of CoRE Premises;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same; Telephone conference with Peter A. Saba regarding the same
11/22/16 EFP       Review new discovery deadlines
11/22/16 EFP       Draft and revise notice of filing consents. file notice of filing
11/22/16 JMS       Receipt and review of Court Ordered injunction of Department of Labor
                   regulations; Correspondence to Peter A. Saba regarding the same
11/22/16 JMS       Telephone conference with opposing counsel regarding deposition dates;
                   Draft memo to file regarding the same
11/23/16 JMS       Correspondence to Sebastien Hue regarding website
11/23/16 JMS       Draft deposition guideline
11/23/16 JMS       Correspondence to Madeline Hickey regarding deposition
11/23/16 JMS       Legal research in preparation for Madeline Hickey deposition


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   Date Int        Professional Services                                                     Hours   Amount
11/23/16    PAS    Receipt and review of conespondence from the Comi; Receipt and
                   review of conespondence from opposing counsel x2
11/26/16    JMS    Prepare for deposition of Madeline Hickey; Legal research regarding
                   FLSA claims and defenses in preparation for deposition
11/27/16    JMS    Telephone conference with the client regarding status update
11/27/16    JMS    Review file and documents in preparation for Madeline Hickey
                   deposition
11/28/16    EFP    Review issues with documents produced by defendant
11/28/1 6   JMS    Prepare for Madeline Hickey deposition
11/28/16    JMS    Legal research regarding damages estimates and sufficiency of
                   testimony
11/28/16    JMS    Telephone conference with the client and Peter A. Saba regarding
                   deposition
11/28/16    JMS    Conespondence with opposing counsel regarding deposition scheduling
11/28/16    JMS    Correspondence to Dominic Martin regarding follow-up documents and
                   audio recordings of Daniele Williams
11/28/16    JMS    Correspondence to Peter A. Saba regarding website
11/28/16    JMS    Review draft website fonnat- Correspondence to Sebastien Hue
                   regai·ding the sfillle
11/28/16    PAS    Conference with Josh M. Smith regarding issues with depositions
11/28/16    PAS    Receipt and review of scheduling documents from opposing coU11Sel
11/28/16    PAS    Conference call with Madeline Hickey regai·ding deposition preparntion
11/29/16    EFP    Review documents produced by opposing counsel
11/29/16    JMS    Prepare for Madeline Hickey deposition; Conference with client
                   regarding deposition preparation
11/30/16    EFP    Review notice of Joseph Hardesty's deposition, email to the client
                   regai·ding deposition notice
11/30/16    JMS    Attend deposition of Madeline Hickey




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   Date Int        Professional Services                                                       Hours Amount
11/30/16 PAS       Receipt and review of correspondence from opposing counsel regarding
                   depositions; Conference with Josh M. Smith regarding issues with
                   deposition of Madeline Hickey
12/01/16 EFP       Telephone conference with court reporter regarding deposition, review
                   deposition exhibits and conference with Peter A. Saba and Josh M.
                   Smith regarding deposition of Rana Schiff
12/01/16 JMS       Edit and revise 30(b)(6) deposition notice; Correspondence to Peter A.
                   Saba regarding the same
12/01/16 JMS       Correspondence to Emma F. Paxton regarding deposition transcript
12/01/16 PAS       Conference with Josh M. Smith regarding issues with 30(b)(6)
                   deposition; Receipt and review of correspondence from opposing
                   counsel
12/02/16 EFP       Finalize deposition notice and correspondence to opposing counsel
                   regarding deposition notice, email to opposing counsel
12/02/16 JMS       Edit and revise notice of 30(b)(6) deposition
12/02/16 JMS       Telephone conference with Joe Hardesty regarding status update
12/02/16 JMS       Correspondence to the client regarding deposition preparation;
                   Telephone conference with the client x2 regarding the same
12/02/16 PAS       Review and revise 30(b)(6) notice
12/05/16 JMS       Review of Madeline Hickey deposition transcript; Conference with Peter
                   A. Saba regarding the same; Correspondence to Madeline Hickey
                   regarding the same
12/05/16 JMS       Correspondence to Peter A. Saba regarding Rana Schiff deposition
12/05/16 SJS       Review Hickey deposition
12/06/16 JMS       Receipt and review of correspondence from opposing counsel regarding
                   discovery deficiencies
12/06/16 JMS       Preparation for deposition of Rana Schiff
12/07/16 JMS       Review of deficiency letter in preparation for telephone conference with
                   opposing counsel; Draft notes regarding the same; Telephone conference
                   with Peter A. Saba regarding the same
12/07/16 JMS       Receipt and review of documentation from the Court regarding agreed
                   order and filing error


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   Date Int        Professional Services                                                       Hours Amount
12/07/16 JMS       Correspondence with opposing counsel regarding discovery deficiency
                   letter and telephone conference regarding the same
12/07/16 JMS       Correspondence to Peter A. Saba regarding motion to certify and legal
                   research regarding the same
12/07/16 PAS       Receipt and review of correspondence from opposing counsel
12/07/16 PAS       Receipt and review of correspondence from the Court
12/07/16 PAS       Review and revise discovery deficiency letters and issues with discovery
12/08/16 JMS       Prepare for telephone conference with opposing counsel regarding
                   discovery deficiencies; Telephone conference with opposing counsel
                   regarding the same; Draft notes regarding discussion with opposing
                   counsel; Correspondence to Derek Chipman regarding deposition
                   preparation
12/08/16 PAS       Conference call with opposing counsel regarding review of discovery
                   issues
12/09/16 JMS       Telephone conference with the Court regarding corrected agreed order;
                   Correspondence to the Court regarding the same
12/09/16 JMS       Revise notes regarding discovery deficiency conference with opposing
                   counsel
12/09/16 JMS       Prepare for Rana Schiff deposition; Correspondence to Peter A. Saba
                   regarding the same
12/09/16 PAS       Receipt and review of correspondence from the Court x2
12/10/16 JMS       Prepare for Rana Schiff deposition
12/11/16 JMS       Prepare for Derek Chipman deposition
12/12/16 EFP       Telephone conference and emails with court reporter, review emails and
                   documents from Jeremy Hadden, review corrected agreed order
12/12/16 JMS       Correspondence with multiple opt-ins (Alexandra Cooper, Jessica
                   Conroy, Matt Taske, Jeremy Hadden, Dominic Martin; Rondalyn West)
                   regarding discovery responses; Revise discovery responses for multiple
                   opt-ins
12/12/16 JMS       Receipt and review of correspondence from Sebastien Hue regarding
                   website; Correspondence to Peter A. Saba regarding the same
12/12/16 JMS       Prepare for Rana Schiff deposition


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   Date Int        Professional Services                                                       Hours Amount
12/12/16 JMS       Correspondence with Amanda Gayhart regarding status update
12/12/16 JMS       Draft correspondence to opposing counsel regarding confirmation of
                   discovery deficiency telephone conference discussion
12/12/16 JMS       Correspondence to Peter A. Saba and Emma F. Paxton regarding opt-in
                   discovery responses
12/12/16 PAS       Review case law for Rana Schiff deposition
12/13/16 EFP       Draft and revise correspondence to opt-ins regarding discovery requests
12/13/16 EFP       Review deadline for discovery responses
12/13/16 EFP       Email to opposing counsel regarding discovery requests
12/13/16 EFP       Finalize correspondence to opposing counsel regarding discovery
                   deficiencies
12/13/16 EFP       Email to opposing counsel
12/13/16 EFP       Revise and finalize discovery responses for West and Conroy
12/13/16 EFP       Prepare documents for production to opposing counsel
12/13/16 EFP       Receipt and review of word versions of discovery from opposing
                   counsel
12/13/16 EFP       Correspondence to opposing counsel regarding discovery responses
12/13/16 JMS       Correspondence to opposing counsel regarding discovery requests and
                   extension; Telephone conference with opposing counsel regarding the
                   same
12/13/16 JMS       Revise multiple discovery responses of opt-in plaintiffs; Correspondence
                   with Emma F. Paxton regarding the same; Correspondence to Peter A.
                   Saba regarding the same
12/13/16 JMS       Prepare for Rana Schiff deposition
12/13/16 PAS       Conference with Josh M. Smith regarding additional issues for
                   depositions
12/14/16 EFP       Finalize correspondence to third set of opt-ins regarding discovery
                   requests
12/14/16 EFP       Finalize Hadden discovery responses
12/14/16 EFP       Prepare documents for production


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   Date Int        Professional Services                                                       Hours Amount
12/14/16 EFP       Correspondence to opposing counsel regarding discovery responses
12/14/16 EFP       Receipt and review of correspondence from the Court x2
12/14/16 JMS       Prepare for Rana Schiff deposition; Telephone conference with the client
                   regarding the same
12/14/16 JMS       Correspondence to Derek Chipman regarding deposition
12/14/16 JMS       Review discovery responses of Jeremy Hadden
12/14/16 PAS       Receipt and review of correspondence from the Court
12/14/16 SJS       Draft memo to Joshua M. Smith responding to his memo to Peter A.
                   Saba on preparation for Schiff deposition
12/14/16 SJS       Review Hickey deposition transcript
12/15/16 EFP       Emails with court reporter regarding confirmation of deposition
12/15/16 EFP       Review potential deposition exhibits
12/15/16 EFP       Review and log documents produced by opposing counsel
12/15/16 EFP       Prepare exhibits for deposition of Rana Schiff
12/15/16 JMS       Prepare for Rana Schiff deposition
12/16/16 EFP       Prepare exhibits for Rana Schiff deposition
12/16/16 EFP       Revise and finalize Cooper and Martin discovery responses
12/16/16 EFP       Prepare documents for production to opposing counsel
12/16/16 EFP       Correspondence to opposing counsel regarding discovery responses
12/16/16 JMS       Correspondence with opt-ins Alexandra Cooper and Dominic Martin
                   regarding discovery responses; Revise the same
12/16/16 JMS       Correspondence with Sharon J. Sobers regarding Madeline Hickey
                   deposition
12/16/16 JMS       Correspondence with Sharon J. Sobers regarding Rana Schiff deposition
12/17/16 JMS       Prepare for Rana Schiff deposition
12/17/16 PAS       Outline issues for Rana Schiff deposition
12/18/16 JMS       Consultation with Derek Chipman and Joseph Hardesty regarding
                   deposition preparation


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   Date Int        Professional Services                                                       Hours Amount
12/18/16 JMS       Legal research regarding 30(b)(6) depositions and second notice of
                   deposition
12/18/16 JMS       Legal research regarding primary duty with respect to administrative
                   exemption
12/18/16 JMS       Multiple telephone conferences with Peter A. Saba regarding Rana
                   Schiff deposition and relevant documents
12/18/16 PAS       Review all exhibits for deposition; Draft outline of all issues for Rana
                   Schiff deposition
12/19/16 EFP       Prepare exhibits for Rana Schiff deposition
12/19/16 JMS       Prepare for and attend Rana Schiff deposition
12/19/16 JMS       Telephone conference with the client regarding status update
12/19/16 PAS       Prepare for and attend deposition of Rana Schiff
12/20/16 EFP       Review deposition exhibits
12/20/16 JMS       Consultation with Derek Chipman regarding deposition preparation
12/20/16 JMS       Receipt and review of documents from opposing counsel; Telephone
                   conference with Peter A. Saba regarding the same; Telephone
                   conference with Sharon J. Sobers regarding the same
12/20/16 SJS       Telephone conference with Joshua Smith regarding the client calling
                   CoRE line at Kroger and related issues
12/21/16 EFP       Telephone conference with court reporter regarding Rana Schiff's
                   deposition
12/21/16 JMS       Prepare for and attend deposition of Joseph Hardesty (2/2)
12/21/16 JMS       Telephone conference with Derek Chipman regarding deposition
                   preparation
12/21/16 JMS       Receipt and review of correspondence from opposing counsel regarding
                   discovery deficiencies
12/21/16 PAS       Conference with Josh M. Smith regarding issues with Hardesty
                   deposition
12/22/16 JMS       Prepare for and attend deposition of Derek Chipman




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   Date Int        Professional Services                                                     Hours Amount
12/23/16 JMS       Telephone conference with opposing counsel regarding deposition and
                   discovery issues; Correspondence to Sharon J. Sobers and Peter A. Saba
                   regarding the same
12/23/16 JMS       Correspondence to Ckris Matibiri regarding delinquent discovery
                   responses
12/27/16 JMS       Correspondence with Madeline Hickey regarding deposition review
12/27/16 JMS       Revise motion for 23(b) certification
12/28/16 EFP       Review Chipman deposition exhibits
12/28/16 JMS       Receipt and review of discovery responses from Corbin Hom
12/29/16 EFP       Review Hardesty deposition exhibits
12/29/16 JMS       Draft and revise motion for rule 23(b) certification
 1/03/17 EFP       Receipt and review of signed consent form from Marcus LaCour
 1/03/17 EFP       Receipt and review of draft discovery responses and documents from
                   Kelly Rutledge
 1/03/17 EFP       Receipt and review of transcript of Rana Schiff deposition
 1/03/17 EFP       Draft and revise notice of filing consents
 1/03/17 EFP       File notice of filing
 1/03/17 PAS       Receipt and review of correspondence from opposing counsel
 1/04/17 JMS       Draft correspondence to opposing counsel regarding discovery issues;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 1/04/17 JMS       Correspondence to opposing counsel regarding follow-up on deficiency
                   letter and documents to produce
 1/04/17 JMS       Telephone conference with Madeline Hickey regarding deposition
                   transcript
 1/04/17 JMS       Telephone conference with Derek Chipman regarding law school
                   applications
 1/04/17 JMS       Receipt and review of correspondence from Derek Chipman regarding
                   the same




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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours Amount
 1/04/17 JMS       Telephone conference with the client regarding deposition of Daniele
                   Williams
 1/04/17 JMS       Correspondence to Peter A. Saba regarding deposition transcript
 1/04/17 JMS       Correspondence to Emma F. Paxton regarding Ckris Matibiri discovery
                   responses
 1/04/17 JMS       Correspondence to Sebastien Hue regarding website
 1/04/17 PAS       Receipt and review of correspondence from court reporter
 1/05/17 EFP       Emails with court reporter regarding Chipman deposition transcript and
                   review same
 1/05/17 JMS       Receipt and review of Rana Schiff deposition transcript
 1/05/17 JMS       Correspondence with Sebastien Hue regarding website
 1/05/17 JMS       Receipt and review of Derek Chipman deposition transcript
 1/06/17 EFP       Review and redact documents from Derek Chipman
 1/06/17 JMS       Review documents produced by Derek Chipman (law school
                   transcripts); Correspondence with Emma F. Paxton and Peter A. Saba
                   regarding the same
 1/06/17 JMS       Correspondence with opposing counsel regarding discovery issues
 1/07/17 JMS       Receipt and review of news article regarding Kroger and overtime rules
 1/09/17 PAS       Receipt and review of correspondence from opposing counsel regarding
                   discovery requests
 1/10/17 PAS       Conference with Josh M. Smith regarding issues with Buck Moffett
                   deposition
 1/10/17 SJS       Read Rana Schiff deposition
 1/12/17 EFP       Draft and revise notice of deposition of Daniele Williams,
                   correspondence to opposing counsel regarding notice of deposition and
                   email to the client regarding notice of deposition
 1/12/17 JMS       Review notice of deposition for Daniele Williams; Revise the same
 1/12/17 JMS       Telephone conference with opposing counsel
 1/12/17 JMS       Correspondence with Sharon J. Sobers regarding depositions
 1/12/17 JMS       Draft motion for Rule 23(b) certification

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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours Amount
 1/12/17 JMS       Review deposition of Rana Schiff
 1/12/17 SJS       Respond to email from Joshua M. Smith regarding difficulty getting
                   Buck Moffett deposition scheduled; Respond to emails from Joshua M.
                   Smith regarding depositions
 1/13/17 EFP       Emails with court reporter regarding confirmation of deposition and
                   condense deposition transcripts
 1/13/17 JMS       Draft and revise Rule 23(b) motion for certification
 1/13/17 JMS       Receipt and review of Diana Victoriano deposition transcript
 1/13/17 JMS       Review various deposition transcripts in preparation for drafting Rule
                   23(b) motion for certification
 1/13/17 SJS       Telephone conference with Joshua M. Smith regarding Moffett
                   deposition and need to change scheduling order
 1/14/17 SJS       Review Rana Schiff deposition
 1/16/17 EFP       Telephone conference with Ckris Matibiri regarding discovery responses
                   and conference with Josh M. Smith regarding issues with Matibiri
                   discovery responses
 1/16/17 SJS       Review Rana Schiff deposition
 1/17/17 EFP       Conference with Josh M. Smith regarding issues with service of
                   discovery responses on opt-ins
 1/17/17 EFP       Receipt and review of document production from opposing counsel
 1/17/17 JMS       Receipt and review of documents produced by Kroger; Telephone
                   conference with the client regarding the same
 1/17/17 PAS       Conference with Josh M. Smith regarding issues with Moffett deposition
 1/17/17 SJS       Review Rana Schiff deposition; Draft memo regarding deposition for
                   Joshua M. Smith
 1/18/17 JMS       Legal research regarding rule 23(b) certification
 1/19/17 JMS       Revise discovery responses of opt-in plaintiffs
 1/19/17 JMS       Telephone conference with the client
 1/19/17 JMS       Telephone conference with opposing counsel regarding deposition of
                   Buck Moffett and related discovery issues; Conference with Peter A.
                   Saba regarding the same

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Hardesty, Joseph                                                                              May 24, 2022
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   Date Int        Professional Services                                                  Hours Amount
 1/19/17 JMS       Correspondence with Peggy Gruenke and Sebastien Hue regarding
                   website
 1/20/17 JMS       Revise multiple opt-in discovery responses
 1/20/17 JMS       Correspondence with multiple op-ins regarding discovery responses
 1/20/17 JMS       Telephone conference with opposing counsel regarding discovery
                   responses
 1/20/17 JMS       Correspondence to opposing counsel regarding the same
 1/23/17 EFP       Review documents produced by opposing counsel and prepare
                   documents for production
 1/23/17 JMS       Telephone conference with opposing counsel regarding deposition and
                   court deadlines; Receipt and review of correspondence from opposing
                   counsel regarding the same; Conference with Peter A. Saba regarding
                   the same
 1/23/17 JMS       Review documents produced
 1/23/17 JMS       Receipt and review of correspondence from opt-in plaintiff Jalen
                   Johnson; Correspondence with the client regarding the same
 1/23/17 JMS       Review and prepare Chipman documents (law school transcripts) for
                   production
 1/23/17 JMS       Conference with Sebastien Hue and Peggy Gruenke regarding website
 1/23/17 SJS       Conference with Joshua M. Smith x2 regarding wage payment for
                   current opt-in employees for time spent in depositions (whether
                   Defendant can pick opt-ins to depose and then force them to forgo
                   wages, vacation time for time spent in depositions)
 1/24/17 EFP       Review dates for depositions of opt-ins
 1/24/17 EFP       Draft and revise notice of deposition of Buck Moffett
 1/24/17 JMS       Multiple correspondence and communication with opt-in plaintiffs
                   regarding depositions; Telephone conference with opposing counsel
                   regarding the same
 1/24/17 JMS       Prepare for Daniele Williams deposition




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   Date Int        Professional Services                                                      Hours Amount
 1/24/17 JMS       Telephone conference with Sharon J. Sobers regarding opt-in
                   depositions and payment of wages; Telephone conference with Deborah
                   Grayson regarding the same; Correspondence with Sharon J. Sobers
                   regarding the same
 1/24/17 JMS       Legal research regarding opt-in depositions and expenses
 1/24/17 JMS       Correspondence with Sebastien Hue regarding website
 1/25/17 EFP       Correspondence to opposing counsel regarding document production
                   and preparation of the same, conference with Joshua M. Smith regarding
                   issues with production
 1/25/17 EFP       Finalize discovery responses of opt-in plaintiffs and correspondence to
                   opposing counsel regarding discovery responses of opt-in plaintiffs,
                   prepare documents for production to opposing counsel
 1/25/17 JMS       Correspondence with opposing counsel regarding attorney-client
                   privileged documents; Telephone conference with Sharon J. Sobers and
                   Peter A. Saba regarding the same; Legal research regarding the same
 1/25/17 JMS       Correspondence with opt-in plaintiffs regarding discovery responses;
                   Revise the same
 1/25/17 PAS       Conference with Joshua M. Smith regarding issues with document
                   production; Receipt and review of correspondence from opposing
                   counsel regarding issues regarding statements against interest
 1/25/17 SJS       Review email from Joshua M. Smith regarding production of
                   communication arguably covered by attorney-client privilege to opt-in
                   and subsequently to attorney; Email to Joshua M. Smith regarding the
                   same; Telephone conference with Joshua M. Smith regarding the same
 1/26/17 JMS       Receipt and review of correspondence from opposing counsel regarding
                   agreed motion to extend; Revise the same; Correspondence to Peter A.
                   Saba regarding the same
 1/26/17 JMS       Prepare opt-in discovery responses for Corbin Hom
 1/27/17 EFP       Finalize opt-in discovery responses
 1/27/17 EFP       Review deadline for discovery responses; Receipt and review of
                   correspondence from the Court regarding motion to extend Rule 23
                   deadlines
 1/27/17 EFP       Review new Rule 23 deadlines


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   Date Int        Professional Services                                                    Hours Amount
 1/27/17 EFP       Prepare documents for production
 1/27/17 EFP       Correspondence to opposing counsel regarding discovery responses
 1/27/17 JMS       Prepare for deposition of Daniele Williams
 1/27/17 JMS       Correspondence with opposing counsel regarding proposed revisions to
                   agreed motion to extend; Receipt and review of correspondence
                   regarding the same
 1/27/17 JMS       Finalize opt-in plaintiff discovery responses
 1/27/17 JMS       Receipt and review of correspondence from Kelly Rutledge regarding
                   management meeting and exempt status of CoRE Recruiters
 1/27/17 JMS       Receipt and review of Derek Chipman corrections to deposition
                   testimony transcript
 1/28/17 JMS       Prepare for Daniele Williams deposition
 1/30/17 PAS       Receipt and review of correspondence from the Court
 1/31/17 JMS       Attend deposition of Daniele Williams
 2/01/17 EFP       Telephone conference with court reporter regarding transcript of
                   depositions
 2/01/17 JMS       Correspondence with Peter A. Saba and Peggy Gruenke regarding
                   website updates and revisions
 2/01/17 JMS       Telephone conference with Peter A. Saba regarding deposition of
                   Daniele Williams; Correspondence with Sharon J. Sobers regarding the
                   same
 2/01/17 JMS       Telephone conference with the client regarding status update
 2/01/17 JMS       Draft motion for rule 23(b) certification
 2/01/17 PAS       Conference with Joshua M. Smith regarding issues with deposition;
                   Receipt and review of correspondence from Matt Taske
 2/02/17 EFP       Draft and revise Chipman errata sheet and email to Derek Chipman
                   regarding same, review deposition notices and discovery requests from
                   opposing counsel
 2/02/17 JMS       Telephone conference with opposing counsel regarding deposition
                   scheduling; Conference with Peter A. Saba regarding the same



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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours Amount
 2/02/17 JMS       Conference with Peter A. Saba regarding security badge logs and
                   recruiter work schedules
 2/02/17 JMS       Receipt and review of correspondence from Kim Burchett regarding
                   deposition
 2/02/17 JMS       Receipt and review of notices of deposition from opposing counsel
 2/02/17 JMS       Correspondence with Emma F. Paxton regarding corrections to Derek
                   Chipman deposition testimony
 2/02/17 JMS       Correspondence with opposing counsel regarding confirmation of
                   deposition date for Daniele Williams
 2/02/17 JMS       Draft Motion for Rule 23(b) certification
 2/02/17 JMS       Correspondence with opt-in Corbin Hom regarding deposition
 2/02/17 JMS       Correspondence to Kelly Rutledge regarding deposition scheduling
 2/02/17 JMS       Telephone conference with Peggy Gruenke regarding website
 2/02/17 PAS       Receipt and review of correspondence from opposing counsel regarding
                   discovery
 2/02/17 PAS       Conference with Joshua M. Smith regarding punch card information
 2/03/17 JMS       Review phone call logs produced by defendant
 2/03/17 JMS       Correspondence to Emma F. Paxton regarding review of call logs and
                   determination of overtime hours
 2/03/17 JMS       Revise provisions to class action website; Correspondence to Peter A.
                   Saba and Peggy Gruenke regarding the same; Telephone conference
                   with Peggy Gruenke regarding the same
 2/03/17 JMS       Correspondence to Emma F. Paxton regarding opt-in discovery (Ward
                   and Moore)
 2/03/17 JMS       Telephone conference with Jacob Cress regarding discovery responses;
                   Correspondence to Jacob Cress regarding the same
 2/03/17 JMS       Attempt telephone conference x4 with opt-in plaintiffs regarding
                   discovery responses
 2/03/17 JMS       Revise rule 23(b) motion for certification
 2/04/17 JMS       Revise rule 23(b) motion for certification



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 2/07/17 EFP       Conference with Peter A. Saba regarding outstanding discovery issues
                   and preparation for status conference; Attend status conference; Prepare
                   for telephone status conference; Review of draft correspondence to be
                   sent to opposing counsel regarding depositions; Correspondence with
                   Corbin Hom regarding deposition; Attempt telephone conference with
                   Corbin Hom regarding the same
 2/07/17 EFP       Draft and revise correspondence to opt-ins regarding discovery requests
 2/07/17 EFP       Email to opt-ins regarding deposition notices
 2/07/17 EFP       Review minute entry regarding status conference
 2/07/17 EFP       Finalize notice of deposition of Buck Moffett
 2/07/17 EFP       Correspondence to opposing counsel regarding Buck Moffett deposition
                   notice
 2/07/17 EFP       Draft and revise notice of deposition of Daniele Williams
 2/07/17 EFP       Emails with court reporter regarding deposition notices
 2/07/17 JMS       Conference with Peter A. Saba regarding outstanding discovery issues
                   and preparation for status conference; Attend status conference; Prepare
                   for telephone status conference
 2/07/17 JMS       Receipt and review of multiple draft correspondence to opposing
                   counsel regarding depositions
 2/07/17 JMS       Correspondence with Corbin Hom regarding deposition
 2/07/17 JMS       Attempt telephone conference with Corbin Hom regarding the same
 2/07/17 PAS       Conference with Joshua M. Smith regarding issues with case; Attend
                   status conference with the Court
 2/08/17 EFP       Email from opt-in regarding issues with notice
 2/08/17 JMS       Conference with Peter A. Saba regarding website; Correspondence to
                   Peggy Gruenke regarding the same
 2/08/17 JMS       Conference with Sharon J. Sobers regarding litigation strategy
 2/08/17 JMS       Correspondence to opt-in Corbin Hom regarding deposition
 2/08/17 PAS       Review and revise notices in website
 2/09/17 EFP       Draft and revise attorney's fees summaries



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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours Amount
 2/09/17 JMS       Correspondence with Corbin Hom regarding deposition;
                   Correspondence with opposing counsel regarding the same
 2/09/17 JMS       Prepare for deposition of Brianna Whitlow
 2/09/17 JMS       Telephone conference with opposing counsel regarding depositions
 2/09/17 JMS       Telephone conference with opposing counsel regarding opt-in discovery
                   responses and extensions to the same
 2/09/17 JMS       Conference with Peter A. Saba regarding deposition
 2/09/17 JMS       Correspondence to Emma F. Paxton regarding attorney fees
 2/09/17 PAS       Conference with Joshua M. Smith regarding review and preparation for
                   deposition of Briana Whitlow
 2/09/17 PAS       Review and revise attorney fees summaries
 2/10/17 EFP       Review aux data spreadsheets produced by defendants; Draft and revise
                   spreadsheets of hours worked and percent of time recruiting; Finalize
                   Hom discovery responses; Correspondence to opposing counsel
                   regarding Hom discovery responses
 2/10/17 JMS       Prepare for and attend deposition of Brianna Whitlow
 2/11/17 JMS       Review Daniele Williams deposition transcript
 2/11/17 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding notes
                   from Whitlow deposition
 2/13/17 EFP       Email to Corbin Hom regarding notice of deposition
 2/13/17 EFP       Revise spreadsheet of recruiting time by date
 2/13/17 JMS       Correspondence with Amanda Gayhart regarding status update
 2/14/17 EFP       Draft spreadsheet of overtime worked per week
 2/14/17 JMS       Multiple correspondence with opt-in plaintiffs regarding discovery
                   responses; Telephone conference with Marcus LaCour regarding the
                   same
 2/14/17 JMS       Draft discovery responses with respect to multiple opt-in plaintiffs
 2/14/17 JMS       Review Daniele Williams deposition transcript
 2/15/17 JMS       Correspondence to opt-in Matt Taske regarding deposition



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 2/15/17 JMS       Telephone conference with Marcus Lacour regarding discovery
                   responses and litigation status update
 2/15/17 JMS       Review Daniele Williams deposition transcript
 2/16/17 EFP       Revise recruiting time spreadsheet by recruiter name
 2/16/17 JMS       Telephone conference with opposing counsel regarding Chipman law
                   school applications and stipulation to authenticity; Correspondence with
                   opposing counsel regarding the same
 2/16/17 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding
                   correspondence from third party administrators
 2/16/17 JMS       Receipt and review of correspondence from opt-in Matt Taske regarding
                   deposition prep
 2/16/17 JMS       Receipt and review of correspondence from opposing counsel regarding
                   Chris Weiler deposition
 2/16/17 PAS       Receipt and review of correspondence from opposing counsel; Receipt
                   and review of correspondence from TPA
 2/17/17 EFP       Revise recruiting time spreadsheet by recruiter name
 2/17/17 JMS       Prepare for meeting with Kimberly Burchett regarding deposition prep
 2/17/17 JMS       Attend deposition prep with Kimberly Burchett
 2/17/17 JMS       Multiple correspondence with opt-ins regarding discovery responses and
                   deposition preparation
 2/17/17 JMS       Correspondence with Peggy Gruenke regarding class action website
 2/18/17 JMS       Draft and revise motion for rule 23(b) certification
 2/20/17 EFP       Revise and finalize Marcus LaCour discovery responses
 2/20/17 EFP       Revise and finalize Jacob Cress discovery responses
 2/20/17 EFP       Correspondence to opposing counsel regarding discovery responses
 2/20/17 JMS       Correspondence to Emma F. Paxton regarding opt-in discovery
                   responses of Marcus LaCour
 2/20/17 JMS       Correspondence to Jacob Cress regarding opt-in discovery responses
 2/20/17 JMS       Finalize objections to discovery responses of opt-ins



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   Date Int        Professional Services                                                     Hours Amount
 2/20/17 JMS       Correspondence to opposing counsel regarding extension of time for
                   opt-in discovery responses
 2/20/17 JMS       Receipt and review of draft website newsletter from Peggy Gruenke;
                   Correspondence to Peggy Gruenke regarding the same
 2/20/17 PAS       Conference with Joshua M. Smith regarding issues with manager
                   deposition
 2/21/17 EFP       Review class website
 2/21/17 EFP       Emails with court reporter regarding Buck Moffett deposition
 2/21/17 JMS       Conference with Peter A. Saba regarding settlement and mediation;
                   Telephone conference with the client regarding the same
 2/21/17 JMS       Telephone conference with Sharon J. Sobers regarding the same; Legal
                   research regarding settlement of FLSA hybrid class actions
 2/21/17 PAS       Conference with Joshua M. Smith regarding issues with potential
                   mediation of FLSA claims and scheduling for discovery
 2/21/17 SJS       Telephone conference with Joshua M. Smith regarding mediation
 2/22/17 EFP       Telephone conference with court reporter to cancel depositions
 2/22/17 JMS       Telephone conference with opposing counsel regarding upcoming
                   depositions and mediation; Draft correspondence to opposing counsel
                   regarding the same; Conference with Peter A. Saba and Sharon J. Sobers
                   regarding the same
 2/22/17 JMS       Legal research regarding class and collective action settlement;
                   Correspondence to Sharon J. Sobers regarding the same
 2/22/17 JMS       Telephone conference with Peggy Gruenke regarding website and
                   newsletter
 2/22/17 JMS       Correspondence with Debbie Grayson regarding wage and hour
                   mediator suggestions
 2/22/17 JMS       Research mediators specializing in wage and hour claims;
                   Correspondence to Peter A. Saba regarding the same
 2/22/17 JMS       Telephone conference with multiple opt-ins regarding cancellation and
                   postponement of depositions
 2/22/17 PAS       Conference with Joshua M. Smith regarding issues with mediator
                   selection and rescheduling depositions


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   Date Int        Professional Services                                                         Hours Amount
 2/22/17 PAS       Review background and qualifications for various mediators
 2/22/17 PAS       Receipt and review of correspondence from opposing counsel
 2/22/17 SJS       Review information regarding potential mediators, Forward information
                   to Joshua M. Smith
 2/22/17 SJS       Review email from Joshua M. Smith regarding failure of employee to
                   opt-in to FLSA class on failure to opt-out of 23(b) class, Email
                   preliminary response to Joshua M. Smith
 2/23/17 EFP       Revise recruiter overtime spreadsheet
 2/23/17 JMS       Legal research regarding settlement of claims and release of FLSA
                   claims
 2/23/17 JMS       Receipt and review of legal research from Sharon J. Sobers regarding
                   settlement of FLSA claims; Correspondence from Sharon J. Sobers
                   regarding the same
 2/23/17 JMS       Review Briana Whitlow deposition transcript
 2/23/17 JMS       Legal research regarding recruiters and administrative exemption
 2/23/17 JMS       Correspondence with Sharon J. Sobers regarding settlement approval
                   research
 2/23/17 SJS       Email to Joshua M. Smith regarding possibility of using magistrate as
                   mediator
 2/23/17 SJS       Legal research regarding effect of employee failure to opt-in to FLSA
                   class on failure to opt-out of 23(b) class, research and review Kritzer
                   case and procedures for settlement, legal research regarding potential for
                   reopening opportunity for FLSA opt-ins during 23(b) settlement
 2/24/17 EFP       Research regarding previous class action settlement and mediator
 2/24/17 JMS       Telephone conference with Peter A. Saba regarding mediation
 2/24/17 JMS       Conference with Peter A. Saba regarding mediators and settlement
 2/24/17 JMS       Receipt and review of additional production of documents by defendant;
                   Conference with Peter A. Saba regarding the same
 2/24/17 PAS       Receipt and review of correspondence from court reporter
 2/24/17 PAS       Review case law regarding settlement terms and settlement issues
 2/24/17 PAS       Conference with Joshua M. Smith regarding potential mediators

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   Date Int        Professional Services                                                        Hours Amount
 2/24/17 SJS       Email Monihan settlement documents to Joshua M. Smith
 2/24/17 SJS       Legal research regarding implications of potential res judicata effect of
                   failure to opt-out of 23(b) class, memo to Joshua M. Smith regarding
                   potential res judicata effect of failure to opt-out of 23(b) class
 2/26/17 PAS       Conference with Joshua M. Smith regarding additional issues regarding
                   damages and mediators
 2/26/17 PAS       Review case law regarding damage issues
 2/27/17 JMS       Conference with Peter A. Saba regarding mediators and draft settlement
                   and release language; Legal research regarding the same
 2/27/17 JMS       Telephone conference with opposing counsel regarding mediators
 2/27/17 JMS       Draft spreadsheet of overtime hours for Joseph Hardesty and other opt-
                   ins, related to security badge swipes
 2/27/17 PAS       Conference with Joshua M. Smith regarding issues with administrator
                   expense and review of additional mediator qualifications
 2/27/17 PAS       Review potential settlement terms and settlement motions
 2/27/17 PAS       Receipt and review of correspondence from counsel for Briana Whitlow
 2/27/17 SJS       Telephone conference with Joshua M. Smith regarding selection of
                   mediator; Calculation of overtime for individual class members
 2/28/17 EFP       Conference with Joshua M. Smith regarding spreadsheets
 2/28/17 JMS       Draft damages calculation for sample opt-in Plaintiff Marye Ward;
                   Correspondence to Peter A. Saba regarding the same
 2/28/17 PAS       Review Hardesty and additional employee overtime calculations
 2/28/17 PAS       Conference with Joshua M. Smith regarding calculations of overtime
                   worked by each employee
 2/28/17 PAS       Review correspondence from the Court
 3/01/17 JMS       Telephone conference with opposing counsel x2 regarding mediation
                   dates; Correspondence to opposing counsel x3 regarding the same;
                   Telephone conference with x2 Peter A. Saba regarding the same
 3/01/17 JMS       Prepare damages spreadsheet
 3/01/17 PAS       Conference with Joshua M. Smith regarding mediation dates and issues



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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 3/02/17 JMS       Revise damages spreadsheet; Correspondence with Peter A. Saba
                   regarding the same; Conference with Peter A. Saba regarding the same
 3/02/17 JMS       Telephone conference with opposing counsel regarding discovery issues;
                   Correspondence with opposing counsel regarding the same
 3/02/17 JMS       Draft correspondence to opposing counsel regarding discovery
                   deficiencies with respect to recruiter work schedules
 3/02/17 PAS       Conference with Joshua M. Smith regarding damage calculations
 3/02/17 PAS       Detailed review and recalculation of overtime for sample employees
 3/02/17 PAS       Summarize all evidence supporting damage calculations
 3/03/17 JMS       Correspondence with opposing counsel and mediator's office regarding
                   mediation date; Telephone conference with opposing counsel regarding
                   the same; Conference with Peter A. Saba regarding the same;
                   Conference with the client regarding the same
 3/03/17 JMS       Correspondence to opposing counsel regarding discovery deficiencies
                   (team schedules)
 3/03/17 PAS       Receipt and review of correspondence from mediator; Conference with
                   Joshua M. Smith regarding additional mediation dates
 3/06/17 EFP       Review correspondence from mediator regarding issues with mediation
 3/06/17 JMS       Correspondence with opposing counsel regarding joint motions for
                   extension
 3/07/17 JMS       Draft joint motion for extension of calendar order
 3/07/17 PAS       Receipt and review of correspondence from mediator
 3/08/17 EFP       Receipt and review of invoice for deposition transcripts
 3/08/17 EFP       Review attorneys fees summaries
 3/08/17 EFP       Draft and revise correspondence to opposing counsel regarding attorneys
                   fees summaries
 3/08/17 JMS       Draft spreadsheet regarding number of employees in class throughout
                   relevant weekly time periods
 3/08/17 JMS       Revise joint motion to extend calendar order; Correspondence to Peter
                   A. Saba regarding the same
 3/08/17 JMS       Review correspondence to opposing counsel regarding fees expended

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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours Amount
 3/09/17 EFP       Finalize correspondence to opposing counsel regarding attorney's fees
                   summaries; Email to opposing counsel regarding attorney's fees
                   summaries
 3/09/17 EFP       Convert badge swipe reports
 3/09/17 JMS       Draft and revise spreadsheet regarding number of class members with
                   respect to relevant weekly time periods
 3/09/17 JMS       Review badge swipes and time records for Marye Ward
 3/09/17 JMS       Draft and revise spreadsheet regarding time records of Marye Ward;
                   Correspondence to Peter A. Saba x2 regarding the same
 3/09/17 JMS       Telephone conference with opposing counsel regarding change of
                   representation; Conference with the client regarding the same
 3/09/17 JMS       Receipt and review from mediator's office regarding pre-mediation
                   conference; Correspondence to Peter A. Saba and Sharon J. Sobers
                   regarding the same
 3/09/17 PAS       Receipt and review of correspondence from mediator
 3/09/17 PAS       Receipt and review of correspondence from opposing counsel
 3/09/17 PAS       Review damage calculation for recruiter
 3/09/17 PAS       Conference with Joshua M. Smith regarding recruiter damages and
                   scheduling
 3/10/17 EFP       Finalize joint motion to amend calendar; Convert documents produced
                   to searchable text
 3/10/17 EFP       Convert documents produced to searchable text
 3/10/17 JMS       Revise damages spreadsheet for Wahid Lewis and Marye Ward
 3/10/17 JMS       Revise motions to amend calendar order; Correspondence to opposing
                   counsel regarding the same
 3/10/17 PAS       Conference with Joshua M. Smith regarding issues with meeting
                   mediator
 3/10/17 PAS       Review and revise motion for extension of scheduling order
 3/11/17 JMS       Revise damages spreadsheet
 3/11/17 JMS       Review badge swipes and team schedules



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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 3/11/17 JMS       Telephone conference with the client regarding mediation and status
 3/13/17 EFP       Review Peter A. Saba availability for conference call with mediator
 3/13/17 JMS       Receipt and review of correspondence from opposing counsel regarding
                   revisions to joint motion to amend calendar order; Telephone conference
                   with Peter A. Saba regarding the same
 3/13/17 PAS       Receipt and review of correspondence from opposing counsel
 3/13/17 PAS       Conference with Joshua M. Smith regarding additional discovery for
                   mediation
 3/14/17 EFP       Review spreadsheets produced by opposing counsel regarding missing
                   weeks
 3/14/17 JMS       Telephone conference with opposing counsel regarding joint motion
                   revisions; Revise the same; Telephone conference with Peter A. Saba
                   regarding the same; Correspondence to Peter A. Saba regarding the
                   same; Correspondence to opposing counsel regarding revised joint
                   motion
 3/15/17 EFP       Conference with Joshua M. Smith regarding issues with language,
                   finalize joint motion to amend calendar order and file joint motion
 3/15/17 JMS       Receipt and review of correspondence from opposing counsel regarding
                   joint motions to amend calendar order; Correspondence to Emma F.
                   Paxton regarding the same; Telephone conference with Emma F. Paxton
                   regarding the same
 3/15/17 PAS       Receipt and review of correspondence from mediator
 3/15/17 PAS       Receipt and review of correspondence from the Court x2
 3/15/17 PAS       Conference with Joshua M. Smith regarding issues with discovery
                   during mediation preparation
 3/20/17 JMS       Prepare for and attend status conference with the Court
 3/20/17 PAS       Prepare for and attend conference with the Court
 3/20/17 PAS       Receipt and review of correspondence from mediator
 3/20/17 PAS       Correspondence to mediator
 3/21/17 JMS       Conference with the client regarding status update
 3/21/17 PAS       Receipt and review of correspondence from court reporter


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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours Amount
 3/22/17 EFP       Review minute entry regarding calendar order and mediation, review
                   amended calendar order
 3/22/17 JMS       Receipt and review of correspondence from the Court regarding
                   amended calendar order
 3/22/17 PAS       Receipt and review of correspondence from the Court x3
 3/23/17 JMS       Revise damages spreadsheet; Correspondence to Peter A. Saba regarding
                   the same; Conference with Peter A. Saba regarding the same
 3/23/17 PAS       Review damage summary; Conference with Joshua M. Smith regarding
                   revisions to damage information
 3/24/17 EFP       Conference with Joshua M. Smith regarding mediation deadlines
 3/24/17 JMS       Prepare for and attend pre-mediation telephone conference; Telephone
                   conference with the client regarding the same
 3/24/17 PAS       Conference call with mediator regarding issues for mediation
 3/27/17 JMS       Draft website status update; Correspondence to Peggy Gruenke and
                   Peter A. Saba regarding the same; Review website update;
                   Correspondence to Peggy Gruenke regarding the same
 3/27/17 PAS       Review website modification
 3/28/17 EFP       Telephone conference with the client x2 regarding meeting
 3/28/17 JMS       Draft correspondence to opposing counsel regarding discovery
                   deficiencies
 3/31/17 EFP       Finalize correspondence to opposing counsel regarding discovery
                   deficiencies and email to opposing counsel regarding discovery
                   deficiency letter
 3/31/17 PAS       Review and revise deficiency letter to opposing counsel
 4/01/17 JMS       Revise damages estimate
 4/07/17 JMS       Telephone conference with opposing counsel regarding discovery
                   deficiencies; Telephone conference with Peter A. Saba regarding the
                   same
 4/07/17 PAS       Receipt and review of correspondence from opposing counsel
 4/10/17 JMS       Review additional documents produced by defendant; Revise damages
                   spreadsheet


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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours Amount
 4/10/17 PAS       Review correspondence from court reporter
 4/11/17 JMS       Revise damages spreadsheet
 4/13/17 JMS       Revise damages spreadsheet
 4/14/17 JMS       Draft mediation statement
 4/16/17 JMS       Draft mediation statement
 4/17/17 JMS       Draft mediation statement
 4/17/17 PAS       Conference with Joshua M. Smith regarding mediation statement and
                   damages
 4/18/17 JMS       Correspondence to Peter A. Saba regarding damages spreadsheet and
                   mediator engagement letter; Revise damages spreadsheet
 4/18/17 JMS       Draft mediation statement; Telephone conference with Peter A. Saba
                   regarding the same
 4/18/17 PAS       Draft and revise mediation statement
 4/18/17 PAS       Receipt and review of correspondence from mediator
 4/19/17 EFP       Review expenses for mediation and mediation statement, conference
                   with Joshua M. Smith regarding issues with mediation statement
 4/19/17 JMS       Draft and revise mediation statement
 4/19/17 JMS       Revise damages spreadsheet
 4/19/17 JMS       Correspondence to mediator regarding mediation statement
 4/19/17 PAS       Conference with Joshua M. Smith regarding additional changes to
                   mediation statement; Draft and revise mediation statement
 4/20/17 EFP       Finalize mediation statement and email to mediator regarding mediation
                   statement
 4/20/17 JMS       Multiple conferences with Peter A. Saba regarding mediation statement;
                   Revise mediation statement
 4/20/17 PAS       Draft and revise mediation statement and estimate of damages
 4/20/17 SJS       Review Mediation Statement; Email Joshua Smith regarding Mediation
                   Statement
 4/21/17 JMS       Telephone conference with Sharon J. Sobers regarding mediation


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   Date Int        Professional Services                                                      Hours Amount
 4/21/17 SJS       Telephone conference with Joshua Smith regarding Hardesty Mediation
                   while Joshua is driving back from OELA conference
 4/22/17 JMS       Prepare for mediation
 4/23/17 JMS       Prepare for mediation; Correspondence to Peter A. Saba and Emma F.
                   Paxton regarding the same
 4/24/17 EFP       Prepare for mediation
 4/24/17 JMS       Revise damages spreadsheet; Conference with Peter A. Saba regarding
                   the same; Finalize damages spreadsheet
 4/24/17 JMS       Legal research regarding good faith affirmative defense and reliance
                   upon advice of counsel
 4/24/17 PAS       Revise and recalculate financials for mediation
 4/24/17 PAS       Review lack of good faith issue for liquidated damages
 4/24/17 PAS       Telephone conference with the client regarding mediation preparation
 4/24/17 PAS       Review and revise additional damage calculations
 4/24/17 PAS       Conference with Joshua M. Smith regarding changes to damages
                   calculations
 4/24/17 PAS       Review additional terms for mediation
 4/25/17 JMS       Prepare for and attend mediation; Conference with the client regarding
                   the same
 4/25/17 JMS       Draft spreadsheet regarding discrepancies in Kroger damages calculation
 4/25/17 PAS       Attend mediation; Conference with Joshua M. Smith regarding issues
                   with mediation and damage calculations
 4/26/17 JMS       Draft and revise spreadsheet regarding discrepancies in Kroger damages
                   calculation
 4/26/17 JMS       Telephone conference with opposing counsel regarding discovery and
                   scheduling of depositions
 4/26/17 JMS       Correspondence with the court regarding mediation outcome; Draft
                   memo to file regarding the same
 4/26/17 JMS       Correspondence with Opt-In Amanda Gayhart regarding status update
 4/26/17 JMS       Telephone conference with Derek Chipman regarding status update


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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 4/26/17 PAS       Conference with Joshua M. Smith regarding mediation results and
                   additional discovery
 4/27/17 JMS       Correspondence with opt-in Matt Taske regarding status update
 4/27/17 JMS       Draft and revise spreadsheet regarding discrepancies to aux code report
                   utilized by defendant
 4/27/17 SJS       Telephone conference regarding calculation of damages for FLSA
                   action, including putting Emma on the stand, using an expert, getting
                   admissions from Defendant, and phone records vs badge swipes
 4/28/17 JMS       Telephone conference with Marcus LaCour regarding issues related to
                   mediation and settlement
 4/28/17 JMS       Correspondence with Madeline Hickey regarding settlement and
                   mediation
 5/01/17 JMS       Correspondence with opposing counsel regarding settlement discussions
                   and deposition dates
 5/01/17 JMS       Revise spreadsheet regarding discrepancies in aux report
 5/02/17 JMS       Revise spreadsheet regarding discrepancies in aux time report of
                   overtime hours worked
 5/02/17 JMS       Receipt and review of correspondence from opposing counsel regarding
                   settlement discussions and deposition scheduling; Correspondence to
                   opposing counsel regarding the same
 5/03/17 JMS       Review document production in conjunction with settlement discussions
 5/04/17 EFP       Review availability for depositions and conference with Peter A. Saba
                   regarding same
 5/04/17 JMS       Receipt and review of correspondence from opposing counsel regarding
                   depositions and further settlement discussions; Receipt and review of
                   correspondence from opposing counsel
 5/04/17 PAS       Receipt and review of correspondence from opposing counsel
 5/05/17 EFP       Emails with opt-ins regarding deposition availability
 5/05/17 JMS       Correspondence with multiple opt-in plaintiffs regarding deposition
                   scheduling
 5/05/17 JMS       Correspondence with opposing counsel regarding depositions and
                   settlement discussions


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   Date Int        Professional Services                                                      Hours Amount
 5/05/17 JMS       Draft and revise spreadsheet regarding discrepancies in aux report
                   damages provided by defendant
 5/08/17 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding
                   damages spreadsheet regarding aux report discrepencies
 5/10/17 EFP       Draft and revise notice of deposition of Buck Moffett
 5/10/17 JMS       Correspondence with opposing counsel regarding depositions
 5/11/17 EFP       Revise and finalize notice of deposition of Buck Moffett, email to
                   opposing counsel regarding notice of deposition, telephone conference
                   with court reporter regarding deposition and email to court reporter
                   regarding deposition
 5/11/17 JMS       Revise spreadsheet regarding discrepancies in aux reports
 5/11/17 JMS       Draft spreadsheet regarding revised damages based upon Kroger
                   formula; Correspondence to Peter A. Saba and Sharon J. Sobers
                   regarding the same
 5/12/17 EFP       Emails with court reporter regarding confirmation of deposition of Buck
                   Moffett
 5/12/17 JMS       Review and revise damages spreadsheet regarding discrepancies in aux
                   time records
 5/12/17 JMS       Telephone conference with Marye Ward regarding deposition;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 5/12/17 JMS       Telephone conference with the client regarding status update
 5/12/17 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding
                   Daniele Williams employment
 5/12/17 PAS       Conference with Joshua M. Smith regarding issues with Marye Ward
                   deposition
 5/14/17 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding
                   Daniele Williams employment
 5/14/17 JMS       Draft and revise damages spreadsheet regarding aux record
                   discrepancies
 5/15/17 EFP       Conference with Joshua M. Smith regarding deposition of Buck Moffett



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   Date Int        Professional Services                                                    Hours Amount
 5/15/17 JMS       Draft and revise spreadsheet regarding discrepancies and aux records
                   provided by Kroger; Correspondence to Peter A. Saba and Sharon J.
                   Sobers regarding the same
 5/15/17 JMS       Correspondence with Corbin Hom regarding deposition prep
 5/15/17 JMS       Correspondence with Marye Ward x2 regarding deposition scheduling;
                   Correspondence with opposing counsel regarding depositions
 5/15/17 JMS       Prepare exhibit list for Buck Moffett deposition
 5/15/17 JMS       Review Buck Moffett Facebook profile; Correspondence to Emma F.
                   Paxton regarding the same
 5/15/17 JMS       Telephone conference with the client regarding status update
 5/15/17 PAS       Receipt and review of correspondence from opposing counsel
 5/16/17 EFP       Review Buck Moffett's Facebook profile regarding references to Kroger
 5/16/17 JMS       Review documents in preparation for Buck Moffett deposition
 5/16/17 JMS       Draft and revise damages spreadsheet regarding discrepancies in aux
                   reports; Correspondence x2 with Sharon J. Sobers regarding the same
 5/16/17 JMS       Draft rule 23(b) motion for certification
 5/16/17 JMS       Receipt and review of deposition notices from defendant
 5/16/17 SJS       Review FLSA spreadsheet showing discrepancy between time reported
                   on schedules and time reported on phone records; Email responding to
                   email from Joshua M. Smith regarding spreadsheet
 5/17/17 JMS       Correspondence with Corbin Hom regarding deposition
 5/17/17 JMS       Receipt and review of correspondence from opposing counsel regarding
                   depositions
 5/17/17 JMS       Review documents in preparation for deposition of Buck Moffett
 5/17/17 JMS       Draft exhibit list; Correspondence to Emma F. Paxton regarding the
                   same
 5/18/17 EFP       Prepare exhibits to Buck Moffett deposition
 5/18/17 JMS       Correspondence with Kelly Rutledge regarding deposition
 5/18/17 JMS       Conference with Peter A. Saba regarding deposition of Buck Moffett
 5/18/17 JMS       Prepare for conference with Corbin Hom

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   Date Int        Professional Services                                                  Hours Amount
 5/18/17 PAS       Conference with Joshua M. Smith regarding exhibits for Buck Moffett
                   deposition
 5/19/17 JMS       Prepare for conference with Corbin Hom
 5/19/17 JMS       Prepare for conference with Corbin Hom
 5/22/17 JMS       Correspondence with Kelly Rutledge regarding deposition
 5/22/17 JMS       Correspondence with Peter A. Saba and Sharon J. Sobers regarding
                   Corbin Hom and issues related to phone screening
 5/22/17 JMS       Correspondence with multiple opt-ins regarding depositions
 5/22/17 JMS       Multiple correspondence with opposing counsel regarding depositions
 5/22/17 JMS       Conference with Peter A. Saba regarding deposition of Buck Moffett;
                   Correspondence to Peter A. Saba regarding the same
 5/22/17 PAS       Review documents; Prepare for deposition of Buck Moffett
 5/23/17 JMS       Prepare for and attend deposition of Buck Moffett
 5/23/17 JMS       Draft and revise motion to certify under rule 23(b)
 5/23/17 JMS       Correspondence with Sharon J. Sobers regarding Buck Moffett
                   deposition
 5/23/17 PAS       Prepare for and take deposition of Buck Moffett
 5/23/17 SJS       Telephone conference with Joshua M. Smith regarding Buck Moffett's
                   deposition
 5/24/17 JMS       Prepare for and attend deposition preparation session with Kelly
                   Rutledge
 5/24/17 JMS       Receipt and review of notices of deposition for Marye Ward and Matt
                   Taske
 5/24/17 JMS       Follow-up correspondence with Kelly Rutledge regarding deposition
 5/24/17 JMS       Correspondence to Corbin Hom regarding deposition
 5/25/17 JMS       Correspondence with Kim Burchett regarding deposition; Multiple
                   telephone conferences with Kim Burchett regarding the same
 5/25/17 JMS       Telephone conference with opposing counsel regarding rescheduling
                   deposition; Correspondence with Kim Burchett regarding the same



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   Date Int        Professional Services                                                     Hours Amount
 5/25/17 JMS       Receipt and review of correspondence from opposing counsel regarding
                   additional document production
 5/25/17 JMS       Review of documents produced by defendant
 5/25/17 JMS       Correspondence with Marye Ward regarding deposition
 5/25/17 JMS       Prepare for, travel to and attend deposition of Kelly Rutledge
 5/25/17 JMS       Draft and revise motion to certify
 5/25/17 PAS       Receipt and review of correspondence from opposing counsel x2
 5/25/17 PAS       Conference with Joshua M. Smith regarding issues with AUX emails
                   and additional discovery needed
 5/26/17 JMN       Conference with Joshua M. Smith regarding deposition
 5/26/17 JMS       Prepare for, travel to and attend deposition of Corbin Hom
 5/26/17 JMS       Draft and revise motion for certification under Rule 23(b)(3)
 5/26/17 JMS       Correspondence with Jeffrey M. Nye regarding employee job
                   description and exempt status of employees
 5/27/17 JMS       Draft and revise motion to certify under Rule 23(b)(3); Correspondence
                   to Peter A. Saba regarding the same
 5/30/17 JMS       Correspondence with Kim Burchett regarding deposition;
                   Correspondence to opposing counsel regarding the same; Attempt
                   telephone conference with opposing counsel regarding the same; Travel
                   to opposing counsel office for potential scheduled deposition;
                   Correspondence with opposing counsel regarding rescheduling of
                   depositions
 5/30/17 PAS       Receipt and review of Marye Ward schedule and overtime worked
 5/31/17 EFP       Telephone conference with court reporter x2 regarding Buck Moffett
                   deposition and receipt and review of transcript of Buck Moffett
                   deposition x2
 5/31/17 JMS       Prepare for deposition of Marye Ward
 5/31/17 JMS       Receipt and review of correspondence from Sharon J. Sobers regarding
                   motion to certify
 5/31/17 JMS       Revise Rule 23(b) motion for certification
 5/31/17 JMS       Draft affidavit of counsel in support of the same

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   Date Int        Professional Services                                                      Hours Amount
 5/31/17 JMS       Correspondence with opposing counsel regarding deposition of Kim
                   Burchett; Correspondence with Kim Burchett regarding the same
 5/31/17 JMS       Correspondence with Marye Ward regarding deposition
 5/31/17 SJS       Review draft of motion for class certification
 6/01/17 EFP       Receipt and review of correspondence from court reporter regarding
                   Moffett errata sheet
 6/01/17 JMS       Attend deposition preparation with the client
 6/01/17 JMS       Travel to and attend deposition of the client
 6/01/17 JMS       Correspondence with opposing counsel regarding deposition transcripts
                   and filing with briefings
 6/01/17 JMS       Telephone conference with Rhonda Furr regarding suspension without
                   pay
 6/01/17 JMS       Draft and revise Motion to Certify under Rule 23(b)
 6/01/17 PAS       Receipt and review of correspondence from opposing counsel
 6/02/17 JMS       Revise motion to certify and affidavits to the same; Correspondence
                   with Sharon J. Sobers regarding the same
 6/02/17 JMS       Deposition preparation with Kim Burchett
 6/02/17 JMS       Travel to and attend deposition of Kim Burchett
 6/02/17 SJS       Finish review of Rona Schiff deposition; Telephone conference with
                   Joshua M. Smith regarding Strosnider Deposition, sealing documents for
                   filing with Court, affidavit identifying documents
 6/02/17 SJS       Email CBA Journal "Shane Group" article regarding sealing documents
                   to Joshua M. Smith; Email sample Affidavit identifying documents to
                   Joshua M. Smith
 6/02/17 SJS       Review fact section of Motion to Certify 23(b) Class
 6/03/17 PAS       Review and revise rule 23 motion for certification
 6/03/17 PAS       Review testimony from Buck Moffett deposition
 6/03/17 SJS       Review Motion to Certify 23(b) class and redline proposed changes
 6/03/17 SJS       Enter additional changes into redline for Motion to Certify 23(b) Class



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 6/03/17 SJS       Email redline of Motion to Certify 23(b) Class to Joshua M. Smith with
                   comments
 6/05/17 JMS       Draft correspondence to opposing counsel regarding outstanding
                   discovery; Correspondence to Peter A. Saba and Sharon J. Sobers
                   regarding the same
 6/05/17 JMS       Correspondence to opposing counsel
 6/05/17 JMS       Correspondence with Matt Taske regarding deposition
 6/05/17 JMS       Telephone conference with Matt Taske regarding deposition preparation
 6/05/17 JMS       Conference with Peter A. Saba regarding motion to certify
 6/05/17 JMS       Receipt and review of redline to motion to certify from Peter A. Saba
 6/06/17 EFP       Make changes to agreed motion to file under seal and finalize affidavit
                   of Peter A. Saba
 6/06/17 JMS       Prepare for, travel to and attend deposition of Matt Taske
 6/06/17 JMS       Receipt and review of motion to file under seal
 6/06/17 JMS       Correspondence to Emma F. Paxton regarding the same
 6/06/17 JMS       Correspondence to opposing counsel regarding the same
 6/06/17 PAS       Review and revise affidavit of counsel
 6/07/17 EFP       Receipt and review of Buck Moffett deposition transcripts
 6/07/17 EFP       Finalize joint motion to file under seal and entry granting motion; File
                   joint motion and entry; Email from the Court regarding joint motion;
                   Email to the Judge regarding joint motion and entry
 6/07/17 EFP       Review deposition notes and exhibits to Buck Moffett deposition
 6/07/17 JMS       Revise motion to certify
 6/07/17 JMS       Correspondence with opposing counsel regarding motion for leave to
                   file under seal; Receipt and review of revisions to the same;
                   Correspondence with opposing counsel regarding the same
 6/08/17 EFP       Telephone conference with court reporter x2 regarding ordering
                   deposition transcripts
 6/08/17 EFP       Receipt and review of correspondence from the Court regarding order
                   granting motion to file under seal


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   Date Int        Professional Services                                                          Hours Amount
 6/08/17 EFP       Conference with Joshua M. Smith regarding issues with sealed filings
 6/08/17 EFP       Research regarding filing sealed documents
 6/08/17 EFP       Receipt and review of depositions from court reporter
 6/08/17 JMS       Draft and revise motion for certification; Draft exhibits and documents
                   related to the same; Review exhibits; Draft citations to the same
 6/08/17 PAS       Conference with Joshua M. Smith regarding issues with changes to
                   motion for certification; Review testimony of Marye Ward; Receipt and
                   review of correspondence from the Court; Receipt and review of
                   correspondence from opposing counsel x2
 6/08/17 SJS       Legal research regarding additional citation in support of quote from
                   Swigart in 23(b) motion for class certification
 6/08/17 SJS       Review counsel affidavit
 6/09/17 EFP       Finalize affidavit of Joshua M. Smith
 6/09/17 EFP       Revise and finalize class action notice
 6/09/17 EFP       Revise and finalize exclusion request form
 6/09/17 EFP       Receipt and review of Kelly Rutledge deposition transcript
 6/09/17 EFP       Draft and revise notice of filing Joshua M. Smith affidavit under seal
 6/09/17 EFP       Draft and revise notice of filing deposition exhibits under seal
 6/09/17 EFP       Revise and finalize affidavit of Sharon J. Sobers
 6/09/17 EFP       Draft and revise notice of filing deposition transcripts
 6/09/17 EFP       Prepare transcripts for filing
 6/09/17 EFP       File notice of filing deposition transcripts and transcripts of depositions
 6/09/17 EFP       Prepare exhibits to transcripts for filing
 6/09/17 EFP       File exhibits to transcripts
 6/09/17 EFP       Revise and finalize exhibits to motion
 6/09/17 EFP       Revise and finalize motion to certify class
 6/09/17 EFP       File motion to certify class
 6/09/17 EFP       File sealed exhibits


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   Date Int        Professional Services                                                        Hours Amount
 6/09/17 EFP       Emails to the Court and opposing counsel regarding filings
 6/09/17 EFP       Set up Dropbox for filings
 6/09/17 EFP       Email to opposing counsel regarding Dropbox
 6/09/17 JMS       Revise motion for certification
 6/09/17 JMS       Review and revise affidavits and related documentation for motion for
                   certification
 6/09/17 JMS       Conference with Sharon J. Sobers regarding letter to potential class
                   members regarding certification of Ohio action
 6/09/17 JMS       Conference with Emma F. Paxton regarding filing exhibits and
                   deposition transcripts
 6/09/17 JMS       Receipt and review of motion to decertify
 6/09/17 PAS       Receipt and review of correspondence from the Court x8
 6/09/17 SJS       Review and sign counsel affidavit
 6/09/17 SJS       Review and revise letter to potential 23(b) class members regarding
                   receipt of exclusion form
 6/09/17 SJS       Review fact section of motion to decertify class
 6/12/17 JMS       Receipt and review of invoice from opposing counsel regarding Kim
                   Burchett deposition cancellation; Correspondence to Emma F. Paxton
                   regarding the same
 6/12/17 PAS       Conference with Joshua M. Smith regarding issues with motion to
                   decertify
 6/14/17 JMS       Review of deposition of Corbin Hom
 6/15/17 EFP       Review Hom deposition transcript, exhibits, and invoice; Email to
                   Corbin Hom regarding transcript and errata sheet
 6/15/17 EFP       Review deadlines for memorandum in opposition to and reply in support
                   of rule 23 motions
 6/15/17 JMS       Legal research regarding cases cited by defendant in motion to decertify;
                   Draft memo regarding the same; Correspondence to Peter A. Saba and
                   Sharon J. Sobers regarding the same
 6/15/17 PAS       Conference with Joshua M. Smith regarding issues with additional
                   discovery from defendant

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   Date Int        Professional Services                                                       Hours Amount
 6/16/17 JMS       Legal research regarding motion to decertify and standards with respect
                   to similarly situated employees; Draft memo to file regarding the same
 6/16/17 JMS       Draft update to website regarding motion for class certification and
                   motion to decertify
 6/19/17 JMS       Legal research regarding issues related to "similarly situated"
                   determinations and non-critical dissimilarities in class members
 6/19/17 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding filing
                   deadlines
 6/19/17 JMS       Correspondence with Peggy Gruenke regarding website update
 6/20/17 JMS       Draft and revise memorandum in opposition to motion for
                   decertification
 6/20/17 JMS       Correspondence with Marye Ward regarding Kroger updates
 6/21/17 JMS       Draft and revise memorandum in opposition to motion for
                   decertification
 6/22/17 JMS       Draft memorandum in opposition to motion for decertification
 6/22/17 JMS       Receipt and review of correspondence from Jeffrey M. Nye regarding
                   recent decision from Sixth Circuit regarding FLSA and decertification
 6/23/17 JMS       Draft and revise memorandum in opposition to motion to decertify
 6/24/17 SJS       Review defendant's motion to decertify collective action, review Tomich
                   memo regarding administrative exemption from other collective action
                   litigation, review CFR regulation on use of manuals as that task relates
                   to the administrative exemption, review part of new 6th Circuit Monroe
                   decision
 6/24/17 SJS       Review Hom deposition
 6/26/17 JMS       Draft and revise memorandum in opposition to motion to decertify
 6/27/17 JMS       Draft and revise memorandum in opposition to motion to decertify
 6/29/17 JMS       Revise memorandum in opposition to motion to decertify
 6/30/17 JMS       Draft and revise memorandum in opposition to motion to decertify
 7/05/17 JMS       Revise memorandum in opposition to motion to decertify; Telephone
                   conference with Sharon J. Sobers regarding the same; Conference with
                   Peter A. Saba regarding memorandum in opposition to motion to
                   decertify

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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 7/06/17 JMS       Revise memorandum in opposition to motion to decertify;
                   Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   same
 7/10/17 SJS       Review draft of memorandum in opposition to defendant's motion to
                   decertify FLSA class
 7/12/17 SJS       Draft memo regarding tasks performed by all recruiters as identified in
                   Schiff deposition
 7/13/17 SJS       Review draft of memorandum in opposition to defendant's motion for
                   decertification of FLSA class
 7/15/17 SJS       Draft redline of memorandum in opposition to defendant's motion to
                   decertify FLSA class
 7/18/17 JMS       Correspondence to Marye Ward regarding issues with retaliation
 7/18/17 JMS       Revise memorandum in opposition to motion for decertification
 7/18/17 JMS       Receipt and review of correspondence from Sharon J. Sobers regarding
                   draft memorandum in opposition to motion for decertification
 7/18/17 SJS       Legal research regarding binding nature of 30(b)(6) deposition
 7/18/17 SJS       Draft proposed language regarding legal research for memorandum in
                   opposition decertification
 7/19/17 JMS       Revise memorandum in opposition to motion for decertification
 7/20/17 EFP       Review and revise memorandum in opposition to motion to decertify
 7/20/17 JMS       Telephone conference with Sharon J. Sobers regarding memorandum in
                   opposition to motion for decertification; Edit and revise memorandum in
                   opposition to motion for decertification; Correspondence to Emma F.
                   Paxton regarding the same
 7/20/17 SJS       Telephone conference with Joshua M. Smith regarding draft of
                   memorandum in opposition decertification of FLSA class; Revise
                   memo regarding list of tasks performed by all recruiters identified in
                   Schiff deposition; Prepare redline of memo
 7/21/17 EFP       Receipt and review of Matt Taske deposition transcript
 7/21/17 EFP       Enter changes to memorandum in opposition to motion to decertify;
                   Review documents produced by Kroger; Revise recruiter spreadsheet
                   regarding additional opt-in plaintiffs


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   Date Int        Professional Services                                                       Hours Amount
 7/21/17 EFP       Review documents produced by Kroger
 7/21/17 EFP       Revise recruiter spreadsheet regarding additional opt-in plaintiffs
 7/21/17 JMS       Revise memorandum in opposition to motion for decertification;
                   Correspondence to Peter A. Saba regarding the same
 7/21/17 PAS       Receipt and review of correspondence from the Court
 7/21/17 SJS       Review Defendant's Motion for Decertification; Review Draft of Memo
                   in Opposition to Defendant's Motion for Decertification
 7/22/17 SJS       Legal research regarding Motions to Decertify in misclassification cases
                   in the Sixth Circuit; Legal Research: Review Benson v. Asurian decision
                   and related cases.
 7/23/17 PAS       Review and outline issues with defendants' motion to decertify; Review
                   and revise memorandum in opposition to motion to decertify
 7/24/17 EFP       Enter changes to Affidavit
 7/24/17 JMS       Revise memorandum in opposing motion for decertification; Telephone
                   conference with Peter Saba regarding memorandum
 7/24/17 PAS       Conference with Joshua M. Smith x2 regarding issues with
                   memorandum in opposition to motion to decertify
 7/24/17 PAS       Review and revise notes to changes to memorandum
 7/24/17 PAS       Receipt and review of correspondence from the Court x4
 7/24/17 SJS       Legal research regarding Decertification standards in the Sixth Circuit,
                   including meaning of "individualized analysis" of plaintiffs' claims and
                   "individualized defenses"
 7/25/17 JMS       Revise memorandum opposing motion to decertify; Telephone
                   conference with Pete Saba regarding memorandum; Telephone
                   conference with Sharon Sobers regarding legal research related to
                   decertification and administrative exemption
 7/25/17 JMS       Telephone conference with Sharon Sobers regarding legal research
                   related to decertification and administrative exemption
 7/25/17 PAS       Review and revise memorandum in opposition to motion to decertify;
                   Conference with Joshua M. Smith regarding revisions to memorandum
                   in opposition



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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 7/25/17 SJS       Email Joshua Smith regarding decertification/misclassification cases in
                   the Sixth Circuit
 7/25/17 SJS       Telephone conference with Joshua Smith regarding Peter Saba
                   comments on draft of Memorandum in Opposition to Motion for
                   Certification
 7/26/17 JMS       Revise memorandum opposing motion to decertify; Two telephone
                   conferences with Sharon J. Sobers regarding the motion to decertify;
                   Draft affidavit in support of memorandum
 7/26/17 JMS       Two telephone conferences with Sharon J. Sobers regarding the motion
                   to decertify
 7/26/17 JMS       Draft affidavit in support of memorandum
 7/26/17 PAS       Review and revise memorandum in opposition to motion to decertify;
                   Conference with Joshua M. Smith regarding issues with memorandum in
                   opposition
 7/26/17 SJS       Review Revision of Memorandum in Opposition, telephone conference
                   with Joshua Smith regarding Kroger interpretation of whether
                   individualized analysis was mandated for administrative exemption,
                   email Joshua Smith regarding case law defining first prong of
                   decertification analysis, language from O'Brien decision, interpretation
                   of "individualized theories" and suggested revisions for revised version
                   of Memorandum in Opposition
 7/26/17 SJS       Telephone conference with Joshua M. Smith regarding Peter A. Saba's
                   comments on Memorandum in Opposition to Motion for Decertification
                   with respect to individualized theories and the administrative exemption,
                   review Legal Analysis section of Memorandum in Opposition and email
                   additional corrections to Joshua Smith
 7/27/17 PAS       Conference with Joshua M. Smith regarding finalization of
                   memorandum in opposition; Conference with Joshua M. Smith
                   regarding filing extensions
 7/27/17 SJS       Telephone conference with Joshua Smith regarding final edit of
                   Memorandum in Opposition to Motion for Decertification; Revise
                   Introduction, Table of Contents, and Fact sections of Memorandum in
                   Opposition to Defendant's Motion for Decertification; Revise legal
                   analysis section of Memorandum in Opposition to Defendant's Motion
                   for Decertification



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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 7/28/17 JMS       Revise memorandum in opposing motion to certify; Conference with
                   Sharon Sobers regarding motion to certify
 7/28/17 JMS       Receipt and review of correspondence regarding request for extension of
                   filing memoranda in opposition
 7/28/17 JMS       Receipt and review of draft joint motion to extend filing deadline
 7/28/17 JMS       Revise memorandum in opposing motion for decertification
 7/28/17 JMS       Conference with Jourdan Custard regarding opposing motion
 7/28/17 JMS       Telephone conference with Peter Saba regarding opposing motion
 7/28/17 PAS       Conference with Joshua M. Smith regarding timing of filings and reply
                   briefs; Receipt and review of correspondence from the Court; Receipt
                   and review of correspondence from opposing counsel
 7/28/17 SJS       Email Joshua Smith twice regarding whether Kroger believes the
                   administrative exemption applies to all recruiters; Review responding
                   email from Joshua Smith; Telephone conference with Joshua Smith
                   regarding status of Memorandum in Opposition to Motion for
                   Decertification, Defendant's request for extension.
 7/31/17 JMS       Final review of memorandum in opposing motion for decertification
 7/31/17 JMS       Telephone conference with Peter Saba regarding opposing motion
 7/31/17 JMS       Conference with Jourdan Custard regarding filing and revisions to the
                   opposing motion
 7/31/17 JMS       Correspondence to Sharon Sobers and Peter Saba regarding litigation
                   strategy and upcoming deadlines
 8/01/17 PAS       Receipt and review of correspondence from the Court
 8/01/17 SJS       Respond to email from Joshua Smith regarding update on FLSA case
                   and next steps
 8/01/17 SJS       Review NELA website for FLSA information, legal research regarding
                   damage calculation in misclassification cases
 8/01/17 SJS       Telephone conference with Joshua M. Smith regarding filing documents
                   under seal with respect to Judge Black's Order on the Parties Joint
                   Motion to file under Seal




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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 8/01/17 SJS       Telephone conference with Joshua Smith regarding FLSA litigation after
                   filing Memorandum in Opposition Defendant's Motion for
                   Decertification
 8/02/17 JMS       Receipt and review of defendant's memorandum in opposition to
                   plaintiff's motion for rule 23(b) certification
 8/02/17 JMS       Telephone conference with Sharon Sobers regarding the memorandum
 8/02/17 PAS       Receipt and review of correspondence from the Court x2
 8/02/17 SJS       Telephone conference with Joshua M. Smith regarding meeting with
                   Peter regarding next steps in FLSA litigation, declarations filed with
                   Defendant's Memorandum in Opposition to Motion for 23(b)(3)
                   certification
 8/03/17 EFP       Review filed memorandum in opposition to motion to decertify and
                   depositions
 8/03/17 JMS       Telephone conference with Sharon J. Sobers regarding upcoming
                   discovery issues and litigation strategy
 8/03/17 JMS       Draft memo to file regarding the upcoming discovery issues and
                   litigation strategy
 8/03/17 PAS       Conference with Joshua M. Smith regarding issues with additional
                   discovery
 8/03/17 SJS       Review Kaiser decision regarding use of interrogatories in calculation of
                   damages, forward decision to Joshua M. Smith for meeting with Peter A.
                   Saba
 8/03/17 SJS       Review Defendant's Memorandum in Opposition to Plaintiffs' Motion to
                   Certify 23(b)(3) class
 8/03/17 SJS       Telephone planning session with Joshua M. Smith regarding what is
                   needed regarding merits discovery for FLSA, possibly moving trial date,
                   calculation of damages
 8/04/17 EFP       Receipt and review of deposition exhibits for Chris Weiler and Rana
                   Schiff
 8/04/17 SJS       Legal research on administrative exemption regarding
                   production/administrative distinction, matters of significance
 8/05/17 SJS       Legal research regarding damage calculation
 8/07/17 SJS       Review portions of Novartis settlement regarding damage calculations

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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 8/09/17 SJS       Legal research regarding update 6th Circuit decisions regarding the
                   FLSA Administrative exemption, Review Burton.Appriss.6th Cir 2017,
                   legal research regarding review of 6th Circuit decisions regarding
                   administrative exemption
 8/10/17 SJS       Legal Research regarding 6th Circuit decisions on administrative
                   exemption, Quicken Loan, Little Belle, Foster vs Nationwide
 8/11/17 SJS       Continued legal research regarding administrative exemption, 6th
                   Circuit
 8/16/17 JMS       Review of defendant's memorandum in opposition to motion for class
                   certification
 8/16/17 SJS       Legal Research regarding Stultz decision and other caselaw in the Sixth
                   Circuit on FLSA administrative exemption
 8/17/17 JMS       Review of defendant's memorandum in opposing motion to certify
 8/17/17 JMS       Correspondence with Sharon J. Sobers regarding opposing motion
 8/17/17 JMS       Legal research regarding certification
 8/17/17 JMS       Prepare reply in support of motion for certification
 8/17/17 SJS       Email legal research on the administrative exemption to Joshua M.
                   Smith
 8/17/17 SJS       Draft Outline of Reply Brief and Note on the Production/Administrative
                   dichotomy in the Sixth Circuit, forward Outline to Joshua M. Smith
 8/18/17 EFP       Summarize recruiter aux data
 8/18/17 JMS       Draft and revise reply in support of motion for certification
 8/18/17 JMS       Correspondence to Kelly Rutledge regarding deposition and motion for
                   class certification
 8/18/17 SJS       Review Ogden Decision, email Joshua M. Smith regarding interaction of
                   29 CFR 541.201(b) and 541.203(e), legal research regarding 6th Circuit
                   overtime class actions under Dukes; Review Hendricks decision, legal
                   research, f FInish review of Wade Trucking decision; Add comments to
                   notes on research of administrative exemption in the SIxth Circuit.
 8/21/17 JMS       Draft reply in support of motion for 23(b) certification
 8/21/17 SJS       Legal research: review DOL Field Operations handbook for rules
                   regarding administrative exemption


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Hardesty, Joseph                                                                                      May 24, 2022
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   Date Int        Professional Services                                                          Hours Amount
 8/22/17 EFP       Telephone conference with the Court regarding status conference
 8/22/17 JMS       Draft and revise reply in support of motion for 23(b) certification
 8/22/17 JMS       Attend telephone status conference with the court
 8/22/17 JMS       Conference with Peter A. Saba regarding motion for 23(b)
 8/22/17 JMS       Receipt and review of legal research memo from Sharon J. Sobers
                   regarding reply in support of motion for rule 23(b) certification
 8/22/17 PAS       Conference with Joshua M. Smith regarding issues with scheduling and
                   additional discovery; Receipt and review of correspondence from the
                   Court x2
 8/22/17 SJS       Legal Research regarding cases addressing 29 CFR 541.203(e),
                   administrative exemption does not apply to clerical HR employees
 8/24/17 JMS       Draft and revise reply in support of motion for rule 23(b) certification
 8/24/17 SJS       Review Reply in Support of Motion for 23(b)(3) certification, telephone
                   conference with Joshua M. Smith, Esq. regarding Reply in Support of
                   Motion, prepare redline for first half of Reply in Support of Rule
                   23(b)(3) certification
 8/25/17 JMS       Conference with Sharon J. Sobers regarding revisions to reply in support
                   of rule 23(b) certification
 8/25/17 SJS       Prepare redline for second half of Reply in Support of 23(b)(3)
                   certification
 8/27/17 PAS       Review defendant's memorandum in opposition to motion to certify;
                   Review and revise reply in support to motions to certify
 8/28/17 EFP       Review filed depositions; Review employment status of opt-ins at time
                   of opting in; Finalize reply in support of motion to certify; File reply in
                   support; File deposition of Courtney Strosnider; Draft and revise notice
                   of filing exhibits under seal; File notice; File exhibits to the deposition
                   of Courtney Strosnider
 8/28/17 EFP       Review employment status of opt-ins at time of opting in
 8/28/17 EFP       Revise and finalize reply in support of motion to certify
 8/28/17 EFP       File reply in support
 8/28/17 EFP       File deposition of Courtney Strosnider
 8/28/17 EFP       Draft and revise notice of filing exhibits under seal

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   Date Int        Professional Services                                                    Hours Amount
 8/28/17 EFP       File notice
 8/28/17 EFP       File exhibits to the deposition of Courtney Strosnider
 8/28/17 JMS       Revise reply in support of motion for rule 23(b) certification;
                   Conference with Peter A. Saba twice regarding the motion
 8/28/17 PAS       Conference with Joshua M. Smith regarding changes to reply in support
                   of motion to certify; Review and revise reply in support of motion to
                   certify
 8/31/17 JMS       Conference with Peter A. Saba regarding upcoming discovery
 9/06/17 JMS       Telephone conference with Sharon J. Sobers regarding upcoming
                   discovery and damages issues
 9/06/17 JMS       Legal research regarding damages issues
 9/07/17 JMS       Draft website update; Correspondence to Peggy Gruenke regarding
                   website updates
 9/08/17 JMS       Telephone conference regarding status update
 9/08/17 JMS       Legal research regarding damages and FLSA claims
 9/08/17 JMS       Draft legal research memo regarding damages and FLSA claims
 9/08/17 JMS       Conference with Peter A. Saba regarding damages and FLSA claims
 9/08/17 PAS       Conference with Joshua M. Smith regarding scheduling issues and trial
                   plan
 9/08/17 SJS       Review Plaintiffs' Reply in Support of 23(b)(3) certification, review
                   Defendant's Reply in Support of Decertification of FLSA class
 9/08/17 SJS       Review documents, spreadsheets regarding FLSA damage calculation
 9/11/17 SJS       Telephone conference with Joshua Smith regarding damage calculation
 9/12/17 JMS       Conference with Peter A. Saba regarding discovery schedule
 9/12/17 SJS       Review Burchett Deposition, Interrogatories regarding calculation of
                   damages
 9/13/17 JMS       Legal research regarding damages and trial management
 9/13/17 JMS       Draft legal research memo regarding damages and trial management
 9/13/17 JMS       Correspondence to Peter A. Saba regarding damages and trial
                   management

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   Date Int        Professional Services                                                     Hours Amount
 9/13/17 SJS       Review Hom Deposition, Interrogatories regarding calculations of
                   damages
 9/14/17 JMS       Legal research regarding damages issues in preparation for conference
                   with Sharon J. Sobers
 9/14/17 JMS       Conference with Peter A. Saba regarding upcoming deadlines and
                   discovery issues
 9/14/17 PAS       Conference with Joshua M. Smith regarding scheduling and additional
                   depositions
 9/14/17 SJS       Legal Research regarding calculation of damages
 9/15/17 EFP       Draft and revise attorney's fees summary; Draft and revise
                   correspondence to opposing counsel regarding attorney's fees summary;
                   Email to opposing counsel
 9/15/17 JMN       Conference with Joshua M. Smith and Sharon J. Sobers regarding
                   extraction of data from PDF report produced by defendant
 9/15/17 JMS       Review of correspondence to opposing counsel regarding attorney's fees
                   to date
 9/15/17 JMS       Conference with Sharon J. Sobers regarding trial strategy and damages
                   issues
 9/15/17 SJS       Conference in office with Joshua Smith regarding next steps
 9/18/17 JMS       Correspondence regarding upcoming deadlines and issues related to
                   discovery
 9/19/17 JMS       Receipt and review of correspondence regarding upcoming discovery
                   issues and trial management
 9/19/17 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding
                   discovery issues and trial management
 9/19/17 JMS       Draft and research outline to motion for summary judgment
 9/19/17 JMS       Correspondence regarding trial management and discovery issues
 9/19/17 PAS       Conference with Joshua M. Smith regarding scheduling and motion for
                   summary judgment issues
 9/20/17 JMS       Receipt and review of correspondence regarding discovery issues and
                   trial management
 9/20/17 JMS       Draft motion for summary judgment and outline

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   Date Int        Professional Services                                                       Hours Amount
 9/20/17 JMS       Legal research regarding summary judgment and outline
 9/21/17 JMS       Correspondence regarding good faith issue and attorney-client privilege
                   waiver
 9/21/17 JMS       Draft motion to amend calendar order
 9/21/17 JMS       Correspondence regarding calendar order
 9/23/17 SJS       Start outline for Motion for Summary Judgment on merits of FLSA,
                   23(b)(3) claims
 9/23/17 SJS       Review Moffett Deposition and add information to Outline for MSJ on
                   merits
 9/25/17 JMS       Review of draft motion to amend calendar order
 9/25/17 JMS       Correspondence to Emma F. Paxton regarding motion to amend calendar
                   order
 9/25/17 SJS       Continue reading Moffett Deposition
 9/26/17 EFP       Finalize joint motion to amend calendar order; File joint motion; Email
                   from the Court regarding filed motion
 9/26/17 PAS       Receipt and review of correspondence from the Court x2
 9/27/17 SJS       Review/Revise Outline for Hardesty Motion for Summary Judgment on
                   Merits
 9/28/17 SJS       Review/revise/reorganize outline for Motion for Summary Judgment on
                   Merits
10/02/17 JMS       Receipt and review of correspondence regarding attorney client privilege
                   and good faith defense issue
10/02/17 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding
                   attorney client privilege and good faith defense issue
10/02/17 JMS       Review of Moffett deposition and related documents regarding attorney-
                   client privilege objections
10/03/17 JMS       Legal research and correspondence to Sharon J. Sobers regarding
                   attorney-client privilege and good faith defense
10/03/17 SJS       Respond to Joshua M Smith email on attorney client privilege with
                   respect to Defendant's decision to withdraw "consultation with counsel"
                   claim in support of their "good faith" defense


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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
10/04/17 SJS       Draft Damage Interrogatories for Hardesty FLSA Opt-Ins; Compare to
                   Joshua M Smith draft version of Interrogatories; Review/revise
                   interrogatories
10/05/17 JMS       Conference with Peter A. Saba regarding attorney client privilege waiver
                   issue
10/05/17 SJS       Review/revise damage interrogatories for Opt-Ins; Draft long and short
                   versions; Forward drafts of damage interrogatories to Joshua M. Smith
10/06/17 JMS       Legal research regarding attorney client privilege issues and stipulation
                   of good faith evidence
10/11/17 EFP       Research regarding FCRA class action against Kroger
10/11/17 JMS       Receipt and review of related FCRA litigation against Kroger
10/11/17 JMS       Review of file and pleadings regarding FCRA litigation
10/11/17 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding FCRA
                   litigation
10/11/17 SJS       Locate materials on "common interest privilege" applicable to attorneys
                   working on separate matters against the same client; Forward materials
                   to Joshua M. Smith; Review materials from Joshua M. Smith regarding
                   Fair Credit Reporting Act (FCRA) litigation filed against Kroger
10/12/17 JMS       Draft and revise outline to motion for summary judgment
10/13/17 JMS       Telephone conference regarding status update
10/16/17 JMS       Draft and revise questionnaire to opt-in plaintiffs regarding damages
10/17/17 JMS       Draft and revise interrogatories/questionnaires to opt-in plaintiffs
                   regarding damages
10/17/17 JMS       Correspondence to Sharon J. Sobers regarding damages
10/17/17 JMS       Draft correspondence to opt-in plaintiffs regarding damages
                   questionnaire
10/17/17 JMS       Draft third set of discovery requests to defendant
10/17/17 JMS       Telephone conference with Sharon J. Sobers regarding discovery request
10/17/17 SJS       Telephone conference with Joshua M. Smith regarding Damage
                   Interrogatories for Opt-Ins
10/18/17 EFP       Receipt and review of notation order from the Court

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   Date Int        Professional Services                                                       Hours Amount
10/18/17 JMS       Draft third set of discovery requests to defendant; Telephone conference
                   with Sharon J. Sobers regarding discovery requests; Two telephone
                   conference calls with Sharon J. Sobers regarding questionnaire to opt-in
                   plaintiffs
10/18/17 JMS       Telephone conference with Sharon J. Sobers regarding discovery
                   requests
10/18/17 JMS       Two telephone conference with Sharon J. Sobers regarding
                   questionnaire to opt-in plaintiffs
10/18/17 PAS       Receipt and review of correspondence from the Court
10/18/17 SJS       Redraft Hardesty Damage Interrogatories to Opt-Ins
10/19/17 JMS       Receipt and review of draft questionnaire to opt-ins
10/19/17 JMS       Revise questionnaire to opt-ins
10/19/17 JMS       Correspondence to Sharon J. Sobers regarding questionnaire to opt-ins
10/19/17 SJS       Review of damage questionnaires for Opt-Ins, review/revise cover letter
                   for Damage Interrogatories, forward to Joshua M. Smith
10/19/17 SJS       Review draft of supplemental discovery requests to Defendant, draft
                   summary of issues for motion for summary judgment and documents
                   needed, forward comments on draft and summary to Joshua M. Smith
10/19/17 SJS       Review Joshua M. Smith revisions to Damage Interrogatories, redline
                   revisions and forward to Joshua M. Smith
10/20/17 JMS       Draft and revise 3rd set of discovery requests to defendant
10/23/17 JMS       Draft and revise third set of discovery requests
10/23/17 JMS       Correspondence to Sharon J. Sobers regarding discovery requests
10/23/17 JMS       Draft motion for summary judgment
10/23/17 JMS       Draft and revise questionnaire on damages to opt-in plaintiffs
10/24/17 JMS       Draft and revise damages questionnaire and attached correspondence to
                   opt-in plaintiffs
10/24/17 JMS       Telephone conference with Sharon J. Sobers regarding damages
                   questionnaire and attached correspondence to opt-in plaintiffs




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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
10/24/17 SJS       Telephone conference with Joshua M. Smith regarding a discovery
                   request for dates of phone data information on phone records that
                   Defendant has provided
10/25/17 JMS       Draft and revise damages questionnaire to opt-ins
10/26/17 JMS       Receipt and review of redline changes with respect to questionnaire to
                   opt-ins
10/26/17 SJS       Review/revise Damage questionnaires to Opt-Ins, forward redline to
                   Joshua M. Smith
10/27/17 JMS       Draft motion for summary judgment
10/30/17 EFP       Finalize third set of discovery requests; Email to opposing counsel
                   regarding third set of discovery requests
10/30/17 JMS       Revise questionnaire to opt-ins
10/30/17 JMS       Revise letter to opt-ins regarding questionnaire
10/31/17 JMS       Draft and revise damages questionnaire to opt-ins
10/31/17 JMS       Draft and revise cover letter to opt-ins regarding damages questionnaire
10/31/17 JMS       Correspondence to Peter A. Saba regarding damages questionnaire to
                   opt-ins
11/01/17 SJS       Review current version of damage questionnaires to Opt-Ins
11/02/17 JMS       Conference with Peter A. Saba regarding damages questionnaire to opt-
                   ins and letter correspondence regarding damages questionnaire to opt-ins
11/02/17 JMS       Revise correspondence to opt-ins regarding damages questionnaire
11/02/17 PAS       Review and revise notice and questionnaire for class members
11/03/17 JMS       Correspondence regarding extension of discovery cutoff
11/03/17 JMS       Revise questionnaire to opt-ins regarding damages
11/03/17 JMS       Telephone conference with Sharon J. Sobers regarding damages
11/03/17 JMS       Telephone conference regarding damages questionnaire
11/03/17 SJS       Telephone conference with Joshua M. Smith regarding Peter A. Saba's
                   comments on the questionnaires to the Opt-Ins regarding damages
11/06/17 JMS       Correspondence to Peter A. Saba regarding mediation invoice


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   Date Int        Professional Services                                                       Hours Amount
11/07/17 JMS       Conference with Peter A. Saba regarding damages questionnaire to opt-
                   in plaintiffs
11/08/17 JMS       Review of motions to certify/decertify and opposition to the same for
                   post-certification issues and summary judgment
11/08/17 JMS       Draft and revise motion for summary judgment
11/09/17 JMS       Correspondence regarding extension of discovery cutoff
11/10/17 JMS       Draft and revise motion for summary judgment
11/14/17 JMS       Draft motion to extend discovery cutoff
11/16/17 JMS       Draft motion to vacate or extend discovery cutoff
11/17/17 EFP       Finalize motion to vacate discovery cutoff; File motion to vacate
                   discovery cutoff
11/17/17 JMS       Draft and revise motion to vacate scheduling order
11/17/17 PAS       Receipt and review of correspondence from the Court
11/20/17 EFP       Receipt and review of filed motion to vacate
11/20/17 JMN       Read CA6 decision in Perry v. Ranstad; Conference with Joshua M.
                   Smith regarding same
11/20/17 JMS       Receipt and review of Sixth Circuit decision regarding recruiters (Perry
                   v. Randstad)
11/20/17 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   Sixth Circuit decision; Telephone conference with Sharon J. Sobers
                   regarding the Sixth Circuit decision
11/20/17 JMS       Telephone conference with Sharon J. Sobers regarding the Sixth Circuit
                   decision
11/20/17 SJS       Telephone conference with Joshua M. Smith regarding 6th Circuit
                   decision in Perry v. Randstad
11/21/17 JMS       Further review of Perry v. Randstad decision
11/21/17 JMS       Correspondence with Sharon J. Sobers regarding the decision
11/21/17 JMS       Telephone conference with Peter A. Saba regarding the decision




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   Date Int        Professional Services                                                       Hours   Amount
11/21/17    SJS    Review District Comi decision in Perry v. Randstad, Type up Section of
                   Peny v. Randstad Memo for Joshua M. Smith regarding US District
                   Comi decision, review Sixth Circuit decision in Peny v. Randstad, begin
                   analysis of Peny v. Randstad decision, draft sections of Peny v.
                   Randstad memo regarding Summary of Holding, Talent Acquisition
                   Specialist position, Assistant Branch Manager position, Ace.aunt
                   Manager position
11/22/17    JMS    Receipt and review of legal research memo from Sharon J. Sobers
                   regarding Peny v. Randstad
11/22/17    SJS    Review Peny v. Randstad cases, type up notes for Staffing Consultant
                   position for Peny v. Randstad memo, review "Good Faith reliance"
                   section of Peny v. Randstad decision, draft "good faith" section of Peuy
                   v. Randstad memo, forward draft of Memo to Joshua M. Smith
11/27/l 7   JMS    Receipt and review of legal research memo from Sharon J. Sobers;
                   Conference with Peter A Saba regarding legal research memo
11/27/l 7   PAS    Receipt and review of correspondence from the Comi
11/27/17    SJS    Review/revise Memo on Perry v. Randstad analysis, fo1ward revised
                   memo to Joshua M. Smith
11/28/17    JMS    Receipt and review of conespondence from Sharon J. Sobers regarding
                   Peny v. Randstad
11/28/17    SJS    Email Joshua M. Smith responding to email regarding not filing
                   supplemental memo on Peny v. Randstad decision
11/29/17    JMS    Receipt and review responses to third set of discovery requests
11/29/17    JMS    Draft and revise reply in suppoli of motion to amend or vacate
11/29/17    JMS    Draft affidavit of counsel in support
11/29/17    JMS    Conference with Peter A Saba regarding revisions to reply in suppoli of
                   motion to amend or vacate
11/29/17    PAS    Review and revise reply brief; Conference with Joshua M. Smith
                   regarding changes to reply brief
11/30/17    EFP    Finalize reply in suppoli of motion to amend; Finalize Joshua M. Smith
                   affidavit; Prepare exhibits to Joshua M. Smith affidavit; File reply in
                   suppoli and affidavit
11/30/17    JMS    Revise reply in suppoli of motion to vacate or amend


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   Date Int        Professional Services                                                   Hours Amount
11/30/17 PAS       Receipt and review of correspondence from the Court
11/30/17 SJS       Begin drafting memo on Perry v. Randstad regarding which tasks are
                   considered exempt work
12/04/17 JMS       Telephone conference regarding status update
12/04/17 SJS       Finish Memo to Joshua M. Smith on exempt/non-exempt tasks identified
                   by the Court in Perry v. Randstad
12/05/17 JMS       Receipt and review of correspondence regarding invoice;
                   Correspondence to Peter A. Saba regarding invoice
12/06/17 JMS       Review of memo from Sharon J. Sobers and analysis regarding Sixth
                   Circuit decision (Perry) on recruiters
12/06/17 SJS       Review/revise Second Memo to Joshua M. Smith on Perry v. Randstad--
                   Memo regarding exempt/non-exempt tasks, forward Memo to Joshua M.
                   Smith
12/07/17 JMS       Telephone conference regarding status update
12/13/17 JMS       Telephone conference with the client regarding status update
12/13/17 JMS       Legal research regarding class certification and post-certification
                   discovery issues
12/14/17 EFP       Draft and revise attorney's fees summary; Draft and revise
                   correspondence to opposing counsel; Email to opposing counsel
                   regarding attorney's fees summary
12/14/17 JMS       Review of attorneys fees' summary
12/28/17 JMS       Correspondence with opt-in Marcus Lacour regarding status update
 1/05/18 JMS       Correspondence with opt-in Marye Ward regarding status update
 1/26/18 JMS       Conference regarding status update
 1/26/18 JMS       Legal research regarding FLSA and certification timeline issues
 2/02/18 SJS       Review outline for summary judgment motion, try to determine what
                   might need to be done
 2/13/18 JMS       Correspondence with Sharon J. Sobers regarding status update
 2/14/18 JMS       Telephone conference




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   Date Int        Professional Services                                                     Hours Amount
 2/14/18 JMS       Correspondence to Sharon J. Sobers and Peter A. Saba regarding
                   anticipated date of decisions regarding certification
 2/15/18 PAS       Conference with Joshua M. Smith regarding issues with timing of
                   issuance of motion for summary judgment decision
 3/23/18 JMS       Review of certification briefing and rules for appeal
 3/23/18 JMS       Legal research regarding the appeal
 3/23/18 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   appeal
 4/23/18 SJS       Review US Supreme Court Encino Motor Cars decision
 5/10/18 PAS       Receipt and review of correspondence from the court x2
 5/11/18 PAS       Receipt and review of correspondence from the court reporter x3
 5/22/18 SJS       Telephone conference with Joshua M. Smith regarding status of
                   appellate brief
 5/23/18 PAS       Receipt and review of correspondence from the court
 6/05/18 JMS       Telephone conference with Dominic Martin regarding class action status
                   update
 6/05/18 JMS       Correspondence to Dominic Martin regarding the class action status
                   update
 6/05/18 JMS       Correspondence to Derek Chipman regarding class action status update
 6/19/18 JMS       Draft and revise status update to class members
 6/25/18 JMS       Telephone conference with the client regarding status update
 8/01/18 JMS       Telephone conference with the court regarding pending class/collective
                   action motions
 8/01/18 JMS       Telephone conference with the client regarding the pending
                   class/collective action motions
 8/07/18 JMS       Review of pending motions and calendar order as status update to case
 8/07/18 JMS       Telephone conference with the client regarding status update
 8/13/18 JMS       Telephone conference with the client regarding status update
 9/19/18 JMS       Research regarding Judge Black pending decisions on motions


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   Date Int        Professional Services                                                        Hours Amount
 9/19/18 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   pending decisions on motions
 9/21/18 JMS       Correspondence with Sharon J. Sobers x2 regarding Judge Black delays
 9/24/18 JMS       Receipt and review of CJRA report; Correspodence to Peter A. Saba and
                   Sharon J. Sobers regarding CJRA report and outstanding motions to
                   certify/decertify
 9/28/18 JMN       Receipt and review of certification decision; Correspondence with
                   Joshua M. Smith regarding same
 9/28/18 JMS       Receipt and review of court's decision denying motion to decertify and
                   motion to certify
 9/28/18 JMS       Conferences with Peter A. Saba, Jeffrey M. Nye, and Sharon J. Sobers
                   regarding decision and appeal
 9/28/18 JMS       Telephone conference with the client regarding the decision and appeal
 9/28/18 JMS       Legal research regarding Rule 23(f) and appeal
 9/28/18 PAS       Receipt and review of decision of the court
10/01/18 JMN       Conferences with Joshua M. Smith regarding petition for permission to
                   appeal
10/01/18 JMN       Telephone conference and correspondence with Pierre Bergeron
                   regarding example briefs of petition for permission to appeal;
10/01/18 JMS       Review of district court's order denying motion for class certification
                   and denying motion to decertify FLSA collective action
10/01/18 JMS       Review of case law cited by the court
10/01/18 JMS       Prepare memo to file regarding upcoming discovery and related tasks to
                   petition for review
10/01/18 JMS       Correspondence to Peter A. Saba, Sharon J. Sobers, and Jeffrey M. Nye
                   regarding the discovery
10/01/18 JMS       Prepare outline to petition for review
10/01/18 PAS       Review of issues relating to certification decision; Conference with Josh
                   M. Smith regarding appeal issues and discovery issues




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   Date Int        Professional Services                                                         Hours   Amount
10/02/ 18   JMS    Telephone conference with the client regarding status update; Draft
                   outline to petition for review; Legal research regarding issues related to
                   23(f) petition for review and wage misclassification cases; Legal
                   research regarding administrative exemption and application to class
                   actions
10/02/18    JMS    Draft outline to petition for review
10/02/ 18   JMS    Legal research regarding issues related to 26(f) petition for review and
                   wage misclassification cases
10/02/ 18   JMS    Legal research regarding administrative exemption and application to
                   class actions
10/03/ 18   JMN    Research regarding 23(f); Conference with Joshua M. Smith
10/03/ 18   JMS    Telephone conference with Sharon J. Sobers regarding legal reseai·ch
                   issues for rnle 23(f) petition for review
10/03/ 18   JMS    Legal research regai·ding administrative exemption
10/03/18    JMS    Legal reseai·ch regai·ding abuse of discretion standai·d
10/03/ 18   JMS    Draft introduction to petition
10/03/18    JMS    Review of deposition testimony as cross-referenced with court order
                   denying ce1iification
10/03/18    JMS    Receipt and review of sample petitions for review from Jeffrey M. Nye
10/03/ 18   JMS    Conference with Jeffrey M . Nye regarding introduction of petition
10/03/18    SJS    Read/Review Peny v. Randstad
10/04/ 18   JMN    Conferences and research regarding 23(f) brief
10/04/ 18   JMS    Draft and revise introduction to petition
10/04/18    JMS    Conespondence to Jeffrey M. Nye and Sharon J. Sobers regai·ding the
                   introduction to petition
10/04/18    JMS    Draft and revise factual background section to petition for review
10/04/ 18   JMS    Review of prior briefing on ce1iification
10/04/18    JMS    Review of deposition transcripts in preparation for drafting factual
                   background of petition




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   Date Int        Professional Services                                                       Hours Amount
10/04/18 JMS       Correspondence to Jeffrey M. Nye and Sharon J. Sobers regarding the
                   deposition transcripts in preparation for drafting factual background of
                   petition
10/04/18 JMS       Draft correspondence to Opt-In Plaintiffs regarding status update
10/04/18 KAC       Draft correspondence to class members for Joshua M. Smith and phone
                   conference with Attorney Joshua Smith
10/04/18 SJS       Review Joshua M. Smith's first paragraph of draft of 23(f) petition,
                   outline thoughts regarding paragraph, direction of brief
10/04/18 SJS       Review caselaw, Espenscheid, Tyson, parts of O'Brien, type up notes on
                   Perry, Tyson, Espenscheid, read Monroe decision, forward email to
                   Joshua M. Smith regarding caselaw
10/05/18 JMS       Draft and revise Rule 23(f) petition for review argument section
10/05/18 JMS       Legal research regarding commonality and wage misclassification
10/05/18 JMS       Correspondence to Sharon J. Sobers regarding the legal research
10/05/18 JMS       Draft and revise correspondence to class members regarding status
                   update
10/05/18 KAC       Complete draft of status update for class action members; Email draft to
                   Joshua M. Smith for review; Cross reference all of Judge Black's
                   citations to deposition testimony for Joshua M. Smith; Meeting with
                   Joshua M. Smith regarding research results
10/05/18 SJS       Review draft of letter to Opt-Ins regarding Judge Black's decision,
                   review Phipps v. Walmart decision, email Joshua M. Smith regarding
                   changes to letter to Opt-Ins
10/06/18 JMS       Draft and revise petition for review introduction
10/06/18 JMS       Legal research regarding administrative exemption
10/06/18 SJS       Review DeAscencio, Ervin hybrid decisions, review Lindsay decision,
                   email Joshua M. Smith regarding hybrid decisions, relation to Judge
                   Black's decision
10/08/18 JMS       Draft and revise rule 23(f) petition for review
10/08/18 JMS       Conference with Jeffrey M. Nye regarding the rule 23(f) petition for
                   review
10/08/18 JMS       Legal research regarding issues related to certification and commonality


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   Date Int        Professional Services                                                      Hours Amount
10/08/18 JMS       Correspondence to Sharon J. Sobers regarding the issues related to
                   certification and commonality
10/08/18 JMS       Conference with Peter A. Saba regarding status update Rule 23(f)
                   petition
10/08/18 SJS       Review Reply Brief in Support of Motion for Class Certification, legal
                   research regarding exercise of independent judgment, draft email to
                   Joshua M. Smith regarding using Perry to show that independent
                   Judgment runs with the task
10/09/18 JMN       Receipt and review of draft from Joshua M. Smith; Research and
                   revisions regarding same
10/09/18 JMS       Draft and revise argument section of petition for review
10/09/18 JMS       Legal research regarding matters of significance and definition under
                   FLSA
10/09/18 SJS       Review Judge Black Opinion, outline thoughts on exercise of
                   independent judgment depending on nature of task, telephone
                   conference with Joshua M. Smith regarding exercise of independent
                   judgment depending on nature of task, legal research regarding "matters
                   of significance"
10/09/18 SJS       Revise Joshua M. Smith Introduction to 23(f) briefing
10/10/18 JMS       Draft and revise petition for review
10/10/18 JMS       Conference with Sharon J. Sobers x3
10/10/18 JMS       Conference with Jeffrey M. Nye regarding petition for review
10/10/18 SJS       Make further revisions to Introductory Paragraph of 23(f) briefing,
                   forward proposed changes to Joshua M. Smith
10/10/18 SJS       Email Joshua M. Smith regarding Thomas v Speedway decision, email
                   Joshua M. Smith regarding Cameron v. Abercrombie case regarding
                   options vs recommendations, Email Joshua M. Smith attaching legal
                   research on "matters of significance"
10/10/18 SJS       Review draft of 23(f) petition
10/11/18 JMS       Correspondence with Sharon J. Sobers regarding petition for review
                   draft and revisions
10/11/18 JMS       Telephone conference with Peter A. Saba regarding the petition for
                   review draft and revisions

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   Date Int        Professional Services                                                         Hours Amount
10/11/18 JMS       Draft and revise petition for review
10/11/18 JMS       Correspondence with the court regarding scheduling conference
10/11/18 PAS       Conference with Josh M. Smith regarding issues with scheduling
                   conference and settlement; Receipt and review of correspondence from
                   opposing counsel
10/11/18 SJS       Draft email regarding suggested revisions to draft 23(f) petition, forward
                   email to Joshua M. Smith
10/11/18 SJS       Telephone conference with Joshua M. Smith/Bruce Meizlish regarding
                   23(f) briefing, misclassification cases involving state law in 6th Circuit
10/11/18 SJS       Review revised draft of 23(f) petition, email Joshua M. Smith regarding
                   petition
10/12/18 JMS       Draft and revise petition for review
10/12/18 JMS       Conference with Sharon J. Sobers x3 regarding the petition for review
10/12/18 JMS       Conference with Peter A. Saba regarding revisions to petition for review
10/12/18 JMS       Revise petition for review
10/12/18 JMS       Conference with Karen A. Cittadino regarding petition for review filing
10/12/18 JMS       Conference with Elizabeth A. Kramer regarding revisions to petition for
                   review
10/12/18 KAC       Draft and revise Table of Contents and Table of Authorities for Appeal
10/12/18 KAC       Phone Conferences with the Sixth Circuit United States Court of
                   Appeals regarding filing
10/12/18 KAC       File Petition for Review with the Sixth Circuit United States Court of
                   Appeals
10/12/18 KAC       Email opposing counsel the filed documents
10/12/18 KAC       Upload all documents/emails into firm database
10/12/18 PAS       Revise and review the appellate brief
10/12/18 SJS       Review of final draft of 23(f) brief prior to filing, telephone conference
                   with Joshua M. Smith prior to filing 23(f) brief
10/12/18 SJS       Respond to email from Joshua M. Smith regarding Ahle v. Veracity
                   Research


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   Date Int        Professional Services                                                      Hours Amount
10/12/18 SJS       Draft suggested revision of section of brief regarding application of
                   elements of administrative exemption to facts of case, email draft of
                   Joshua M. Smith
10/15/18 JMS       Correspondence with opposing counsel regarding telephone conference
                   for discovery discussions and upcoming status conference with the court
10/15/18 SJS       Review law in electronic file regarding willfulness regarding need for
                   further discovery
10/15/18 SJS       Begin review of Moffett deposition
10/16/18 JMS       Review of discovery and deficiencies, along with scheduling order in
                   preparation for call with opposing counsel
10/16/18 JMS       Telephone conference with Sharon J. Sobers regarding the discovery and
                   deficiencies
10/16/18 JMS       Attend telephone conference with opposing counsel
10/16/18 JMS       Telephone conference with Sharon J. Sobers regarding the telephone
                   conference with opposing counsel
10/16/18 SJS       Telephone conference with Joshua M. Smith regarding discovery,
                   settlement procedures prior to status conference with Judge Black
10/16/18 SJS       Review Amgen, Dukes, Comcast decisions regarding commonality
10/17/18 JMS       Receipt and review of correspondence from the court regarding status
                   conference
10/17/18 JMS       Draft motion to stay proceedings
10/17/18 JMS       Correspondence to opposing counsel regarding the motion to stay
                   proceedings
10/17/18 JMS       Telephone conference with opposing counsel regarding the motion to
                   stay proceedings
10/17/18 PAS       Receipt and review of correspondence from the court; Conference with
                   Josh M. Smith regarding issues with motion for stay
10/18/18 JMS       Prepare for and attend status conference with the court
10/18/18 JMS       Conference with Peter A. Saba regarding the status conference with the
                   court
10/18/18 JMS       Conference with Sharon J. Sobers regarding the status conference with
                   the court

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   Date Int        Professional Services                                                        Hours Amount
10/18/18 SJS       Telephone conference with Joshua M. Smith regarding Status
                   Conference with Judge Black putting collective action on hold pending
                   Sixth Circuit review of 23(f) petition
10/22/18 JMS       Receipt and review of sample briefs and decisions regarding 23(f)
                   appeals
10/22/18 PAS       Receipt and review of correspondence from the court
10/22/18 SJS       Review 23(f) pleadings provided by Deborah Grayson
10/23/18 JMN       Receipt and review of brief in opposition to petition for permission to
                   appeal; Correspondence with Joshua M. Smith regarding same
10/23/18 JMS       Receipt and review of defendant's response in opposition to petition for
                   review
10/23/18 JMS       Correspondence with Peter A. Saba and Sharon J. Sobers regarding the
                   defendant's response in opposition to petition for review
10/23/18 KAC       Check Court docket for Attorney Joshua M. Smith
10/23/18 KAC       Receive and review the Response in Opposition to Plaintiffs' Petition for
                   Permission to Appeal
10/23/18 KAC       Upload all documents into the firm database
10/23/18 KAC       Conference with Joshua M. Smith regarding new filing
10/23/18 KAC       Receive and review multiple emails regarding Response in Opposition
                   and upload all documents into firm database
10/24/18 JMS       Correspondence with Sharon J. Sobers regarding defendant's response in
                   opposition to plaintiffs' petition for review
10/24/18 PAS       Receipt and review of correspondence from the court x2
10/24/18 SJS       Review David Montgomery's 23(f) response, email Joshua M. Smith
                   regarding David Montgomery's 23(f) response
10/30/18 JMS       Telephone conference with sixth circuit clerk regarding notices of
                   appearance
10/30/18 JMS       Correspondence to Karen A. Cittadino regarding the notices of
                   appearance
10/30/18 KAC       Draft Appearance of Counsel for Peter A. Saba
10/30/18 KAC       Draft Appearance of Counsel for Joshua M. Smith

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   Date Int        Professional Services                                                         Hours Amount
10/30/18 KAC       raft Appearance of Counsel for Sharon J. Sobers
10/30/18 KAC       File Appearance of Counsel documents with the Court of Appeals
10/30/18 KAC       Send/serve Appearance of Counsel documents to opposing counsel
10/30/18 KAC       Upload all documents into firm database
10/30/18 PAS       Telephone conference with 6th Circuit regarding filing of notice of
                   appearance; Receipt and review of correspondence from court x4
11/05/18 JMS       Telephone conference with the client regarding status update
11/13/18 JMN       Receipt and review of decision denying permission to appeal;
                   Conference with Joshua M. Smith regarding same
11/13/18 JMS       Receipt and review of 6th Circuit order denying petition for review
11/13/18 JMS       Telephone conference with Peter A. Saba regarding the 6th Circuit order
                   denying petition for review
11/13/18 JMS       Telephone conference with Sharon J. Sobers regarding the 6th Circuit
                   order denying petition for review
11/13/18 JMS       Telephone conference with the client regarding the 6th Circuit order
                   denying petition for review
11/13/18 JMS       Draft and revise status update to class action website
11/13/18 JMS       Draft and revise correspondence to opt-ins regarding status update
11/13/18 JMS       Conference with Peter A. Saba regarding litigation strategy and next
                   steps
11/13/18 KAC       Receive and review Order denying Petition for Review from Joshua M.
                   Smith; Upload Order to firm database
11/13/18 PAS       Conference with Josh M. Smith regarding issues with denial of appellate
                   review and next steps of litigation
11/13/18 SJS       Legal Research regarding right of opt-in plaintiffs to appeal class action
                   decision if defendant settles with named plaintiffs
11/13/18 SJS       Read Pettrey, Lusardi decisions
11/13/18 SJS       Telephone conference with Joshua M. Smith regarding Sixth Circuit
                   denial of 23(f) petition




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   Date Int        Professional Services                                                          Hours Amount
11/14/18 SJS       Legal Research regarding review of McDonald, Clarke v. Baptist
                   Memorial Healthcare decisions regarding intervention to salvage appeal
                   if named Plaintiffs do not appeal, review Sixth Circuit's denial of 23(f)
                   petition
11/15/18 JMS       Correspondence with opposing counsel regarding follow-up telephone
                   conference and status update to the court
11/15/18 JMS       Multiple correspondence to opt-ins regarding status update
11/15/18 JMS       Telephone conference with the client regarding status update
11/15/18 SJS       Review dissent in Campbell Ewald v. Gomez decision
11/16/18 JMS       Correspondence with opposing counsel regarding follow-up telephone
                   conference and status update to the court
11/19/18 JMS       Prepare for and attend telephone conference with opposing counsel
11/19/18 JMS       Telephone conference with the court regarding status update
11/19/18 JMS       Draft letter to opposing counsel regarding outstanding discovery issues
11/19/18 PAS       Conference with Josh M. Smith regarding outstanding issues
11/19/18 PAS       Conference call with opposing counsel regarding issues with discovery,
                   trial scheduling and settlement
11/19/18 PAS       Receipt and review of correspondence from the court
11/21/18 KAC       Begin preparing status letter to all of the opt-ins for Joshua M. Smith
11/24/18 SJS       Legal research whether settling Plaintiffs have a right to appeal denial of
                   class certification, what notice do potential class members need
                   regarding denial of certification
11/26/18 JMS       Telephone conference with Talia Robbins regarding intervening in
                   lawsuit, claims, etc.
11/26/18 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   intervening in lawsuit, claims, etc.
11/27/18 JMS       Telephone conference with Talia Robbins regarding potential claims and
                   intervention
11/27/18 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   potential claims and intervention
11/27/18 JMS       Legal research regarding intervention under Rule 24

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   Date Int        Professional Services                                                       Hours Amount
11/27/18 JMS       Revise correspondence to opt-in plaintiffs
11/27/18 JMS       Conference with Karen A. Cittadino regarding the potential claims and
                   intervention
11/27/18 JMS       Revise correspondence to opposing counsel regarding outstanding
                   discovery
11/27/18 JMS       Correspondence to Peter A. Saba regarding the outstanding discovery
11/27/18 KAC       Complete letters to opt ins regarding status update
11/27/18 SJS       Draft Memo to Joshua M. Smith regarding Clarke v. Baptist Memorial
                   Healthcare cases, intervention of opt-ins to serve as named plaintiffs,
                   legal research regarding standards generically for intervention, Kirsch
                   decision
11/28/18 JMS       Legal research regarding intervention in action following denial of
                   certification
11/28/18 JMS       Correspondence with Sharon J. Sobers regarding
                   intervention/consolidation of additional plaintiffs
11/28/18 JMS       Conference with Talia Robbins regarding intervention into case
11/28/18 KAC       Send out correspondence via email and ordinary mail to all opt ins
11/28/18 KAC       Create log of opt in individuals to keep track of responses to letter
11/28/18 SJS       Legal research regarding jurisdiction over Talia Robbins' claim, can she
                   intervene or file separately and consolidate
11/29/18 SJS       Legal research regarding class actions and motions to intervene
11/30/18 SJS       Legal Research regarding Robbins intervention, China Agritech decision
12/01/18 SJS       Legal Research regarding intervention and filing late consents, email
                   Joshua M. Smith regarding intervention and filing late consents
12/04/18 JMS       Receipt and review of fee agreement and related documents from Talia
                   Robbins; Receipt and review of correspondence from potential class
                   member regarding lawsuit
12/04/18 JMS       Receipt and review of correspondence from Deni Arce regarding lawsuit
12/05/18 JMS       Review of documents in preparation for discovery deficiency letter
12/05/18 JMS       Telephone conference with Sharon J. Sobers regarding discovery and
                   related issues

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   Date Int        Professional Services                                                          Hours Amount
12/06/18 JMS       Correspondence with the court regarding status conference
12/06/18 JMS       Conference with Peter A. Saba regarding the status conference
12/06/18 JMS       Telephone conference with Sharon J. Sobers regarding FLSA and late
                   consent filings
12/06/18 JMS       Receipt and review of case law from Sharon J. Sobers regarding the
                   FLSA and late consent filings
12/06/18 SJS       Legal Research and email to Josh M. Smith regarding additional cases
                   on filing late consents, especially consents filed late in the litigation
12/07/18 JMS       Prepare for and attend status conference with the court; Correspondence
                   to Peter A. Saba and Sharon J. Sobers regarding status update;
                   Correspondence with potential class member regarding claims
12/07/18 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding status
                   update
12/07/18 JMS       Correspondence with Deni Arce regarding claims
12/07/18 SJS       Telephone conference with Joshua M. Smith regarding status conference
                   with the Court following rejection of 23(f) petition
12/11/18 SJS       Review facts in Defendant's Memo in Opposition to Class Certification
                   (in preparation for preparing outline for summary judgment motion)
12/12/18 JMS       Receipt and review of correspondence from Talia Robbins regarding
                   signed contingency fee agreement
12/12/18 JMS       Correspondence to Karen A. Cittadino regarding the signed contingency
                   fee agreement
12/13/18 SJS       Continue review of facts in Defendant's briefing, draft initial outline for
                   summary judgment motion
12/14/18 SJS       Continue review of facts in Defendant's Motion to Decertify Class,
                   Motion in Opposition to Class Certification, add to Outline
12/19/18 JMS       Receipt and review of correspondence from potential class member
                   regarding follow-up inquiries on representation
12/20/18 SJS       Review/revise/type Outline for summary judgment motion, with/without
                   added facts




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   Date Int        Professional Services                                                      Hours Amount
12/26/18 SJS       Review Defendant's Reply in Support of Motion To Decertify Collective
                   Action, add citations to record testimony in Reply supporting
                   Defendant's position to outline of summary judgment motion, email
                   Draft Outline of Summary Judgment Motion to Joshua M. Smith, Esq.
12/31/18 JMS       Review correspondence and legal research memo from Sharon J. Sobers
                   regarding motion for summary judgment and administrative exemption
 1/02/19 JMS       Receipt and review of calendar order from the court
 1/02/19 JMS       Correspondence to Karen A. Cittadino regarding the calendar order from
                   the court
 1/04/19 JMN       Conference with Joshua M. Smith regarding jury instructions
 1/04/19 JMS       Review of summary judgment memo and outline from Sharon J. Sobers
                   in preparation for summary judgment briefing
 1/04/19 JMS       Review of sample jury instructions
 1/04/19 JMS       Draft and revise jury instructions for FLSA collective action
 1/04/19 KAC       Draft correspondence to update class members on status of case
 1/07/19 JMS       Receipt and review of Kroger's responses and objections to third set of
                   discovery requests
 1/07/19 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding the
                   Kroger's responses and objections to third set of discovery requests
 1/07/19 JMS       Receipt and review of signed fee agreement from Talia Robbins
 1/07/19 JMS       Correspondence to Karen A. Cittadino regarding the signed fee
                   agreement from Talia Robbins
 1/07/19 PAS       Conference with Jeffrey M. Nye regarding documents due for discovery
                   and additional sources for jury instructions
 1/08/19 JMS       Draft and revise motion for summary judgment
 1/08/19 JMS       ;Review of legal research memo from Sharon J. Sobers regarding the
                   motion for summary judgment
 1/08/19 JMS       Receipt and review of voicemail from Dominic Martin (opt in)
 1/09/19 JMS       Receipt and review of defendant's responses to third set of discovery
                   requests



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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 1/09/19 JMS       Correspondence to Peter A. Saba and Sharon J. Sobers regarding Kroger
                   responses to discovery and document production
 1/09/19 JMS       Correspondence with Jeffrey M. Nye regarding the Kroger responses to
                   discovery and document production
 1/09/19 JMS       Legal research regarding collective action trials and jury instructions
 1/09/19 JMS       Draft potential jury instructions
 1/10/19 JMS       Draft and revise factual background section of motion for summary
                   judgment
 1/10/19 JMS       Revise potential jury instructions for FLSA collective action trial
 1/11/19 JMS       Draft and revise motion for summary judgment
 1/11/19 JMS       Correspondence to Sharon J. Sobers regarding the motion for summary
                   judgment
 1/14/19 JMS       Revise proposed jury instructions
 1/15/19 JMS       Receipt and review of correspondence from Sharon J. Sobers regarding
                   motion for summary judgment and administrative exemption
 1/15/19 JMS       Draft and revise argument section of motion for summary judgment
 1/15/19 SJS       Review Joshua M. Smith's Outline for FLSA Motion for Summary
                   Judgment, email redline of Summary Judgment Outline to Joshua M.
                   Smith, include comments on Novartis decision and 10 point CFR
                   regulation standard for "independent judgment on matters of
                   significance" analysis
 1/16/19 JMS       Conference with Sharon J. Sobers regarding draft motion for summary
                   judgment and issues
 1/16/19 SJS       Conference in office with Joshua M. Smith regarding Hardesty Motion
                   for Summary Judgment to assign tasks
 1/17/19 SJS       Review initial draft of Joshua M. Smith FLSA Motion for Summary
                   Judgment
 1/18/19 JMS       Correspondence with Sharon J. Sobers regarding motion for summary
                   judgment and issues related to discretion and independent judgment
 1/18/19 JMS       Draft and revise argument section of motion for summary judgment
                   regarding matters of significance



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   Date Int        Professional Services                                                      Hours   Amount
 1/19/19    JMS    Draft and revise proposed jury instrnctions for FLSA collective action
                   trial
 1/19/19    SJS    Finish reading Joshua M. Smith draft of Motion for Summary Judgment
 1/21/19    JMS    Draft and revise motion for summary judgment
 1/22/19    SJS    Draft comments regarding Joshua M. Smith draft of Motion for
                   Summary Judgment.
 1/23/19    JMS    Receipt and review of legal research memo from Sharon J. Sobers
                   i-egarding motion for summary judgment
 1/23/19    SJS    Email comments to Joshua M. Smith regarding draft of Motion for
                   Summary Judgment
 1/29/19    SJS    Review caselaw in Administrative Exemption Folder, prepare a draft
                   email of useful cases for Joshua M. Smith, e.g. examples where there is
                   an exercise of "independent judgment" and where there is no
                   "independent judgment"
 1/30/19    SJS    Legal research regarding wording in ru:chived regulation regarding
                   "matters of significance," email Joshua M. Smith regarding same, legal
                   research regarding cases discussing list of factors for analyzing
                   "independent judgment" in 29 CFR 541.202(b)
 1/3 1/19   SJS    Legal Research regarding review of two additional cases discussing 10
                   factor analysis of 29 CFR 541.202(b),
 2/01 /19   SJS    Legal Research regru:ding administrative exemption 10 point list, Hemy
                   v Quicken Loans
 2/04/19    JMS    Telephone conference with Sharon J. Sobers regarding motion for
                   summary judgment
 2/05/19    JMS    Draft and revise introduction and factual background section of motion
                   for summary judgment
 2/06/19    JMS    Draft and revise argument section of motion for summary judgment
 2/06/19    SJS    Legal Research regarding 10 point list in 29 CFR 541.202(b), review
                   additional cases
 2/07/19    JMS    Telephone conference with Sharon J. Sobers regarding motion for
                   summary judgment and issues related to "matters of significance"




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Hardesty, Joseph                                                                                      May 24, 2022
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   Date Int        Professional Services                                                          Hours Amount
 2/07/19 SJS       Legal Research: Review Perry decision regarding 10 point analysis,
                   review additional cases regarding same, including Swigert, Wade
                   Trucking
 2/07/19 SJS       Draft Memo regarding 29 CFR 541.202(b) 10 point list
 2/08/19 SJS       Review and revise Memo on 541.202(b), forward to Joshua M. Smith
                   with revised Outline for Legal Section of Motion for Summary
                   Judgment
 2/10/19 JMS       Prepare and revise draft jury instructions in preparation for MSJ and trial
                   prep meeting
 2/10/19 JMS       Prepare and revise draft jury instructions in preparation for MSJ and trial
                   prep meeting
 2/11/19 JMN       Prepare for and attend case status conference regarding motion for
                   summary judgment and trial with Joshua M. Smith, Peter A. Saba, and
                   Sharon J. Sobers
 2/11/19 JMS       Prepare for and attend task list meeting regarding motion for summary
                   judgment and scheduled trial
 2/11/19 JMS       Conference with Sharon J. Sobers regarding revisions to motion for
                   summary judgment
 2/11/19 JMS       Legal research regarding administrative exemption and outside circuit
                   case law
 2/11/19 JMS       Revise introduction to motion for summary judgment
 2/11/19 JMS       Review of Rana Schiff deposition transcript
 2/11/19 PAS       Conference with Josh M. Smith, Jeffrey M. Nye and Sharon J. Sobers
                   regarding all issues relating to MSJ and trial preparation
 2/11/19 SJS       Conference in office with Peter A. Saba, Joshua M. Smith, and Jeffrey
                   M. Nye regarding next steps in FLSA class action
 2/11/19 SJS       Review Factual Allegations section of Joshua M. Smith's draft of Motion
                   for Summary Judgment
 2/12/19 JMS       Review of Sharon J. Sobers revisions to factual background of motion
                   for summary judgment
 2/12/19 JMS       Revise factual background



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   Date Int        Professional Services                                                          Hours   Amount
 2/ 12/19   JMS    Receipt and review of Sharon J. Sobers revisions to legal analysis
                   section of motion for summary judgment
 2/ 12/19   JMS    Revise analysis section
 2/12/19    JMS    Legal research regarding management and general business operations
                   element of administrative exemption
 2/12/19    JMS    Correspondence with Sharon J. Sobers regarding the management and
                   general business operations element of administrative exemption
 2/ 12/19   SJS    Prepare redline for Factual Allegations, Summary Judgment Standard
                   sections of Joshua M. Smith's initial draft of Motion for Summary
                   Judgment, fo1ward redline to Joshua M. Smith
 2/ 12/19   SJS    Prepare redline/comments on the Legal Analysis portion of Joshua M.
                   Smith's initial draft of Plaintiffs Motion for Summary Judgment
 2/ 13/19   JMS    Receipt and review of Sharon J. Sobers memo regarding Perry v.
                   Randstad and analysis
 2/13/19    JMS    Revise motion for summa1y judgment regarding the Peny v. Randstad
                   and analysis
 2/ 13/19   JMS    Draft and revise introduction, fach1al background, and arguments
                   sections of motion for summary judgment
 2/ 13/19   SJS    Email Joshua M. Smith regarding Sixth Circuit law regarding 50% of
                   time should be spent on task for "prima1y duty" designation to apply
 2/ 13/19   SJS    Respond to Joshua M. Smith's email regru·ding Beauford v. ActionLink
                   send summary of Perry positions on Talent Acquisition Specialist and
                   Staffing Consultant to Joshua M. Smith
 2/13/19    SJS    Prepare task lists for the Plaintiffs in Andrade and Ogden, respond to
                   Joshua M. Smith's second email on Beauford v. ActionLink
 2/ 14/19   JMS    Draft and revise introduction, fachial background, and ru·g1.1ment sections
                   of motion for summaiy judgment
 2/ 14/19   SJS    Review recmiter cases, fo1ward Sierra decision to Joshua M. Smith
 2/ 15/19   JMN    Receipt and review of draft motion for summary judgment from Joshua
                   M. Smith
 2/ 15/19   JMS    Draft and revise argument section of motion for snmma1y judgment
 2/15/19    JMS    Draft combined table of contents and summary of the argument


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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 2/15/19 JMS       Review of depositions and related discovery materials in preparation for
                   drafting proposed undisputed facts
 2/15/19 JMS       Draft proposed undisputed facts
 2/15/19 JMS       Telephone conference with Sharon J. Sobers regarding the proposed
                   undisputed facts
 2/15/19 SJS       Telephone conference with Joshua M. Smith regarding revised draft,
                   download revised draft and read it, email Joshua M. Smith regarding two
                   areas to think further about
 2/15/19 SJS       Review Perry decision regarding Court's reasons for sending Staffing
                   Consultant position to the Jury, email Joshua M. Smith regarding
                   various aspects of Perry and a new district court decision in that case
 2/15/19 SJS       Respond to Joshua M. Smith email regarding distinguishing recruiters
                   who are exercising allegedly "best fit" discretion in light of Perry
                   analysis
 2/16/19 JMN       Review of and suggested edits to motion for summary judgment
 2/16/19 JMS       Draft and revise proposed undisputed facts
 2/16/19 SJS       Draft redline of revised legal analysis in Motion for Summary Judgment
                   draft, review Stultz decision, forward Stultz decision to Joshua M. Smith
 2/17/19 JMN       Review of and edits to motion for summary judgment; Correspondence
                   with Joshua M. Smith
 2/17/19 JMS       Correspondence with Jeffrey M. Nye regarding motion for summary
                   judgment and revisions
 2/17/19 JMS       Review of deposition transcripts in preparation for revising proposed
                   undisputed facts and factual background of motion for summary
                   judgment
 2/18/19 JMN       Motion for summary judgment revisions with Joshua M. Smith
 2/18/19 JMS       Correspondence with Sharon J. Sobers regarding organization of motion
                   for summary judgment and revisions
 2/18/19 JMS       Conference with Jeffrey M. Nye regarding revisions to motion for
                   summary judgment
 2/18/19 JMS       Revise factual background and argument sections of motion for
                   summary judgment


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   Date Int        Professional Services                                                      Hours   Amount
 2/ 18/19   JMS    on-espondence with opposing counsel regarding witness list exchange
 2/ 19/19   JMN    Motion for surmnary judgment
 2/ 19/19   JMS    Conference with Jeffrey M. Nye regarding revisions to motion for
                   summary judgment and reorganization
 2/ 19/19   JMS    Draft revisions to factual background and arguments sections based on
                   Jeffrey M. Nye revisions
 2/ 19/19   JMS    Telephone conference with Sharon J. Sobers regarding revisions to
                   motion for summary judgment and additional legal research issues
 2/ 19/19   SJS    Highlight impoliant items in redlined draft, forward redline to Josh M.
                   Smith
 2/ 19/19   SJS    Review and edit material related to case citations in Matters of
                   Significance section of Motion for Summary Judgment Draft, fo1ward
                   edited section to Joshua M. Smith
 2/19/19    SJS    Telephone conference with Joshua M. Smith regarding status of Motion
                   for Summary Judgment, and regarding adding information on Staffing
                   Consultants to Motion, review and edit materials related to cases on
                   Independent Judgment section of Motion For Summary Judgment draft,
                   fo1ward revised section on independent judgment to Joshua M. Smith
 2/ 19/19   SJS    Research Evidence Rule permitting introduction of surmnary evidence,
                   legal research on Representative Evidence, fo1ward Memo on
                   Representative Evidence to Joshua M. Smith
 2/20/19    JMN    Motion for surmnary judgment revisions
 2/20/19    JMS    Draft revisions to factual background and argument sections of motion
                   for summary judgment
 2/20/19    JMS    Conespondence to Jeffrey M. Nye and Sharon J. Sobers regarding the
                   motion for summary judgment
 2/20/19    JMS    Draft affidavit of counsel with supporting exhibits
 2/20/19    JMS    Draft and revise proposed lmdisputed facts
 2/20/19    JMS    Correspondence to Jeffrey M. Nye and Sharon J. Sobers regarding the
                   proposed undisputed facts
 2/20/19    JMS    Review of documents produced in discovery for additional evidence in
                   suppol1 of motion for summary judgment


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Hardesty, Joseph                                                                                     May 24, 2022
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   Date Int        Professional Services                                                         Hours Amount
 2/20/19 SJS       Review latest draft of brief, forward redline of latest draft to Joshua M.
                   Smith
 2/21/19 JMN       Motion for summary judgment
 2/21/19 JMS       Revise table of contents with summary, introduction, factual
                   background, and argument sections of motion for summary judgment
 2/21/19 JMS       Revise proposed undisputed facts
 2/21/19 JMS       Revise counsel affidavit with supporting exhibits
 2/21/19 JMS       Prepare exhibits for affidavit
 2/21/19 SJS       Review Statement of Undisputed Facts, forward suggestions and redline
                   of Undisputed Facts to Joshua M. Smith
 2/21/19 SJS       Review Joshua M. Smith Affidavit, telephone conference with MIS
                   regarding Archived File for Legal Research on Evidence Rule 1006,
                   move legal research from archived file to Hardesty file, email comments
                   on Affidavit to Joshua M. Smith
 2/21/19 SJS       Legal research regarding 2nd prong of administrative exemption, draft
                   version of second prong argument (long and short versions), forward
                   version of second prong argument to Joshua M. Smith
 2/22/19 JMN       Motion for summary judgment; Conferences and correspondence with
                   Joshua M. Smith
 2/22/19 JMS       Conference with Peter A. Saba regarding revisions to motion for
                   summary judgment
 2/22/19 JMS       Conference with Courtney Williams regarding filing motion for
                   summary judgment and counsel affidavit (under seal)
 2/22/19 JMS       Revise proposed undisputed facts
 2/22/19 JMS       Conference with Sharon J. Sobers regarding the same
 2/22/19 JMS       Draft revisions to motion for summary judgment
 2/22/19 JMS       Telephone conference with opposing counsel regarding exhibits to be
                   filed under seal
 2/22/19 JMS       Telephone conference with the court regarding the same
 2/22/19 JMS       Draft motion for leave to file exhibits under seal



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 2/22/19 JMS       Conference with Elizabeth A. Kramer x2 regarding revisions to motion
                   for summary judgment
 2/22/19 PAS       Review and finalize the MSJ; Conference with Josh M. Smith regarding
                   changes to the MSJ; Receipt and review of correspondence from the
                   court x3
 2/25/19 JMS       Conference with Peter A. Saba regarding trial preparation
 2/25/19 JMS       Draft task list memo to Peter A. Saba, Jeffrey M. Nye and Sharon J.
                   Sobers
 2/25/19 JMS       Correspondence with opposing counsel regarding exhibits filed under
                   seal
 2/25/19 PAS       Receipt and review of correspondence from the court
 2/26/19 JMS       Receipt and review of legal research from Jeffrey M. Nye regarding
                   equitable tolling
 2/26/19 JMS       Correspondence to Jeffrey M. Nye regarding the same
 2/26/19 JMS       Correspondence to Talia Robbins regarding status update
 3/01/19 JMN       Conference with Joshua M. Smith regarding witness disclosure
 3/01/19 JMS       Prepare witness disclosure list
 3/01/19 JMS       Correspondence to opposing counsel regarding the witness disclosure
                   list
 3/05/19 HNR       Conference with Peter Saba, Josh Smith, Sharon Sobers, Jeff Nye
                   regarding witnesses, trial preparation
 3/05/19 JMN       Receipt and review of Monroe case from Joshua M. Smith
 3/05/19 JMN       Prepare for and attend conference with Peter A. Saba, Joshua M. Smith,
                   Sharon J. Sobers, and Haley N. Rubel
 3/05/19 JMS       Prepare for and attend conference with Jeffrey M. Nye, Peter A. Saba
                   and Sharon J. Sobers regarding litigation strategy and trial preparation
 3/05/19 JMS       Draft and revise damages questionnaire to opt-in plaintiffs
 3/05/19 JMS       Correspondence with Talia Robbins regarding status update and motion
                   to intervene




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   Date Int        Professional Services                                                       Hours   Amount
 3/05/ 19   PAS    Conference with Josh M. Smith, Jeffrey M. Nye, Sharon J. Sobers and
                   Haley N. Rubel regarding delegations of duties and issues with witness
                   and evidence chruting and trial prepru·ation
 3/05/19    SJS    Prepare for meeting regru·ding status of class action
 3/05/ 19   SJS    In office, review Momoe decision, conference with Peter A. Saba,
                   Joshua M. Smith, Jeffrey M. Nye and Haley Rubel regarding status of
                   class action
 3/06/19 HNR       Draft and revise attorney fee log, draft and revise coITespondence to
                   opposing counsel regarding attorney fees to date
 3/06/19 JNIS      Review of coITespondence to opposing counsel regarding attorney's fees
 3/06/ 19 JMS      Draft revisions to attorney's fees
 3/06/ 19 JMS      Conference with Haley Rubel regru·ding opt-in infonnation and
                   deposition testimony
 3/06/ 19 JMS      Receipt and review of coITespondence from Shru·on J. Sobers regarding
                   revisions to damages questionnaii-e to opt-ins
 3/06/ 19 JMS      Draft and revise the revisions to damages questionnaire to opt-ins
 3/06/19    JMS    Legal reseru·ch regru·ding representative testimony and applicability in
                   collective action
 3/06/19    SJS    Review and revise Questionnaire for Opt-Ins regarding damages
 3/07/ 19 HNR      Create and revise spreadsheet for witnesses
 3/07/19 JNIS      Review and revise damages questionnaire
 3/07/ 19 JMS      Co1Tespondence with Shru·on J. Sobers regarding the damages
                   questionnaire
 3/07/19    SJS    Telephone conference with Joshua M. Smith regru·ding Opt-In
                   Questionnaire regru·ding damages
 3/08/19    JMS    Draft damages questionnaire to opt-in plaintiffs
 3/08/ 19 JMS      Conespondence to Shru·on J. Sobers regarding the damages
                   questionnaire to opt-in plaintiffs
 3/ 11/ 19 HNR     Research witnesses on social media, google, courts and update witness
                   spreadsheet



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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours Amount
 3/11/19 JMS       Telephone conference with Sharon J. Sobers regarding damages
                   questionnaires
 3/11/19 JMS       Draft revisions to the damages questionnaires
 3/12/19 HNR       Research witnesses on social media, google, courts and update witness
                   spreadsheet
 3/12/19 JMN       Review recruiter questionnaire; Correspondence with Joshua M. Smith
                   regarding same
 3/12/19 JMS       Draft revisions to damages questionnaire
 3/12/19 JMS       Correspondence to Sharon J. Sobers and Jeffrey M. Nye regarding the
                   same
 3/12/19 JMS       Receipt and review of correspondence from Sharon J. Sobers regarding
                   proposed revisions to damages questionnaire
 3/12/19 SJS       Redraft questions for Opt-In Questionnaire regarding calculation of
                   overtime
 3/13/19 JMS       Correspondence with Jeffrey M. Nye and Peter A. Saba regarding status
                   of motion to intervene
 3/13/19 JMS       Draft revisions to damages questionnaire;
 3/13/19 JMS       Correspondence to Jeffrey M. Nye and Sharon J. Sobers regarding the
                   revisions to damages questionnaire
 3/13/19 SJS       Telephone conference with Joshua M. Smith regarding Opt-In
                   Questionnaire and Jeffrey Nye review of Questionnaire
 3/13/19 SJS       Review Joshua M. Smith's revision of Opt-In Questionnaire regarding
                   calculation of overtime, and forward redline to Joshua M. Smith
 3/14/19 HNR       Review and revise opt-in questionnaire
 3/14/19 HNR       Draft and revise correspondence to opt-ins
 3/14/19 JMS       Revise damages questionnaire
 3/14/19 JMS       Correspondence to Haley Rubel regarding the damages questionnaire
 3/14/19 JMS       Review and revise correspondence to opt-ins regarding damages
                   questionnaire
 3/14/19 JMS       Correspondence to Haley Rubel regarding the damages questionnaire



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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 3/15/19 HNR       Research witnesses on Lexis and update spreadsheet
 3/15/19 HNR       Create and revise opt-in spreadsheet of contact information
 3/15/19 HNR       Draft and revise correspondence to opt ins; mail correspondence to opt
                   in x27; email correspondence to opt in x27; Create and revise response
                   tracker for opt in questionnaire
 3/15/19 JMS       Correspondence with Haley Rubel x3 regarding damages questionnaire
                   and correspondence to opt-ins
 3/15/19 JMS       Receipt and review of opt-in damages questionnaire responses
 3/15/19 JMS       Draft memo to file regarding the opt-in damages questionnaire responses
 3/15/19 JMS       Draft update to damages calculation for Jalen Johnson
 3/18/19 JMS       Draft update to damages calculation for Jalen Johnson through review of
                   questionnaire responses, work schedule, phone records, and ID badge
                   swipes
 3/19/19 JMS       Revise damages calculation for Jalen Johnson based on questionnaire
                   responses, phone records, work schedules, and badge swipes
 3/20/19 HNR       Research witnesses and update spreadsheet
 3/20/19 JMS       Receipt and review of multiple opt-in responses to damages
                   questionnaire
 3/20/19 JMS       Telephone conference with Sharon J. Sobers regarding the multiple opt-
                   in responses to damages questionnaire
 3/20/19 JMS       Draft update to damages calculation for Jalen Johnson
 3/22/19 HNR       Review opt-in survey responses and enter new contact information in
                   spreadsheet
 3/22/19 HNR       Draft and send correspondence to opt-in Sara Schumann to new address
 3/22/19 HNR       Download new filings from docket and disburse new filings inter-office
 3/22/19 HNR       Prepare and file Supplemental Motion for Leave to File Under Seal and
                   Motion to Extend Conditional Period
 3/22/19 JMS       Receipt and review of defendant's memorandum in opposition to motion
                   for partial summary judgment
 3/22/19 JMS       Telephone conference with Sharon J. Sobers regarding the defendant's
                   memorandum in opposition to motion for partial summary judgment

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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours Amount
 3/22/19 JMS       Draft motion to extend conditional period for filing documents under
                   seal
 3/22/19 JMS       Correspondence to Haley Rubel regarding the motion to extend
                   conditional period for filing documents under seal
 3/22/19 PAS       Receipt and review of correspondence from the court x3
 3/22/19 PAS       Conference with Josh M. Smith regarding issues with MOI to MSJ
 3/22/19 SJS       Review Kroger Memo in Opposition to Plaintiffs Motion for Summary
                   Judgment
 3/23/19 JMS       Review of Kroger's memorandum in opposition to motion for summary
                   judgment
 3/23/19 JMS       Draft memo to file regarding points in reply
 3/23/19 JMS       Review of opt-in responses to damages questionnaire
 3/23/19 JMS       ; Draft memo to file regarding the opt-in responses to damages
                   questionnaire
 3/25/19 HNR       Review correspondence from opt-in and new opt-in survey responses,
                   enter new contact information into spreadsheet
 3/25/19 JMN       Receipt and review of memorandum in opposition to motion for
                   summary judgment
 3/25/19 JMS       Draft outline of reply in support of motion for summary judgment
 3/25/19 JMS       ;Legal research regarding issues related to discretion and independent
                   judgment and definitions;
 3/25/19 JMS       Telephone conference with Sharon J. Sobers regarding points of reply
 3/25/19 JMS       Receipt and review of corrected declaration of Tywanna Mathis
 3/25/19 SJS       Draft thoughts on Defendant's Memo in Opposition to Plaintiffs' Motion
                   for Summary Judgment, email thoughts to Joshua M. Smith, review
                   Joshua M. Smith's outline for Proposed Response
 3/26/19 JMS       Review of depositions of Rana Schiff and other managers in preparation
                   for reply in support of motion for summary judgment
 3/26/19 JMS       Draft introduction section to reply in support
 3/26/19 JMS       Review of Kroger's response to proposed undisputed facts and
                   submission of proposed disputed facts

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   Date Int        Professional Services                                                         Hours   Amount
 3/26/ 19   SJS    Legal Research
 3/26/ 19   SJS    Email Stultz v. Hunt Transpo1t to Joshua M. Smith

 3/26/ 19   SJS    Review summary judgment briefing regarding criteria applied to judge
                   applicants for potential hire, type up note regarding same
 3/26/ 19   SJS    Legal research regarding "all employee's make decisions" and 29 CFR
                   541.207(d)(l)
 3/27/ 19   JMS    Draft introduction to reply in support of motion for summary judgment
 3/27/19    JMS    Outline legal arguments
 3/27/ 19   JMS    Receipt and review of legal research memo from Sharon J. Sobers
                   regarding discretion and independent judgment and legal meaning of
                   same
 3/28/ 19   HNR    Draft email conespondence to opt-ins regarding questionnaire reminder

 3/28/ 19   JMS    Draft legal argument sections of reply in support; Conespondence to
                   opposing counsel regarding motion for extension; Review and revise
                   r eminder email to opt-ins regarding damages questionnaire
 3/28/ 19   JMS    Conespondence to opposing counse regarding motion for extension
 3/28/19    JMS    Review and revise reminder email to opt-ins regarding damages
                   questionnaire
 3/28/19    SJS    Email Joshua M. Smith regarding former 29 CFR 541.207, Kroger
                   disconnect on application of administrative exemption to recrniters in
                   collective action certification briefing and Memo In Opposition to
                   Motion for Summa1y Judgment
 3/29/ 19   HNR    Send email correspondence to opt-ins regarding questionnaire reminder
 3/29/ 19   HNR    Draft and revise Motion for Extension of Time and Proposed Entty,
                   conespondence with Josh M. Smith regarding the same, file the same
 3/30/19    SJS    Review last po1tion of Memo in Opposition to Summaty Judgment,
                   rethink outline for Reply
 4/01/19    JMS    Telephone conference with Shai·on J. Sobers regarding collective action
                   certification and use of representative testimony
 4/01/19    JMS    Legal reseai·ch regai·ding duties "directly and closely related" to exempt
                   work under administrative exemption



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 4/01/19 JMS       Legal research regarding DOL secondary sources including DOL field
                   operations manual
 4/01/19 JMS       Correspondence to Sharon J. Sobers regarding the DOL secondary
                   sources including DOL field operations manual
 4/02/19 HNR       Review and download survey responses and update spreadsheet in
                   preparation for meeting, email correspondence to Josh M. Smith
                   regarding the responses
 4/02/19 JMS       Draft reply in support of motion for summary judgment
 4/02/19 JMS       Telephone conference with Sharon J. Sobers regarding reply in support
                   and legal issues related to representative evidence
 4/02/19 JMS       Conference with Peter A. Saba regarding status of reply in support
 4/02/19 SJS       Telephone conference with Joshua M. Smith regarding appropriateness
                   of citation to DOL operations manual in briefing
 4/02/19 SJS       Finish draft outline of Reply Supporting Summary Judgment, forward
                   Outline to Joshua M. Smith
 4/02/19 SJS       Review Schiff Deposition
 4/02/19 SJS       Respond to Joshua M. Smith email regarding applicability of 6th Circuit
                   Monroe decision to our facts
 4/03/19 HNR       Prepare for and attend meeting with Josh M. Smith, Peter A. Saba,
                   Jeffrey M. Nye, Sharon J. Sobers regarding task list and current status
                   and update to-do list and calendar decided dates following meeting
 4/03/19 JMS       Prepare for and attend trial preparation meeting with Peter A. Saba,
                   Jeffrey M. Nye, Sharon J. Sobers and Haley Rubel
 4/03/19 JMS       Draft reply in support of motion for summary judgment
 4/03/19 JMS       Conference with Sharon J. Sobers regarding trial preparation and
                   witness issues
 4/03/19 PAS       Conference with Josh M. Smith, Sharon J. Sobers and Jeffrey M. Nye
                   regarding review of additional issues for trial in August and completion
                   of the MSJ
 4/03/19 SJS       Review Schiff Deposition
 4/03/19 SJS       In office for status meeting, discussion with Joshua M. Smith



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours   Amount
 4/03/ 19   SJS    Legal research regarding cases Judge Black used to support denying
                   23(b) class ce1tification, draft memo on cases, fo1ward memo to Joshua
                   M. Smith
 4/04/19 HNR       Co1Tespond with the Comt regarding Proposed Order being signed and
                   relay the same to Josh M. Smith
 4/04/19    JMS    Draft and revise reply brief
 4/04/ 19   SJS    Review cases in Kroger's Memo opposing Slllllillary judgment
                   suggesting Plaintiffs were poor perfo1mers, draft memo of Joshua M.
                   Smith regarding these cases, fo1ward memo to Joshua M. Smith
 4/04/19    SJS    Review Schiff deposition
 4/04/ 19   SJS    Telephone conference with Joshua M. Smith regarding draft ofreply
                   brief
 4/04/ 19   SJS    Read portions of Joshua M. Smith's initial draft of Reply Brief
                   suppo1ting slllllillai·y judgment, send comments on draft to Joshua M.
                   Smith
 4/05/ 19   HNR    Defense witness research regarding cm-rent employment of all disclosed
                   witnesses, Lexis seai·ch of all opt-ins and review/save of results
 4/05/ 19   JMN    Co1Tespondence with Joshua M. Smith regarding reply brief
 4/05/19    JMS    Draft and revise reply brief
 4/05/ 19 JMS      Co1Tespondence to Jeffrey M. Nye, Peter A. Saba, and Sharon J. Sobers
                   regai·ding draft reply brief
 4/05/ 19   SJS    Read remainder of draft of Reply Brief, fo1ward additional comments on
                   draft. brief to Joshua M. Smith
 4/08/19 HNR       Receipt and review of new questionnaire responses from opt-ins and
                   update questionnaire tracker and opt-in contact info1mation x2
 4/08/19 HNR       Research opt-ins on social media sites and draft spreadsheet with
                   information from prior interviews and social media site information
 4/08/19    JMN    Revisions to and conferences with Joshua M. Smith regarding reply
 4/08/ 19 JMS      Co1Tespondence with Talia Robbins regarding affidavit and information
 4/08/19    JMS    Receipt and review of revised draft of reply brief from Sharon J. Sobers
 4/08/ 19 JMS      Revise reply brief


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Hardesty, Joseph                                                                                     May 24, 2022
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    Date Int       Professional Services                                                         Hours   Amount
 4/08/ 19    JMS   Legal research regarding matters of significance and ten factor test under
                   code of federal regulations
 4/08/ 19    JMS   Draft reply in support of motion for summary judgment
 4/08/19     SJS   Draft comments to Joshua M. Smith regarding second draft (first full
                   draft) of Reply Brief
 4/08/19     SJS   Type in redline for remainder of Second Draft of Reply Brief: fo1ward to
                   Joshua M. Smith
 4/08/19     SJS   Review material from Kroger Motion to Decertify inco1porated into
                   Memo opposing summaiy judgment, email Joshua M. Smith regarding
                   significance of inco1porated material
 4/08/ 19    SJS   Telephone conference with Joshua M. Smith regai·ding memos sent
                   today regarding comments on Reply Brief draft
 4/08/ 19    SJS   Review Kroger's Memo opposing summaiy judgment and make list of
                   topics we need to address
 4/09/19     HNR   Locate and review opt-in social media for relevant posts/shares
                   regarding Kroger and review Linkedln for listed job descriptions
 4/09/19     JMS   Draft and revise reply in suppo1t of summary judgment
 4/ 10/ 19   HNR   Review opt-in social media for relevant posts/shares regai·ding Kroger
                   and review Linkedln for listed job descriptions
 4/ 10/ 19   JMN   Edits to reply in support of motion for summai·y judgment and
                   conference with Joshua M. Smith regarding same
 4/ 10/ 19   JMS   Draft and revise reply in suppo1t of motion for summai·y judgment
 4/ 10/ 19   JMS   Receipt and review of revisions to reply in support of summai·y
                   judgment by Jeffrey M. Nye
 4/10/ 19    JMS   Receipt and review of proposed revisions to reply in supp01t of motion
                   for summary judgment by Sharon J. Sobers
 4/ 10/ 19   SJS   Further work on Reply Brief
 4/ 11/19    HNR   Compile consent form information into spreadsheet of all opt-ins and
                   review questionnaire responses and list missing responses
 4/ 11/19    JMS   Draft and revise reply in suppo1t of motion for summary judgment
 4/ 11/19    JMS   Conference with Peter A. Saba regai·ding revisions to reply in supp01t of
                   motion for smnmai·y judgment

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   Date Int        Professional Services                                                     Hours Amount
 4/11/19 PAS       Review and revise the reply brief; Conference Josh M. Smith regarding
                   changes to the reply brief
 4/12/19 HNR       Revise and finalize formatting of Reply Brief and file the same
 4/12/19 JMN       Finalizing reply with Joshua M. Smith
 4/12/19 JMS       Draft, revise, and finalize reply in support of motion for summary
                   judgment
 4/12/19 JMS       Conference with Peter A. Saba regarding further revisions to reply in
                   support of motion for summary judgment
 4/15/19 JMS       Correspondence with opposing counsel regarding trial procedure and
                   telephone conference
 4/17/19 SJS       Review Judge Black's standing order, email Joshua M. Smith regarding
                   thoughts on status conference with Judge Black
 4/18/19 HNR       Call opt-ins and follow up regarding questionnaire, email opt-ins
                   regarding questionnaire
 4/18/19 JMS       Correspondence with opposing counsel regarding telephone conference
                   to discuss trial procedure
 4/19/19 HNR       Receipt and review of new opt-in questionnaire responses
 4/19/19 JMS       Telephone conference with Sharon J. Sobers regarding trial preparation
 4/22/19 JMS       Correspondence with opposing counsel regarding conference call
 4/22/19 JMS       Prepare for telephone conference with opposing counsel
 4/23/19 JMS       Preparation of jury instructions and potential stipulations
 4/24/19 JMS       Prepare for and attend telephone conference with Peter A. Saba and
                   opposing counsel
 4/24/19 PAS       Conference Josh M. Smith regarding issues; Call with opposing counsel;
                   Conference call with opposing counsel regarding concept of bifurcation
 4/25/19 HNR       Research new numbers for opt-ins with non working telephone numbers
 4/25/19 JMS       Telephone conference with Sharon J. Sobers regarding motion to
                   bifurcate
 4/25/19 JMS       Legal research regarding FLSA claims and bifurcation between liability
                   and damages for purposes of trial



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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours   Amount
 4/26/ 19   JMS    Legal research regarding motion to bifurcate
 4/26/ 19   JMS    Draft motion to bifurcate
 4/29/ 19   JMS    Draft motion to bifurcate
 4/30/19    HNR    Conference with Josh M. Smith and Sharon J. Sobers regarding trial
                   preparation and trial
 4/30/19    HNR    Conference with Josh M. Smith regarding damages worksheet and
                   calculations
 4/30/19    JMN    Conference with Joshua M. Smith regarding bifurcation motion and
                   status conference
 4/30/19    JNIS   Draft motion to bifurcate
 4/30/ 19   JMS    Conference with Haley N. Rubel and Sharon J. Sobers regarding trial
                   preparation and damages analysis
 4/30/ 19   JMS    Conespondence with opposing counsel regarding proposal to bi:forcate
                   trial
 4/30/19    SJS    Conference in office with Joshua M. Smith/Haley Rubel regarding next
                   steps in collective action
 4/30/19    SJS    Select Questions from Damage Intenogato1y Questionnaire for
                   spreadsheet
 5/01/19    HNR    Call opt-ins who have not completed questionnaire and email
                   conespondence to opt-ins who have not completed questionnaire
 5/01/19    JNIS   Draft motion to bifurcate; Review of legal research memo from Sharon
                   J. Sobers regarding birfurcation in FLSA context; Conespondence with
                   Sharon J. Sobers regarding the birfurcation in FLSA context
 5/01/19    SJS    Review questions from Questionnaire to select questions for
                   Spreadsheet, draft. email regarding questions for Spreadsheets, fo1ward
                   email to Joshua M. Smith and Haley Rubel
 5/01/19    SJS    Legal Research regarding Judge Black cases on bifurcation, draft email
                   to Joshua M. Smith regarding same
 5/02/ 19   HNR    Draft and revise opt-in damages spreadsheet regarding phone records
                   and schedule
 5/02/ 19   JMS    Legal research regarding bifurcation



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   Date Int        Professional Services                                                         Hours   Amount
 5/02/ 19   JMS    Telephone conference with Sharon J. Sobers regarding motion to
                   bifurcate
 5/02/ 19   JMS    Conference with Peter A. Saba regarding the motion to bifurcate
 5/02/19    SJS    Legal Research regarding FLSA cases that are bifurcated, telephone
                   conference with Joshua M . Smith regarding bifurcation, read Thompson
                   v Brnister (MD Tenn), legal research regarding bifurcation, draft
                   summary of research regarding bifurcation for Joshua M . Smith,
                   research authority for appointment of special masters, email bifurcation
                   research to Joshua M. Smith
 5/03/19    HNR    Receipt and review of opt-in questionnaire responses
 5/03/ 19   HNR    Revise damages calculations spreadsheet with schedules
 5/03/ 19   JMS    Telephone conference with Sharon J. Sobers regarding motion to
                   bifurcate and legal issues
 5/03/ 19   JMS    Conference with Peter A. Saba regarding the motion to bifurcate and
                   legal issues
 5/03/ 19   SJS    Additional legal research regarding bifi1rcation, draft Motion to
                   Bifurcate incorporating po1iions of Joshua M. Smith draft
 5/05/ 19   JMS    Legal research regarding bifurcation issues
 5/06/19    HNR    Revise damages calculations spreadsheet with schedules
 5/06/ 19   JMS    Review and revise motion to bifurcate
 5/07/19    HNR    Draft and revise template letter to opt-ins regarding trial and testifying
 5/07/ 19   JMS    Review and select documents for trial exhibits
 5/08/ 19   JMS    Telephone conference with Peter A. Saba regarding motion to bifurcate
 5/08/19    JMS    Con-espondence to Jeffrey M. Nye regarding the motion to biihrcate
 5/09/ 19   HNR    Revise damages calculations with work schedules
 5/09/19    HNR    Draft and revise Affidavit of Josh M. Smith, finalize Motion to Bifurcate
                   w ith Affidavit and Exhibit and file the same
 5/09/19    JMS    Review affidavit in preparation for motion to bifurcate; Review and
                   revise motion to bifurcate; Co1Tespondence with Cominey M. Wright
                   regarding the motion to bifurcate; Co1Tespondence with Opt-In Marcus
                   LaCour regarding interview and negative reference from CoRE


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   Date Int        Professional Services                                                         Hours Amount
 5/09/19 JMS       Review and finalize motion to bifurcate
 5/09/19 JMS       Correspondence with Courtney M. Wright regarding the motion to
                   bifurcate
 5/09/19 JMS       Correspondence with Opt-In Marcus LaCour regarding interview and
                   negative reference from CoRE
 5/09/19 PAS       Review the motion to bifurcate
 5/13/19 HNR       Revise damages calculations spreadsheet with badge swipes
 5/13/19 HNR       Draft and prepare letters to opt-ins regarding trial
 5/13/19 JMS       Receipt and review of correspondence from opt-in Talia Robbins;
 5/13/19 JMS       Correspondence to Haley N. Rubel regarding the correspondence from
                   opt-in Talia Robbins
 5/14/19 HNR       Finalize, prepare and send opt-ins letter regarding trial via ordinary and
                   electronic mail
 5/14/19 JMS       Revise correspondence to opt-ins regarding trial date
 5/14/19 JMS       ;Legal research regarding collective action trials and presentation of
                   representative evidence
 5/15/19 HNR       Telephone conference with Sara Schuman regarding updates and
                   questionnaire
 5/15/19 HNR       Call remaining opt-ins regarding questionnaire x6
 5/15/19 JMS       Review and revise jury instructions
 5/15/19 JMS       Review of discovery documents and potential exhibits
 5/16/19 HNR       Revise damages calculations spreadsheet with badge swipes
 5/16/19 JMS       Correspondence with Opt-In Marye Ward regarding trial dates and paid
                   time off
 5/18/19 JMS       Review of discovery documents and potential exhibits in preparation for
                   trial
 5/20/19 HNR       Review deadlines and due dates on Court's docket and rules for trial
 5/20/19 JMS       Review of discovery documents and potential exhibits in preparation for
                   trial
 5/21/19 HNR       Calculate damages based on scheduled hours

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   Date Int        Professional Services                                                          Hours Amount
 5/21/19 HNR       Revise damages calculations spreadsheet with badge swipes
 5/21/19 JMS       Review of discovery documents and potential exhibits in preparation for
                   trial
 5/21/19 JMS       Telephone conference with the client regarding status update
 5/22/19 HNR       Revise damages calculations spreadsheet with badge swipes
 5/22/19 JMS       Review of discovery documents and potential exhibits in preparation for
                   trial
 5/22/19 SJS       Draft Stipulations for Trial
 5/22/19 SJS       Review Defendant's Motion for Decertification of FLSA class regarding
                   statements on job duties for recruiters, with respect to whether
                   description is consistent with description of job duties in Defendant's
                   summary judgment briefing, type of Defendant's statements regarding
                   job duties from Reply in Support of Decertification
 5/23/19 HNR       Revise damages calculations spreadsheet with badge swipes
 5/23/19 SJS       Draft update to Joshua M. Smith
 5/23/19 SJS       Review Reply in Support of Decertification, type up relevant
                   information on recruiter job description from Motion to Decertify,
                   review Defendant's Memo Opposing Summary Judgment regarding
                   description of job duties
 5/24/19 SJS       Finish reading Defendant's Memo Opposing Summary Judgment
                   regarding description of job duties, review Plaintiff's Reply in Support of
                   Summary Judgment
 5/25/19 SJS       Type up statements regarding recruiter job duties from Defendant's
                   Memo Opposing Summary Judgment
 5/28/19 SJS       Review Defendant's Memo Opposing 23(b) Class certification and type
                   up statements regarding recruiter job duties
 5/29/19 JMS       Review of discovery documents and potential exhibits in preparation for
                   trial
 5/29/19 JMS       Prepare trial exhibit list
 5/29/19 JMS       ;Receipt and review of legal research memo from Sharon J. Sobers
                   regarding defendant's prior statements regarding plaintiffs' job duties
 5/29/19 JMS       Correspondence with Sharon J. Sobers regarding jury instructions


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   Date Int        Professional Services                                                         Hours   Amount
 5/30/ 19   HNR    Revise damages calculation spreadsheet with badge swipes

 5/30/ 19   JMN    Co1Tespondence with Joshua M. Smith regarding Kroger's memorandum
                   in opposition to motion to bifurcate
 5/30/19    JMS    Receipt and review of defendant's memorandum in opposition to motion
                   to bifurcate
 5/30/19    JMS    Con-espondence to Peter A. Saba, Sharon J. Sobers, and Jeffrey M. Nye
                   regarding the same
 5/30/19    JMS    Review of discovery documents and potential trial exhibits
 5/30/ 19   JMS    Draft potential exhibit list in preparation for trial
 5/30/19    JNIS   Draft witness list and order of presentation in preparation for trial
 5/30/ 19   JMS    Con-espondence to Sharon J. Sobers regarding the same

 5/30/ 19   JMS    Legal research regarding damages and prima facie case in preparation
                   for drafting reply in suppo1t of bifurcation
 5/30/ 19   SJS    Legal research regarding what issues juries address in misclassification
                   cases

 5/30/ 19   SJS    Draft, type up List of Job Duties for real recrniters vs CoRE "recrniters"
 5/31/19    HNR    Revise damages spreadsheet with badge swipes and calculate time for 2
                   week period

 5/31/19    HNR    Revise and finalize cha1t to supplement reply to 1\.110

 5/31/19    HNR    Conference with Josh M. Smith regarding the same

 5/31/19    JNIN   Receipt and review of damages spreadsheet; Review Kroger
                   memorandum in opposition to motion to bifurcate
 5/31/19    JMS    Review of damages evidence in preparation for drafting reply in suppo1t
                   of motion to biforcate
 5/31/19    JMS    Draft reply in support of motion to biforcate

 5/31/19    SJS    Review Defendant's Memo Opposing Motion to Bifurcate, review Chait
                   prepared by Haley Rubel regarding schedules, phone loop records,
                   badge swipes, email Joshua M. Smith regarding representative
                   testimony, possibility of resolving bifurcation issue with agreement to
                   abandon representative testimony in liability phase of trial, Telephone
                   conference with Haley Rubel regai·ding not receiving emails from comt
                   following computer update

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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours   Amount
 5/31/19    SJS    Telephone conference with Samuel Schein, Esq. at Marshall & Fonnan
                   regarding jmy instrnctions, telephone conference with Eric Shear,
                   paralegal, and Peter Krzesk~ Esq. at Andy Diller's office regarding jury
                   instrnctions
 6/03/ 19   JMS    Review and prepare exhibit list in preparation for trial
 6/03/19    JMS    Conference with Peter A. Saba regarding trial preparntion and exhibits

 6/04/ 19   HNR    Review Judge Black standing order regarding trial

 6/04/19    HNR    Telephone conference with Comt regarding position on docket
 6/04/ 19   HNR    Conference with Josh M. Smith regarding trial dates and deadlines

 6/04/19    HNR    Conference with Josh M. Smith, Peter A. Saba, Jeffrey M. Nye, Sharon
                   J. Sobers regarding trial and preparntion
 6/04/ 19   JMN    Trial prep meeting with Joshua M. Smith, Peter A. Saba, Sharnn J.
                   Sobers, and Haley N. Rubel
 6/04/ 19   JMS    Review and prepare exhibit list for trial

 6/04/19    JMS    Prepare for and attend trial preparation and strategy conference with
                   Peter A. Saba, Jeffrey M. Nye, Sharon J. Sobers, and Haley N. Rubel
 6/04/19    JMS    Review of deposition of Kim Burchett in preparation for trial

 6/04/ 19   PAS    Conference with Josh M. Smith, Sharon J. Sobers, Jeffrey M. Nye and
                   Haley N. Rubel regarding review of all issues for trial preparation
 6/04/ 19   SJS    Review materials related to Hardesty Trial prior to Task List Meeting
 6/04/ 19   SJS    Attend Task List Meeting, conference with Joshua M. Smith following
                   Task List Meeting regarding various issues pertaining to trial

 6/05/ 19   HNR    Review and collect opt-in information and documents in preparation for
                   trial; Enter into spreadsheet
 6/05/ 19   JMN    Receipt and review of notes and transcript of Kim Burchett deposition
                   from Joshua M. Smith
 6/05/ 19   JMS    Conference with Sharon J. Sobers regarding order of witnesses and
                   presentation of case
 6/05/ 19   JMS    Conespondence with the comi x2 regarding status conference
 6/05/19    JMS    Review of deposition of Kim Burchett in preparation for trial



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    Date Int       Professional Services                                                       Hours   Amount
 6/05/ 19    JMS   Correspondence to Peter A. Saba and Jeffrey M. Nye regarding the
                   status conference
 6/05/ 19    PAS   Receipt and review of correspondence from the court x2

 6/05/19     PAS   Conference with Josh M. Smith regarding issues with rescheduling of
                   trial
 6/05/19     SJS   Draft generic direct for recruiter testimony at trial
 6/06/ 19    HNR   Draft co1Tespondence to opposing counsel regarding attorneys fees,
                   update attorney fees sheet; and send the same to opposing counsel
 6/06/ 19    JMS   Review and revise correspondence to opposing counsel regarding
                   attorney's fees
 6/06/ 19    JMS   Telephone conference with Sharon J. Sobers regarding motion to
                   bifurcate and reply in suppo1t
 6/07/ 19    JMN   Conference call with comt regarding motion for summary judgment and
                   trial setting
 6/07/19     JMS   Review motion to bifurcate and defendant's opposition in preparation for
                   status conference with the comi
 6/07/19     JMS   Prepare for and attend status conference with the comt

 6/07/ 19    JMS   Telephone conference with Sharon J. Sobers regarding motion to
                   bifurcate and trial procedure
 6/07/ 19    JMS   Receipt and review of notation order from the comt
 6/07/19     PAS   Conference call with the comt regaTding issues with rescheduling of
                   trial; Conference Josh M. Smith regarding issues with rescheduling

 6/07/ 19    SJS   Telephone conference with Joshua M. Smith regarding bifurcation
                   discussion in status conference with Judge Black
 6/10/ 19    HNR   Draft and revise letter to opt-in's regarding trial date vacated
 6/10/19     JMS   Review and revise correspondence to the opt ins regarding vacating trial
                   date
 6/10/19     JMS   Draft and revise reply in suppoli of motion to bifurcate
 6/ 10/ 19   SJS   Telephone conference with Joshua M. Smith regarding whether to move
                   ahead with Reply in Suppo1t of Bifurcation in light of status conference
                   discussion


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   Date Int        Professional Services                                                       Hours Amount
 6/10/19 SJS       Draft notes for bifurcation Reply Brief for Joshua M. Smith
 6/11/19 HNR       Draft letter to opt-ins regarding trial date changing
 6/11/19 JMS       Draft reply in support of motion to bifurcate
 6/11/19 JMS       Review of call log hours and related documentation establishing
                   overtime hours worked
 6/11/19 JMS       Prepare spreadsheet for reply in support of bifurcation
 6/11/19 JMS       Receipt and review of legal research memo from Sharon J. Sobers
                   regarding case law cited by defendant regarding bifurcation
 6/11/19 SJS       Review cases Defendant cited in its memorandum opposing bifurcation,
                   Update memo to Joshua M. Smith on bifurcation including comments on
                   Defendant's cases, email Memo on bifurcation to Joshua M. Smith
 6/11/19 SJS       Review Knudson decision cited by Defendant in Memo in Opposition to
                   bifurcation, telephone conference with Joshua M. Smith regarding reply
                   in support of bifurcation, email Knudson decision to Joshua M. Smith
 6/11/19 SJS       Email Joshua M. Smith regarding selection of class representatives in
                   6th Circuit Monroe decision
 6/12/19 HNR       Finalize and send opt-in letters x27 via email and ordinary mail
 6/12/19 HNR       Finalize information in spreadsheet from questionnaire regarding
                   schedule, salary, and outside work
 6/12/19 HNR       Review discovery from opposing counsel for termination/resignation for
                   opt-ins
 6/12/19 JMS       Draft, revise, and finalize reply in support of motion to bifurcate
 6/12/19 JMS       Receipt and review of voicemails from client
 6/13/19 HNR       Finalize Reply in Support of Bifurcation; Prepare Exhibit x5; File Reply
                   and Exhibits
 6/13/19 JMS       Review and revise reply in support of bifurcation
 6/13/19 JMS       Correspondence to Sharon J. Sobers regarding the reply in support of
                   bifurcation
 6/13/19 JMS       Telephone conference with the client regarding status update
 6/13/19 PAS       Receipt and review of correspondence from the court



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                                Stagnaro, Saba & Patterson Co., L.P.A.

Hardesty, Joseph                                                                                   May 24, 2022
FLSA                                                                                          Invoice#: 790903



    Date Int       Professional Services                                                       Hours   Amount
 6/ 13/ 19   SJS   Review draft of Reply in Suppott of Bifurcation
 9/03/ 19    HNR   Draft cotTespondence to opposing counsel regarding attorney fees,
                   update attorney fee spreadsheet and send the same to opposing counsel
 9/03/19     JMS   Review of cotTespondence to opposing counsel regarding attorney's fees
 9/03/ 19    JMS   CotTespondence to Haley N . Rubel regarding the attorney's fees
 9/10/19     JMS   Email cotTespondence to opt-ins regarding status update
11/05/ 19    JMS   Telephone conference with the client regarding status update and contact
                   with the comt
11/06/ 19    HNR   Conference with Josh M. Smith regarding cotTespondence to opt ins,
                   draft template cotTespondence to opt ins regarding status update and
                   draft cotTespondence to opt in x 27
11/06/ 19    JMS   Receipt and review of draft status update to collective action members
11/06/ 19    JMS   CotTespondence with Haley N. Rubel regarding the status update to
                   collective action members
11/07/l 9 HNR      Finalize and prepare cotTespondence to opt ins and send the same via
                   ordinary mail and electronic mail x28
11/07/19     JMS   Review and revise cotTespondence to opt-ins regarding status update
11/21/ 19    JMS   Telephone conference with the client regarding status update
12/26/19     HNR   Receipt of cotTespondence from opt in and revise contact spreadsheet
                   with new information
 1/06/20 JMS       Review of biography and prior decisions from Judge Matthew W.
                   McFarland
 1/06/20 JMS       Draft memo to file regarding the biography and prior decisions from
                   Judge Matthew W. McFarland
 1/07/20     SJS   Review Judge Black Ce1tification decision for class action, review Judge
                   McFarland decision in Cullen, draft Memo to Joshua M. Smith
                   regarding Cullen/class action cetiification
 1/08/20     JMS   CotTespondence with Sharon J. Sobers regarding decisions from Judge
                   McFarland
 1/08/20 JMS       Telephone conference with the client regarding status update and
                   transfer of case to Judge McFarland


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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 1/20/20 HNR       Draft correspondence to opt-ins x27 regarding reassigned judge,
                   conference with Josh M. Smith regarding the same and send
                   correspondence via ordinary and electronic mail x27
 1/20/20 JMS       Review of draft correspondence to opt-in plaintiffs regarding status
                   update
 3/20/20 JMS       Telephone conference with the client regarding status update
 4/24/20 JMS       Correspondence with Lindsey T. Bassitt regarding call from individual
                   on Kroger lawsuit
 5/18/20 HNR       Revise attorney fee breakdown, draft correspondence to opposing
                   counsel regarding attorney fees and obtain standing order for Judge
                   McFarland and review the same
 5/18/20 JMS       Conference with Haley N. Rubel regarding attorney's fees report
 5/18/20 JMS       Receipt and review of draft correspondence regarding the same
 5/18/20 JMS       Review of Judge McFarland standing orders
 6/02/20 JMS       Telephone conference with Sharon J. Sobers regarding case status and
                   status update to opt-ins
 6/03/20 JMS       Conference with Haley N. Rubel regarding status update to class and
                   contact information
 6/09/20 JMS       Correspondence with Kroger employee regarding status of lawsuit
 6/15/20 HNR       Draft template correspondence to opt ins regarding update and contact
                   confirmation
 6/16/20 JMS       Telephone conference with the client regarding status update
 6/17/20 JMS       Review and revise correspondence to opt-ins
 6/19/20 HNR       Review questionnaire responses from opt-ins and update contact list
                   with current employment status with Kroger
 6/19/20 JMS       Telephone conference with the client regarding status update and
                   pending motion for summary judgment
 6/22/20 HNR       Research regarding opt-ins current address and contact information,
                   draft and send correspondence to opt ins via ordinary and electronic,
                   email exchange with opt ins regarding updated contact information,
                   revise memo to file regarding the same, telephone conference with opt in
                   regarding update


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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours Amount
 6/22/20 JMS       Conference with Haley N. Rubel regarding correspondence to opt-ins
                   and current employment status
 6/22/20 JMS       Conference with Haley N. Rubel regarding status update to opt-ins
 6/23/20 HNR       Correspondence with opt in x2 regarding updated information and revise
                   memo to file regarding opt in information and employment status
 6/30/20 HNR       Receipt and review of entry granting motion to file under seal, review
                   motion and prior filings and review docket and file for completion of
                   docket documents; Obtain filings from docket
 7/01/20 JMS       Telephone conference with the client regarding status update
 7/06/20 JMS       Telephone conference with the client regarding status update
 7/07/20 HNR       Receipt and review correspondence from opt-in and update contact with
                   new information from opt-in
 7/15/20 JMS       Conference with court regarding status of motion for summary judgment
 7/15/20 JMS       Telephone conference with the client regarding the same
 7/20/20 JMS       Correspondence with Sharon J. Sobers regarding motion for summary
                   judgment and updated case law research
 7/20/20 SJS       Legal research regarding case law developments since summary
                   judgment briefing was filed with respect to the administrative
                   exemption, citations to Perry v Randstad
 7/21/20 JMS       Receipt and review of legal research memo regarding motion for
                   summary judgment and updated case law
 7/21/20 JMS       Correspondence with Sharon J. Sobers regarding the same
 7/21/20 SJS       Legal research regarding new "recruiter" cases since the Motion for
                   Summary Judgment was filed, Memo/Email to Joshua M. Smith
                   regarding new cases since the Motion for Summary Judgment was filed
 8/04/20 JMS       Correspondence with Jeffrey M. Nye regarding pending motion for
                   summary judgment
 8/18/20 HNR       Draft and send correspondence to opt-ins and conference with Josh M.
                   Smith regarding the same
 8/18/20 JMS       Conference with Haley N. Rubel regarding draft correspondence to opt-
                   ins; Receipt and review of the same



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Hardesty, Joseph                                                                                       May 24, 2022
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   Date Int        Professional Services                                                           Hours   Amount
 9/21/20   JMS     Correspondence with opt-in class member Kim Burchett regarding status
                   update
 9/21/20   JMS     Correspondence with Haley N. Rubel regarding the same
10/21/20 HNR       Draft template correspondence to opt-ins

12/01/20   JMS     Receipt and review of order denying motion to bifurcate

12/01/20   JMS     Receipt and review of order denying in pa.ii and granting in pali motion
                   for sullllnai·y judgment

12/01/20   JMS     Conference with Peter A. Saba regai·ding the same
12/01/20   JMS     Conference with Shai·on J. Sobers regarding the same

12/01/20   SJS     Telephone conference with Joshua M. Smith regai·ding Judge
                   McFai·land's sullllllary judgment, bifurcation decisions
12/01/20   SJS     Read Judge McFai·land's bifurcation decision, pa.it of sullllllai-y judgment
                   decision
12/02/20   JMS     Conference with Peter A. Saba and Sharon J. Sobers regarding sullllnai·y
                   judgment decision and availability for status conference

12/02/20   JMS     Correspondence with the court regai·ding status conference
12/02/20   PAS     Receipt and review of correspondence from the comi regarding
                   proceeding scheduling; Conference with Josh M. Smith regarding
                   scheduling issues; Receipt and review of correspondence from opposing
                   counsel
12/02/20   SJS     Finish reading Judge McFarland's summary judgment decision,
                   telephone conference with Joshua M. Smith regarding Hardesty
                   decisions and trial
12/03/20   JMS     Conference with Sharon J. Sobers regai·ding sullllllary judgment decision
                   and prepai·ation for trial
12/03/20   JMS     Review of case law relating to collective action trials
12/03/20   JMS     Review of memo from Shai·on J. Sobers regai·ding trial issues
 1/05/21   JMS     Legal reseru·ch regai·ding issues relate to collective action trial
 1/05/21   JMS     Review Sharon J. Sobers memo regai·ding trial preparation
 1/08/21   SJS     Review Judge McFarland's Standing Orders for Civil Actions



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                                 Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 1/14/21 JMS       Review of summary judgment order in preparation for status conference
                   and trial preparation
 1/14/21 JMS       Review of memo to file regarding trial preparation and collective action
                   litigation issues
 1/14/21 JMS       Telephone conference with Sharon J. Sobers regarding trial strategy and
                   procedure
 1/18/21 JMS       Conference with Sharon J. Sobers regarding trial preparation and issues
                   relating to presentation of evidence
 1/18/21 JMS       Legal research regarding representative testimony
 1/18/21 JMS       Correspondence to Sharon J. Sobers regarding the same
 1/18/21 JMS       Draft summary of damages spreadsheet
 1/18/21 JMS       Legal research regarding FLSA collective actions and representative
                   evidence
 1/18/21 SJS       Telephone conference with Joshua M. Smith preparing for meeting with
                   Peter A. Saba regarding status conference with Judge McFarland
 1/18/21 SJS       Email Joshua M Smith Trial Task List, List comparing CoRE recruiter
                   tasks with traditional recruiter tasks, beginning of List of points to be
                   made at trial through various trial witnesses
 1/19/21 JMS       Review of discovery documents and client questionnaire responses;
                   Draft and revise summary of damages for each opt-in member
 1/19/21 JMS       Draft and revises summary of damages for each opt-in member
 1/19/21 PAS       Conference with Josh M. Smith and Sharon J. Sobers regarding issues
                   with trial scheduling, witness contact and future presentation of damage
                   evidence
 1/19/21 SJS       Review 6th Circuit Pierce decision, email Joshua M. Smith regarding
                   preparation for status conference with Peter A. Saba
 1/19/21 SJS       Telephone conference with Joshua M. Smith, Peter A. Saba regarding
                   status conference with Judge McFarland
 1/20/21 JMS       Draft damages summary spreadsheet
 1/20/21 JMS       Prepare for and attend status conference with the Court
 1/20/21 JMS       Draft correspondence to opt-ins regarding status update


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Hardesty, Joseph                                                                              May 24, 2022
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   Date Int        Professional Services                                                  Hours Amount
 1/20/21 JMS       Conference with Rachael M. Myers regarding the same
 1/20/21 PAS       Prepare for and attend the status conference with the Court
 1/20/21 PAS       Conference with Josh M. Smith regarding contact with opt-ins
 1/20/21 PAS       Receipt and review of correspondence from the Court
 1/20/21 SJS       Telephone conference with Joshua M. Smith following up on Status
                   Conference with Judge McFarland
 1/29/21 JMS       Conference with Courtney M. Wright regarding notices to class
                   members
 1/29/21 JMS       Telephone conference with opt-in plaintiff regarding the same
 2/03/21 JMS       Revise damages summary spreadsheet
 2/03/21 JMS       Review of discovery
 2/03/21 JMS       Telephone conference with the client (Hardesty) regarding hours and
                   calculation
 4/26/21 JMS       Conference with Peter A. Saba and Jessica K. Peterson regarding
                   documents produced and preparation for trial
 4/26/21 JMS       Separate conference with Jessica K. Peterson regarding documents
                   produced and preparation for trial
 4/29/21 JKP       Comparing Bates stamped documents with the Log of Documents
                   Produced.
 4/30/21 JKP       Comparing Bates stamped documents with the Log of Documents
                   Produced.
 5/03/21 JKP       Comparing Bates stamped documents with the Log of Documents
                   Produced.
 5/04/21 JKP       Comparing Bates stamped documents with the Log of Documents
                   Produced.
 5/05/21 JKP       Comparing Bates stamped documents with the Log of Documents
                   Produced.
 5/05/21 JKP       Logging Bates stamped documents into Log of Documents Produced.
 5/06/21 JKP       Logging Bates Stamped Documents into Log of Documents Produced
                   for Hardesty Case



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                                 Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                     May 24, 2022
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   Date Int        Professional Services                                                         Hours Amount
 5/07/21 PAS       Receipt and review of correspondence from the Court regarding
                   rescheduling of trial
 5/12/21 JKP       Drafted a template for letter for plaintiffs
 5/19/21 JMS       Review and revise correspondence to opt-ins regarding status update
 5/28/21 JKP       Informing plaintiffs via mail and email about a status update for the case
 6/11/21 JKP       Logging documents produced by the defendant
 6/15/21 JKP       Logging documents that were produced by the defendant
 6/21/21 JMS       Conference with Jessica K. Peterson regarding damages evidence for
                   trial
 6/21/21 JMS       Review of damages spreadsheet
 6/24/21 JKP       Going through phone records and calculating overtime pay for each
                   plaintiff
 6/24/21 JMS       Receipt and review of revised damages spreadsheet from Jessica K.
                   Peterson
 6/24/21 JMS       Correspondence with Jessica K. Peterson regarding the same
 6/28/21 PAS       Prepare for and attend conference with the Court regarding trial setting;
                   Receipt and review of correspondence from the court
 6/29/21 JMS       Prepare for and attend conference with the court
 6/29/21 JMS       Conference with Jessica K. Peterson regarding damages evidence
 7/01/21 JKP       Creating a spreadsheet to calculate damages from work schedules
 7/06/21 JKP       Calculating damages for Hardesty plaintiffs
 7/07/21 JKP       Calculating damages for the Hardesty plaintiffs
 7/08/21 JKP       Calculating damages for the Hardesty plaintiffs
 7/08/21 JMS       Review of draft correspondence to opt-ins regarding status update
 7/09/21 JKP       Calculating damages for the Hardesty plaintiffs
 7/09/21 JKP       Creating and sending letters regarding an update to the plaintiffs
 7/09/21 JMS       Review and revise correspondence to opt-ins; Correspondence to Jessica
                   K. Peterson regarding the same
 7/12/21 JKP       Calculating damages for the Hardesty plaintiffs

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                                 Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                               May 24, 2022
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   Date Int        Professional Services                                                   Hours Amount
 7/13/21 JKP       Calculating damages for the Hardesty plaintiffs
 7/27/21 JKP       Calculating damages for the Hardesty plaintiffs
 8/10/21 JKP       Calculating damages for Hardesty plaintiffs
 8/11/21 JKP       Calculating damages for Hardesty plaintiffs
 8/11/21 JMS       Receipt and review of recruiter damages spreadsheet; Conference with
                   Jessica K. Peterson regarding the same
10/04/21 JKP       Logging documents produced by Kroger
10/12/21 MDS Review client files
10/13/21 JKP       Developing profiles for each of the plaintiffs
10/14/21 JKP       Developing profiles for each of the plaintiffs
10/15/21 JKP       Developing profiles for each of the plaintiffs
10/18/21 JKP       Developing profiles for each of the plaintiffs
10/19/21 JKP       Developing profiles for each of the plaintiffs
10/21/21 JKP       Developing profiles for each of the plaintiffs
10/25/21 JKP       Developing profiles for each of the plaintiffs
10/29/21 JKP       Developing profiles for each of the plaintiffs
11/01/21 JKP       Developing profiles for each of the plaintiffs
11/04/21 JKP       Developing profiles for each of the plaintiffs
11/05/21 JKP       Developing profiles for each of the plaintiffs
11/08/21 JKP       Developing profiles for each of the plaintiffs
11/09/21 JKP       Developing profiles for each of the plaintiffs
11/10/21 JKP       Developing a profile for each of the plaintiffs
11/11/21 JKP       Developing a profile for each of the plaintiffs
11/16/21 JKP       Developing profiles for each of the plaintiffs
11/18/21 MDS Review class member files regarding class members to use at trial and
             prepare a list of class members to present at trial
11/19/21 MDS Review class member files regarding class members to use at trial and
             prepare a list of class members to present at trial

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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours Amount
11/22/21 JMS       Legal research regarding FLSA and collective action trial procedures
                   (including damages evidence)
11/22/21 JMS       Draft memo to file regarding trial
11/23/21 MDS Continue to review class member files regarding class members to use at
             trial and prepare a list of class members to present at trial
11/24/21 JMS       Review of summary judgment decision
11/24/21 JMS       Draft and revise order of exhibits for trial
11/24/21 JMS       Draft and revise trial task list
11/24/21 MDS Continue to review class member files regarding class members to use at
             trial and pPrepare a list of class members to present at trial
11/29/21 JMS       Review of recruiter profiles created by Jessica K. Peterson
11/29/21 JMS       Draft recruiter profile page for Joseph Hardesty
11/29/21 JMS       Conference with Peter A. Saba regarding trial preparation
11/29/21 JMS       Draft trial preparation memo
11/29/21 JMS       Correspondence to Jessica K. Peterson, Sharon J. Sobers, and Matthew
                   D. Soaper regarding trial task list meeting and items to be completed
11/29/21 MDS Continue to review class members and prepare overview document of
             each class member
11/30/21 JMS       Review of discovery documents
11/30/21 JMS       Legal research regarding evidentiary objections in FLSA litigation
11/30/21 JMS       Review of court trial docket
11/30/21 JMS       Draft memo to file regarding motions in limine
11/30/21 JMS       Conference with Matthew D. Soaper regarding class members and
                   testimony
11/30/21 MDS Continue to prepare overview of each class member
12/01/21 MDS Prepare a letter to opt-in members regarding trial dates and upcoming
             steps
12/01/21 MDS Prepare draft jury instructions
12/02/21 MDS Prepare evidence chart and stipulations


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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours Amount
12/02/21 MDS Continue to prepare jury instructions
12/03/21 JMS       Prepare for and attend telephone conference with Sharon J. Sobers and
                   Matthew D. Soaper regarding trial preparation
12/03/21 MDS Planning meeting with Josh M. Smith and Sharon J. Sobers
12/03/21 MDS Continue to prepare jury instructions
12/03/21 MDS Continue to prepare evidence chart
12/03/21 MDS Continue to prepare stipulations to exhibits
12/03/21 MDS Continue to prepare stipulations to facts
12/03/21 MDS Continue to prepare update letter to opt-in class members
12/06/21 JMS       Review and revise correspondence to class members regarding trial;
                   Correspondence to Matthew D. Soaper regarding the same
12/06/21 JMS       Legal research regarding FLSA collective action and representative
                   evidence decisions
12/07/21 JMS       Revise correspondence to class members; Correspondence to Sharon J.
                   Sobers, Matthew D. Soaper, and Jessica K. Peterson regarding the same
12/07/21 JMS       Draft evidence chart for purposes of trial
12/07/21 JMS       Conference with Matthew D. Soaper regarding survey responses and
                   hearsay objection
12/07/21 MDS Continue to prepare jury instructions
12/07/21 SJS       Review letter to class
12/08/21 JKP       Compiling a spreadsheet of the plaintiffs and most up to date contact
                   information
12/08/21 JMS       Draft evidence chart for purposes of trial
12/08/21 JMS       Review of discovery documents in preparation for trial
12/08/21 MDS Continue to conduct legal research on the ability to introduce
             employment surveys into evidence
12/08/21 MDS Review discovery documents regarding employment surveys
12/08/21 MDS Prepare a legal memorandum on hearsay regarding employment surveys
12/08/21 SJS       Second Review of letter to class, forward comments to Joshua M. Smith


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                                Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                   May 24, 2022
FLSA                                                                                          Invoice #: 790903


   Date Int        Professional Services                                                       Hours Amount
12/08/21 SJS       Move Jury Instructions from other cases to the Hardesty electronic file,
                   begin review of Instructions
12/09/21 MDS Conduct legal research on the ability to use demonstrative exhibits
12/09/21 MDS Conduct legal research on the ability to introduce employment surveys
             in to evidence
12/09/21 MDS Review discovery documents regarding employment surveys
12/09/21 SJS       Review 6th Circuit Monroe decision, Matthew D. Soaper's Initial Draft
                   of Hardesty Jury Instructions.
12/10/21 JMS       Receipt and review of legal research memo from Matthew D. Soaper
                   regarding hearsay evidence; Correspondence with Matthew D. Soaper
                   regarding the same; Legal research regarding Rule 801 (hearsay)
12/10/21 MDS Continue to prepare jury instructions
12/10/21 MDS Meet with Sharon J. Sobers to discuss jury instructions
12/10/21 MDS Continue to conduct legal research on hearsay exceptions regarding
             anonymous surveys
12/10/21 MDS Continue to prepare a summary of research
12/10/21 SJS       Conference with Matthew D. Soaper regarding initial draft of Jury
                   Instructions
12/11/21 SJS       Review US Supreme Court Tyson decision
12/13/21 JMS       Review of discovery documents, and notes to file in preparing trial
                   evidence chart
12/13/21 JMS       Conference with Sharon J. Sobers regarding damages presentation and
                   evidence
12/13/21 JMS       Draft memo to file regarding the same
12/13/21 JMS       Draft updated damages calculation
12/13/21 MDS Continue research hearsay regarding anonymous employee surveys
12/13/21 SJS       Review Tyson dissent by Justice Thomas
12/13/21 SJS       Draft, review & revise Memo regarding damage jury instructions,
                   forward Memo to Joshua M. Smith, Matthew D. Soaper
12/14/21 MDS Continue research hearsay regarding anonymous employee surveys


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Hardesty, Joseph                                                                                   May 24, 2022
FLSA                                                                                          Invoice #: 790903


   Date Int        Professional Services                                                       Hours Amount
12/14/21 MDS Conversation with Josh M. Smith regarding jury instructions and plan to
             present commonality arguments to the jury
12/14/21 SJS       Telephone conference with Joshua M. Smith regarding damage
                   calculations showing liability for damages, actual calculation
12/15/21 MDS Continue research hearsay regarding anonymous employee surveys;x
12/15/21 MDS Continue to prepare jury instructions
12/16/21 JKP       Editing and formatting correspondence for the class members
12/16/21 JKP       Organizing and categorizing photographs of the Kroger call center in the
                   file
12/16/21 JMS       Prepare for and attend trial task list meeting with Matthew D. Soaper
                   and Sharon J. Sobers
12/16/21 JMS       Conference with Jessica K. Peterson regarding inspection photographs;
                   Review of the same for purposes of trial
12/16/21 JMS       Review of discovery documents and materials
12/16/21 JMS       Draft and organize evidentiary list/spreadsheet for purposes of trial
12/16/21 MDS Continue research hearsay regarding anonymous employee surveys
12/16/21 MDS Continue to prepare jury instructions
12/16/21 MDS Meeting with Josh M. Smith and Sharon J. Sobers regarding trial
             preparation
12/17/21 JKP       Organizing respective binders and exhibits for trial
12/17/21 JKP       Sending out individualized correspondences to each of the class
                   members
12/18/21 SJS       Forward sample Pretrial Statements to Matthew D. Soaper
12/20/21 MDS Continue to prepare jury instructions
12/21/21 JMS       Review of documents produced in discovery to revise evidence/exhibit
                   spreadsheet in preparation for trial
12/21/21 MDS Continue to prepare jury instructions
12/22/21 MDS Continue to prepare jury instructions
12/27/21 SJS       Legal Research regarding FLSA misclassification cases that have gone
                   to trial, review Henry v. Quicken Loans

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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
12/28/21 SJS       Legal research review Hendricks v TQL Logistics, Morgan v Dollar
                   General
12/29/21 MDS Continue to prepare jury instructions
12/30/21 MDS Continue to prepare jury instructions
12/30/21 MDS Prepare pretrial order
12/30/21 SJS       Respond to email from Matthew D. Soaper regarding new draft of Jury
                   Instructions including information regarding misclassification cases that
                   may have jury instructions, review draft of jury instructions
12/31/21 MDS Continue to prepare jury instructions
12/31/21 MDS Planning meeting with Sharon J. Sobers
12/31/21 MDS Conduct legal research on jury instructions regarding similar issues
12/31/21 SJS       Telephone conference with Matthew D. Soaper regarding latest draft of
                   Jury Instructions
 1/06/22 MDS Continue to prepare jury instructions
 1/06/22 MDS Prepare pretrial order
 1/06/22 SJS       Review current draft of jury instructions from Matthew D. Soaper
 1/07/22 JMS       Correspondence with Matthew D. Soaper and Sharon J. Sobers
                   regarding trial preparation and task list meeting
 1/07/22 JMS       Receipt and review of jury instructions
 1/07/22 MDS Continue to prepare pretrial order
 1/07/22 MDS Review changes to jury instructions
 1/07/22 SJS       Email thoughts on current state of jury instructions to Matthew D.
                   Soaper
 1/07/22 SJS       Read Plaintiff's Motion for Summary Judgment regarding law that needs
                   to be considered for jury instructions
 1/08/22 SJS       Review Defendant's Memorandum Opposing Summary Judgment for
                   law relevant to jury instructions
 1/10/22 JKP       Contacting class members and scheduling times for them to speak with
                   Josh M. Smith



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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours   Amount
 1/ 10/22   JMS    Prepare for and attend trial task list meeting with Matthew D. Soaper,
                   Sharon J. Sobers, and Jessica K. Peterson
 1/10/22    JMS    Legal research regarding jury instmctions and representative evidence;
                   Review of draft jmy instmctions
 1/10/22    MDS    Continue to prepare pretrial order
 1/1 0/22   MDS    Planning meeting with Sharon J. Sobers and Josh M. Smith
 1/ 10/22   SJS    Review Plaintiffs' Reply Memorandum in Supp01t of Plaintiffs' Motion
                   for Summary Judgment reviewing law for jmy instmctions
 1/ 10/22   SJS    Email Joshua M. Smith regarding questions for interviews with opt-ins
                   regai-ding recrniter tasks
 1/10/22    SJS    Telephone conference with Joshua M. Smith, Matthew D. Soaper, and
                   Jessica K. Peterson, regarding jmy instrnctions, interviews with opt-ins,
                   and preparntion of Joint Pretrial Statement
 1/ 11/22   JMS    Prepare for and attend phone consultation with Rhondalyn West
 1/ 11/22   MDS    Continue to prepare pretrial order
 1/ 11/22   MDS    Prepare for a phone screen with Rondalyn West

 1/ 11/22   MDS    Phone screen with Rondalyn West

 1/ 11/22   MDS    Review Judge McFarland's standing orders in preparation for trial
                   requirements
 1/ 11/22   MDS    Review Judge McFarland's standing orders in preparation for trial
                   requirements
 1/11/22    SJS    Review Judge McFarland Decision regarding Summaiy Judgment for
                   law useful for preparation of jury instmctions
 1/12/22    JMS    Prepai·e for and attend trial preparation call with Kimberly Bmchett

 1/12/22    JMS    Prepai·e for and attend trial preparation call with Jacob Cress

 1/12/22    JMS    Conference with Matthew D . Soaper regarding the same
 1/ 12/22   JMS    Draft memorandum to file regai·ding the same
 1/12/22    MDS    Prepare for a phone screen with Jacob Cress and Kimberly Bmchett
 1/ 12/22   MDS    Review Kimberly Bmchett deposition
 1/12/22    MDS    Phone Screen with Kimberly Burchett

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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours Amount
 1/12/22 MDS Phone screen with Jacob Cress
 1/12/22 MDS Prepare and save notes from phone screens
 1/12/22 MDS Continue to prepare jury instructions
 1/12/22 SJS       Start revision of draft of jury instructions related to administrative
                   exemption
 1/13/22 JKP       Logging documents produced in discovery
 1/13/22 JMS       Review of jury instructions; Correspondence with Sharon J. Sobers
                   regarding the same
 1/13/22 JMS       Prepare for and attend telephone conference with opt-in plaintiff Matt
                   Taske; Conference with Matthew D. Soaper regarding the same
 1/13/22 JMS       Telephone conference with Sharon J. Sobers regarding status update and
                   witness interviews for trial, and jury instructions
 1/13/22 MDS Prepare for a phone screen with Matt Taske; Review Matt Taske
             deposition; Phone Screen with Matt Taske; Annotate and organize notes
             from phone screen; Continue to review Kimberly Burchett deposition;
             Continue to annotate and organize Kim Burchett and Jacob Cress notes
 1/13/22 MDS Annotate and organize notes from phone screen
 1/13/22 MDS Continue to review Kimberly Burchett deposition
 1/13/22 MDS Continue to annotate and organize Kim Burchett and Jacob Cress notes
 1/13/22 SJS       Review/revise section of Jury Instructions dealing with Administrative
                   Exemption
 1/13/22 SJS       Telephone conference with Joshua M. Smith regarding conversations
                   with recruiters, records of recruiter time in the CoRE phone system
 1/14/22 JMS       Correspondence to opposing counsel regarding final pretrial order and
                   upcoming trial matters; Conference with Sharon J. Sobers and Matthew
                   D. Soaper regarding the same
 1/14/22 JMS       Review of discovery documents
 1/14/22 JMS       Prepare draft potential exhibit list
 1/14/22 MDS Continue to prepare jury instructions and Pretrial order




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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 1/14/22 SJS       Review parts of Foster v Nationwide 6th Circuit decision regarding the
                   Management or General Business Operations prong of the
                   Administrative Exemption for law related to that element in the jury
                   instructions
 1/16/22 JMS       Review of deposition of Joe Hardesty in preparation for trial
 1/16/22 JMS       Review of deposition of Madeline Hickey in preparation for trial
 1/16/22 JMS       Draft trial outline
 1/17/22 JKP       Calling plaintiffs to schedule a time to meet with Josh M. Smith and
                   Matthew D. Soaper
 1/17/22 JMS       Prepare for and attend telephone consultation with Joe Hardesty in
                   preparation for trial; Prepare for and attend telephone consultation with
                   Amanda Gayhart for same purpose
 1/17/22 MDS Prepare for a phone screen with Joe Hardesty and Amanda Gayhart
 1/17/22 MDS Review Joe Hardesty deposition
 1/17/22 MDS Phone Screen with Joe Hardesty
 1/17/22 MDS Phone screen with Amanda Gayhart
 1/17/22 MDS Annotate and organize notes from a phone screen
 1/17/22 SJS       Draft Management & General Business Operations Jury Instruction
 1/18/22 JMS       Conference with Matthew D. Soaper regarding recap of class member
                   calls (2pm, 3pm, 4pm)
 1/18/22 JMS       Draft memorandum to file regarding potential trial witnesses, and order
                   of presentation
 1/18/22 MDS Prepare for a phone screen with Derek Chipman, Lawanna Haskins, and
             Latasha Moore
 1/18/22 MDS Review Derek Chipman deposition
 1/18/22 MDS Phone Screen with Lawanna Haskins
 1/18/22 MDS Phone screen with Latasha Moore
 1/18/22 MDS Phone Screen with Derek Chipman
 1/18/22 MDS Annotate and organize notes from a phone screen



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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 1/18/22 SJS       Review/revise administrative exemption jury instructions, forward
                   revision to Matthew D. Soaper
 1/19/22 JMS       Correspondence with Kroger counsel regarding touch base call pre-trial;
                   Conference with Matthew D. Soaper regarding the same
 1/19/22 JMS       Review of documents and potential exhibits in preparation for trial
 1/19/22 JMS       Draft updates to evidence spreadsheet
 1/19/22 JMS       Review of phone records and work schedules in revising damages
                   calculation
 1/19/22 MDS Continue to annotate notes from phone screen
 1/19/22 MDS Continue to review depositions of Derek Chipman and Joe Hardesty
 1/19/22 MDS Continue to prepare jury instructions
 1/19/22 MDS Prepare and develop meeting agenda with opposing counsel meeting
 1/19/22 SJS       Start looking for other FLSA misclassification cases that might have
                   jury instructions
 1/19/22 SJS       Research cases dealing with fluctuating workweek
 1/20/22 JKP       Sending emails out to plaintiffs to schedule a time to talk to Josh M.
                   Smith
 1/20/22 JMS       Review of discovery documents pertaining to application review
                   process; Correspondence to Sharon J. Sobers regarding the same
 1/20/22 JMS       Receipt and review of research memo from Sharon J. Sobers regarding
                   fluctuating work week and damages calculation
 1/20/22 JMS       Prepare for and attend telephone conference with Marcus LaCour; Draft
                   memorandum to file regarding the same
 1/20/22 JMS       Prepare for and attend telephone conference with Rhonda Furr; Draft
                   memorandum to file regarding the same
 1/20/22 MDS Continue to review depositions of Kim Burchett
 1/20/22 MDS Continue to prepare jury instructions
 1/20/22 MDS Continue to prepare and develop meeting agenda with opposing counsel
             meeting
 1/20/22 MDS Prepare for phone interviews with Rhonda Furr and Marcus LaCour


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                                Stagnaro, Saba & Patterson Co., L.P.A.
Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 1/20/22 MDS Phone interview with Marcus LaCour
 1/20/22 MDS Phone Interview with Rhonda Furr
 1/20/22 MDS Continue to prepare plaintiff trial profiles
 1/20/22 MDS Prepare and annotate notes from phone interviews
 1/20/22 SJS       Legal Research regarding fluctuating workweek calculation, calculation
                   of hourly rate, meal break calculation, draft memorandum to Joshua M.
                   Smith regarding fluctuating workweek, email Fluctuating workweek
                   memorandum to Joshua M. Smith
 1/21/22 JKP       Logging documents produced in discovery
 1/21/22 JMS       Receipt and review of draft jury instructions from Matthew D. Soaper;
                   Conference with Matthew D. Soaper regarding the same
 1/21/22 JMS       Review of discovery documents to identify potential trial exhibits;
                   Conference with Jessica K. Peterson regarding the same
 1/21/22 MDS Continue to work on Jury Instructions and Agenda for a meeting with
             Opposing Counsel
 1/21/22 MDS Review Courtney Strosnider and Danielle Williams depositions
 1/21/22 MDS Continue to prepare and annotate notes from interviews with Rhonda
             Furr and Marcus Lacor
 1/24/22 JMS       Prepare for and attend telephone conference with Jessica Conroy (opt-
                   in); Draft memorandum to file regarding the same
 1/24/22 JMS       Review of deposition of Rana Schiff for purposes of trial; Review of
                   exhibits to deposition; Revise exhibit list
 1/24/22 MDS Prepare for phone interview with Jessica Conroy; Phone interview with
             Jessica Conroy
 1/24/22 MDS Trial preparation meeting with Josh M. Smith
 1/24/22 MDS Trial preparation phone call with Sharon J. Sobers
 1/24/22 SJS       Revise list of topics for Pretrial Conference with Defendants, telephone
                   conference with Matthew D. Souper regarding Pretrial Conference with
                   Defendants
 1/24/22 SJS       Summarize Schiff deposition
 1/25/22 JKP       Drafting correspondence to non-responsive plaintiffs

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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours Amount
 1/25/22 JKP       Logging documents that were produced in discovery
 1/25/22 JMS       Review and revise draft correspondence to opt-in plaintiffs
 1/25/22 JMS       Receipt and review of draft agenda for call with opposing counsel;
                   Conference with Matthew D. Soaper regarding the same
 1/25/22 JMS       Conference with Matthew D. Soaper regarding calls with Madeline
                   Hickey
 1/25/22 MDS Prepare for phone interview with Madeline Hickey
 1/25/22 MDS Review Madeline Hickey Deposition
 1/25/22 MDS Phone interview with Madeline Hickey
 1/25/22 MDS Continue to prepare meeting agenda with opposing counsel
 1/25/22 MDS Continue to prepare pretrial order
 1/25/22 SJS       Read Chris Weiler Deposition from Hardesty discrimination litigation,
                   draft email to Joshua M. Smith regarding Weiler deposition, tasks of
                   recruiters discussed in deposition
 1/25/22 SJS       Legal Research - read Cleveland Clinic Foundation case regarding meal
                   breaks
 1/25/22 SJS       Review information in emails from Matthew D. Soaper and Joshua D.
                   Smith regarding topics for Joint Pretrial Statement conference with
                   Defendants and respond
 1/26/22 JKP       Formatting and sending correspondence to non-responsive plaintiffs
 1/26/22 JKP       Logging documents that were produced in discovery
 1/26/22 JMS       Review of phone records and work schedules; Draft damages estimate
 1/26/22 JMS       Draft revisions to agenda for call with opposing counsel
 1/26/22 JMS       Review of draft pretrial order
 1/26/22 JMS       Review of witness list
 1/26/22 JMS       Conference with Matthew D. Soaper regarding revisions to same
 1/26/22 MDS Prepare for phone interview with Dominic Martin
 1/26/22 MDS Phone interview with Dominic Martin
 1/26/22 MDS Review Diana Victoriano deposition


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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 1/26/22 MDS Phone meeting to discuss pretrial order and meeting with opposing
             counsel with Sharon J. Sobers and Josh M. Smith
 1/26/22 MDS Continue to prepare agenda for meeting with opposing counsel
 1/26/22 MDS Review potential witness physical locations in preparation for trial
 1/26/22 MDS Review Judge McFarland's standing orders in preparation for trial
 1/26/22 SJS       Email Joshua M. Smith regarding evidence of damages, damage
                   summary and potential discussion of settlement at Joint Pretrial
                   Statement conference with Defendant's counsel
 1/27/22 JMS       Prepare for and attend telephone conference with opt-in Ckris (Tinashe)
                   Matibiri; Draft memorandum to file regarding the same
 1/27/22 JMS       Revise damages spreadsheet and calculations; Correspondence to Sharon
                   J. Sobers and Matthew D. Soaper regarding the same
 1/27/22 JMS       Prepare for telephone conference with opposing counsel; Revise agenda;
                   Correspondence to opposing counsel regarding the same
 1/27/22 JMS       Receipt and review of legal research from Sharon J. Sobers regarding
                   damages estimates and permissibility at trial
 1/27/22 MDS Prepare for phone screen with Marye Ward and Ckris Matibiri
 1/27/22 MDS Phone screen with Ckris Matibiri
 1/27/22 MDS Phone call with Josh M. Smith discussing damage calculations
 1/27/22 MDS Review Marye Ward Deposition
 1/27/22 SJS       Review Spreadsheet on schedules, badge swipes, call data, review email
                   from Joshua M. Smith regarding damage summary
 1/27/22 SJS       Review Schiff Deposition
 1/27/22 SJS       Telephone conference with Joshua M. Smith regarding damage
                   calculation
 1/27/22 SJS       Legal research regarding what a "just and reasonable inference" looks
                   like in a presentation of damage calculations
 1/28/22 JKP       Logging documents that were produced in discovery
 1/28/22 JKP       Calculating damages for the plaintiffs




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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 1/28/22 JMS       Prepare for and attend telephone conference with opposing counsel;
                   Telephone conference with Matthew D. Soaper and Sharon J. Sobers
                   regarding the same
 1/28/22 JMS       Draft revisions to damages calculations
 1/28/22 MDS Review Daniele Williams transcript
 1/28/22 MDS Planning meeting with Sharon J. Sobers and Josh M. Smith for meeting
             with opposing counsel
 1/28/22 MDS Phone conference with opposing counsel discussing pretrial order with
             Sharon J. Sobers and Josh M. Smith
 1/28/22 MDS Review of meeting with opposing counsel with Sharon J. Sobers and
             Josh M. Smith
 1/28/22 MDS Conduct research on jury instructions for other similar class-action
             lawsuits
 1/28/22 SJS       Email Matthew D. Soaper regarding Morgan v. Family Dollar Jury
                   Instructions
 1/28/22 SJS       Telephone conference with Joshua M. Smith, Matthew D. Soaper,
                   David K. Montgomery, Ryan M. Martin regarding the preparation of
                   the Joint Pretrial Statement, telephone conference with Joshua M. Smith
                   and Matthew D. Soaper following conference with opposing counsel
 1/28/22 SJS       Review/summarize Schiff Deposition
 1/29/22 SJS       Review current draft of Joint Pretrial Statement
 1/29/22 SJS       Continue review of Schiff Deposition
 1/31/22 JKP       Logging documents that were produced in discovery
 1/31/22 JMS       Review of correspondence from Sharon J. Sobers regarding Rule 23
                   class and appealability; Legal research regarding the same;
                   Correspondence to Sharon J. Sobers regarding the same
 1/31/22 MDS Continue to prepare joint pretrial order
 1/31/22 SJS       Email Matthew D. Soaper regarding makeup of the draft
                   "Uncontroverted Facts" in the Joint Pretrial Statement draft, Email
                   Joshua M. Smith forwarding Memo regarding Intervention for purpose
                   of appealing a denial of 23(b) Class Certification, review ORC 4113.15



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Hardesty, Joseph                                                                                       May 24, 2022
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   Date Int         Professional Services                                                          Hours   Amount
 2/01/22    JMS     Prepare for and attend telephone conference with Wahid Lewis
                    regarding opt-in claims and trial
 2/01/22    l\IDS   Prepare for and phone interview with Wahid Lewis

 2/0 1/22   l\IDS   Continue to prepare pretrial motion
 2/02/22    JKP     Looking through documents produced by Kroger for reference to
                    "scheduling guidelines"
 2/02/22    SJS     Review Pretrial Order draft, including contested, uncontested issues of
                    fact
 2/03/22    JMS     Receipt and review of drafts to pretrial order; Draft revisions to the same
 2/03/22    l\IDS   Continue to prepare joint pretrial statement
 2/03/22    SJS     Finish summary of Rona Schiff deposition, forward summary to Joshua
                    M. Smith
 2/04/22    JMS     Draft final pretrial order and stipulations; CoITespondence to Matthew
                    D. Soaper and Sharon J. Sobers regarding the same; Receipt and review
                    of comments to initial draft
 2/04/22    JMS     Review of deposition of Rana Schiff; CoITespondence to Matthew D.
                    Soaper and Sharon J. Sobers regarding the same
 2/04/22    SJS     Review Pretrial Order draft, fo1ward to Joshua M. Smith

 2/04/22    SJS     Legal research regarding Clarke v. Baptist Memorial Hospital,
                    intervention for pmposes of appeal

 2/05/22    SJS     Draft Memo to Joshua M. Smith, Matthew D. Soaper regarding
                    prevailing at trial/settlement, legal research regarding "law of the case",
                    forward Memo to Joshua M. Smith, Matthew D. Soaper

 2/07/22    JKP     Looking through documents produced by Kroger for reference to
                    "scheduling guidelines"
 2/07/22    JMS     Draft exhibit list and witness list for pmposes of pretrial order;
                    CoITespondence to Sharon J. Sobers and Matthew D. Soaper regarding
                    the same
 2/07/22    JMS     Review and revise draft stipulations




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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours Amount
 2/07/22 SJS       Telephone conference with Joshua M. Smith regarding the Pretrial Order
                   draft, 23(b) class vs collective and evidence for each, review draft of
                   Pretrial Statement, review uncontested facts, telephone conference with
                   Joshua M. Smith regarding state claims in the Pretrial Order
 2/08/22 JKP       Looking through documents produced by Kroger for reference to
                   "scheduling guidelines"
 2/08/22 JKP       Logging documents that were produced by Kroger
 2/08/22 JMS       Review of discovery documents regarding scheduling guidelines;
                   Correspondence to Sharon J. Sobers regarding the same
 2/08/22 JMS       Draft and revise final pretrial order
 2/08/22 JMS       Draft and revise stipulations; Conference with Sharon J. Sobers and
                   Matthew D. Soaper regarding the same
 2/08/22 JMS       Draft exhibit list
 2/08/22 JMS       Correspondence to opposing counsel regarding draft final pretrial order
 2/08/22 MDS Analyze defendants declarations in preparation for trial
 2/09/22 JKP       Logging documents that were produced by Kroger
 2/09/22 JMS       Correspondence with opposing counsel regarding final pretrial order;
                   Conference with Sharon J. Sobers and Matthew D. Soaper regarding the
                   same
 2/09/22 JMS       Draft exhibit list based upon review of discovery documents
 2/09/22 MDS Continue to analyze defendant's declarations
 2/09/22 SJS       Summarize Courtney Strosnider Deposition
 2/10/22 JKP       Locating, compiling, and organizing plaintiff's exhibits
 2/10/22 JMS       Prepare for and attend telephone conference with opt-in Kelly Rutledge;
                   Conference with Matthew D. Soaper regarding the same
 2/10/22 JMS       Review and revise exhibit list
 2/10/22 MDS Prepare for phone interview with Kelly Rutledge
 2/10/22 MDS Analyze Kelly Rutledge deposition
 2/10/22 MDS Phone interview with Kelly Rutledge
 2/10/22 MDS Trial planning meeting with Sharon J. Sobers and Josh M. Smith

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Hardesty, Joseph                                                                               May 24, 2022
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   Date Int        Professional Services                                                   Hours Amount
 2/10/22 MDS Continue to prepare summaries of non-opt in recruiters declarations
 2/10/22 SJS       Telephone conference with Joshua M Smith, Matthew D. Soaper
                   regarding witness list, witness testimony at trial, recruiter tasks
 2/10/22 SJS       Summarize Strosnider Deposition
 2/11/22 JKP       Locating, compiling, and organizing plaintiff's exhibits
 2/11/22 JKP       Logging documents produced by Kroger
 2/11/22 JMS       Draft witness list for pretrial order; Correspondence to Matthew D.
                   Soaper and Sharon J. Sobers regarding the same
 2/11/22 JMS       Receipt and review of memorandum from Matthew D. Soaper regarding
                   non-opt in recruiters and declaration notes
 2/11/22 MDS Review witness list
 2/11/22 MDS Continue to review defendant's declarations
 2/11/22 SJS       Summarize Briana Whitlow Deposition
 2/12/22 JMS       Review of revisions to final pretrial order
 2/12/22 JMS       Correspondence with Sharon J. Sobers and Matthew D. Soaper
                   regarding the same
 2/12/22 JMS       Draft revisions to damages spreadsheet; Review of documents to be
                   included as exhibits for trial
 2/14/22 JMS       Review of documents produced in discovery in preparing exhibit list;
                   Correpsondence to Sharon J. Sobers and Matthew D. Soaper x3
                   regarding the same
 2/14/22 JMS       Review and revise proposed stipulations; Correspondence to Sharon J.
                   Sobers and Matthew D. Soaper regarding the same
 2/14/22 JMS       Draft revisions to proposed pretrial order
 2/14/22 JMS       Telephone conference with opposing counsel regarding revisions to
                   pretrial order
 2/14/22 MDS Phone call with Sharon J. Sobers and Josh M. Smith discussing pretrial
             order
 2/14/22 MDS Phone call with opposing counsel and Josh M. Smith discussing pretrial
             order



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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours Amount
 2/14/22 MDS Review pretrial order edits sent by opposing counsel
 2/14/22 MDS Review witness list sent by opposing counsel
 2/14/22 MDS Review stipulated facts sent by opposing counsel
 2/14/22 MDS Review and separate defendants declarations
 2/14/22 PAS       Conference with Josh M. Smith regarding issues with damage
                   stipulation
 2/14/22 SJS       Summarize Briana Whitlow Deposition
 2/14/22 SJS       Telephone conference with Joshua M. Smith and Matthew D. Soaper
                   regarding FLSA trial
 2/15/22 JMS       Review of legal research from Sharon J. Sobers regarding just and
                   reasonable inference; Conference with Sharon J. Sobers regarding the
                   same
 2/15/22 JMS       Review of deposition summary of Briana Whitlow; Correspondence
                   with Sharon J. Sobers regarding the same
 2/15/22 JMS       Review of documents produced in discovery in order to prepare exhibit
                   list
 2/15/22 JMS       Review of Kroger common review guidelines; Conference with
                   Matthew D. Soaper and Sharon J. Sobers regarding the same as it
                   pertains to damages
 2/15/22 JMS       Draft revisions to exhibit list
 2/15/22 MDS Participate in meeting with Sharon J. Sobers and Josh M. Smith
             discussing damage calculation
 2/15/22 MDS Conduct research on damages
 2/15/22 MDS Continue to prepare jury instructions
 2/15/22 MDS Review employee handbook for policies regarding overtime
 2/15/22 PAS       Conference with Josh M. Smith regarding issues with damage
                   stipulation
 2/15/22 SJS       Review/Revise Matthew D. Soaper's draft of Plaintiffs'
                   Liability/Damage Jury Instructions, legal research on "just and
                   reasonable inference"



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Hardesty, Joseph                                                                                May 24, 2022
FLSA                                                                                       Invoice #: 790903


   Date Int        Professional Services                                                    Hours Amount
 2/15/22 SJS       Telephone conference with Joshua M. Smith and Matthew D. Soaper
                   regarding "just & reasonable inference"
 2/15/22 SJS       Telephone conference with Joshua M. Smith regarding Kroger handbook
                   policy regarding overtime in weeks with holiday pay, locate handbook
                   reference in Strosnider deposition
 2/16/22 JKP       Locating, compiling, and organizing plaintiff's exhibits
 2/16/22 JKP       Meeting with Josh M. Smith and Matthew D. Soaper regarding exhibit
                   and exhibit lists
 2/16/22 JKP       Formatting and sending the pretrial order
 2/16/22 JMS       Review and revise exhibit list
 2/16/22 JMS       Review and revise witness list; Correspondence with opposing counsel
                   regarding the same
 2/16/22 JMS       Review of defendant's revised exhibit list
 2/16/22 JMS       Review of defendant's witness list
 2/16/22 JMS       Conference with Jessica K. Peterson regarding submission of proposed
                   final pretrial order
 2/16/22 JMS       Receipt and review of proposed jury instructions; Review of Monroe v.
                   FTS proposed jury instructions; Review of ED Tenn jury instructions
                   example; Conference with Matthew D. Soaper and Sharon J. Sobers
                   regarding jury instructions
 2/16/22 JMS       Review of monroe v. FTS proposed jury instructions
 2/16/22 JMS       Review of ED Tenn jury instructions example
 2/16/22 JMS       Conference with Matthew D. Soaper and Sharon J. Sobers regarding
                   jury instructions
 2/16/22 JMS       Legal research regarding damages evidence at trial
 2/16/22 JMS       Review of Baden-Winterwood; Correspondence with Sharon J. Sobers
                   regarding the same
 2/16/22 MDS Conduct legal research on prejudgment interest
 2/16/22 MDS Prepare a spreadsheet of damages regarding salaries, start and end dates,
             and overtime rates



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   Date Int        Professional Services                                                        Hours Amount
 2/16/22 MDS Participate in meeting with Josh M. Smith regarding witness lists and
             exhibits
 2/16/22 MDS Prepare and submit updates to exhibit list for trial
 2/16/22 PAS       Conference with Josh M. Smith regarding identification of affirmations
                   at trial and trial exhibits
 2/16/22 PAS       Receipt and review of correspondence from opposing counsel x3
                   regarding exchange of exhibits
 2/16/22 SJS       Review Baden-Winterwood decision; Review Plaintiffs' Liability Jury
                   Instructions; Email Liability Jury Instructions to Joshua M. Smith; Email
                   comments on Baden-Winterwood decision to Joshua M. Smith
 2/16/22 SJS       Review Plaintiffs' damage Jury Instructions having jurors determine
                   number of overtime hours Plaintiffs worked; Forward Plaintiffs' damage
                   Jury Instructions to Joshua M. Smith
 2/16/22 SJS       Review Exhibit List, email Jury Interrogatories on damages with
                   suggestion for McFarland doing damage calculations
 2/16/22 SJS       Telephone conference with Joshua M. Smith regarding exhibits for data
                   behind summaries
 2/17/22 JKP       Locating, compiling, and organizing defendants' exhibits
 2/17/22 JMS       Draft revisions to summary of facts to be read to jury; Correspondence
                   with Sharon J. Sobers regarding the same
 2/17/22 JMS       Draft revisions to juror interrogatories
 2/17/22 JMS       Correspondence with opposing counsel regarding jury instruction
                   deadline
 2/17/22 JMS       Receipt and review of damages stipulations spreadsheet; Conference
                   with Matthew D. Soaper regarding the same
 2/17/22 JMS       Review and revise jury instructions as to liability; Correspondence to
                   Sharon J. Sobers regarding the same
 2/17/22 MDS Continue to prepare damage stipulation spreadsheet
 2/17/22 MDS Review and analyze defendants list of exhibits with regards to possible
             motions in limine
 2/17/22 MDS Conduct legal research on 30(b)(6) deposition witnesses at trial



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                                 Stagnaro, Saba & Patterson Co., L.P.A.

Hardesty, Joseph                                                                                       May 24, 2022
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   Date Int        Professional Services                                                           Hours   Amount
 2/17/22    SJS    Revise Plaintiffs' Jury Instrnctions, revise Nature of the Case Instrnction,
                   draft Summary of the Case For Beginning of Trial, telephone conference
                   with Joshua M. Smith regarding how to present damages, how to present
                   administrative exemption during opening
 2/17/22    SJS    Email Summary of the Case to Joshua M. Smith, review Joshua M.
                   Smith damage intenogatories, reply to Joshua M. Smith regarding same
 2/ 17/22   SJS    Telephone conference with Joshua M. Smith regarding damages
 2/ 17/22   SJS    Shepardize Baden-Winterwood
 2/17/22    SJS    Research US Dept of Labor v. Cole, Takacs decisions

 2/ 18/22   JKP    Locating, compiling, and organizing plaintiffs exhibits
 2/ 18/22   JKP    Cross-referencing and compiling a list of joint exhibits for both patties

 2/18/22    JMS    Legal research regarding jury instrnctions; Review of Herny v. Quicken
                   Loans instructions; Conespondence with Sharon J. Sobers regarding the
                   same
 2/ 18/22   JMS    Review of joint exhibit list; Conespondence with opposing couns el
                   regarding the same; Conference with Sharon J. Sobers regarding joint
                   exhibits
 2/18/22    JMS    Draft and revise damages stipulations; Conespondence to Matthew D.
                   Soaper and Shai·on J. Sobers regarding the same
 2/18/22    JMS    Revise juror interrogatories and verdict fo1m; Conespondence to Shai·on
                   J. Sobers regarding the same; Telephone conference with Sharon J.
                   Sobers regai·ding the same
 2/18/22    MDS    Conduct legal reseai·cl1 on jury instmctions submitted in similai· cases
 2/ 18/22   MDS    Attend a trial planning meeting with Sharon J. Sobers and Josh M. Smith

 2/18/22    MDS    Continue to prepare jury instrnctions
 2/ 18/22   MDS    Continue to review exhibits submitted by opposing counsel for potential
                   motions in limine
 2/ 18/22   SJS    Exchange emails regarding damage calculation spreadsheet, damage
                   calculation proposals
 2/19/22    JMS    Draft and revise jmy instmctions; Legal research regai·ding the same;
                   Co1Tespondence with Matthew D. Soaper and Shai·on J. Sobers
                   regarding the same


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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 2/19/22 JMS       Legal research regarding Ohio claims and applicability to opt-in
                   plaintiffs; Correspondence to Sharon J. Sobers and Matthew D. Soaper
                   regarding the same
 2/19/22 SJS       Begin summary of Buck Moffett deposition
 2/19/22 SJS       Review Joshua M. Smith draft of Plaintiffs' Liability Jury Instructions,
                   forward Jury Instruction Review to Joshua M. Smith
 2/20/22 JMS       Draft and revise jury instructions
 2/21/22 JKP       Locating, compiling, and organizing plaintiffs' exhibits
 2/21/22 JKP       Filing and serving jury instructions
 2/21/22 JMS       Draft jury instructions; Conferences with co-counsel regarding the same
 2/21/22 MDS Prepare jury instructions with regards to citations
 2/21/22 MDS Attend a trial planning meeting with Josh M. Smith and Sharon J. Sobers
 2/21/22 PAS       Receipt and review of correspondence from opposing counsel x2
                   regarding additional documents located by opposing counsel and jury
                   instructions; Review of opposing counsel jury instructions; Conference
                   with Josh M. Smith regarding issues with the jury instructions; Receipt
                   and review of correspondence from the Court regarding jury instructions
 2/21/22 SJS       Review/revise Liability Jury Instructions; Email revised Instructions to
                   Joshua M. Smith; Review Matthew D. Soaper's revisions to damage
                   instructions
 2/21/22 SJS       Review Pierce decisions
 2/22/22 JKP       Preparing and organizing binders for the pretrial conference
 2/22/22 JKP       Calling plaintiffs and scheduling times to prepare for trial with Josh M.
                   Smith and Matthew D. Soaper
 2/22/22 JMS       Review of exhibits and trial materials in preparation for final pretrial
                   conference; Conference with Peter A. Saba regarding the same
 2/22/22 JMS       Review of defendant's proposed jury instructions; Draft outline of
                   objections to the same; Correspondence with Sharon J. Sobers regarding
                   the same
 2/22/22 JMS       Draft cross-examination of Rana Schiff
 2/22/22 MDS Conduct legal research on the production of new documents and prepare
             motion in limine to exclude newly produced documents

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Hardesty, Joseph                                                                                     May 24, 2022
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   Date Int        Professional Services                                                         Hours Amount
 2/22/22 PAS       Conference with Josh M. Smith regarding review of all pre-trial issues;
                   Outline of all questions for voir dire and theme of litigation
 2/22/22 SJS       Quick Preview of Matthew D. Soaper's Motion in Limine regarding
                   Kroger's recently produced documents
 2/22/22 SJS       Draft Plaintiffs' Responses to Defendant's Jury Instructions not requiring
                   legal research
 2/22/22 SJS       Telephone conference with Joshua M. Smith regarding Jury Instructions
 2/22/22 SJS       Email Pierce decisions to Joshua M. Smith
 2/22/22 SJS       Identify issues, make redline of Defendant's Jury Instructions
 2/22/22 SJS       Telephone conference with Joshua M. Smith regarding Pretrial
                   tomorrow
 2/23/22 JKP       Locating, compiling, and organizing plaintiff's exhibits
 2/23/22 JKP       Updating plaintiff exhibit list
 2/23/22 JKP       Updating joint exhibits
 2/23/22 JKP       Updating defendants' exhibits
 2/23/22 JMS       Prepare for and attend final pretrial conference
 2/23/22 JMS       Draft damages proposal and stipulations; Correspondence to Peter A.
                   Saba and Matthew D. Soaper regarding the same
 2/23/22 JMS       Draft cross-examination of Rana Schiff
 2/23/22 JMS       Review of joint exhibit list revisions; Correspondence with opposing
                   counsel regarding the same
 2/23/22 JMS       Conference with Peter A. Saba regarding trial preparation and voir dire
 2/23/22 JMS       Review of performance evaluations produced late
 2/23/22 MDS Continue to prepare motion in limine to exclude newly produced
             documents
 2/23/22 MDS Attend the pretrial hearing
 2/23/22 MDS Phone conversation with Sharon J. Sobers regarding motion in limine
 2/23/22 MDS Conduct legal research on the exclusion of subsequent remedial
             measures


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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours   Amount
 2/23/22   PAS     Prepare for and attend the Pre-Trial
 2/23/22   PAS     Receipt and review of coITespondence from the Comt
 2/23/22   PAS     Receipt and review of coITespondence from opposing counsel regarding
                   joint exhibits
 2/23/22   PAS     Review of settlement proposal
 2/23/22   SJS     Attend Pretrial Conference
 2/23/22   SJS     Review Matthew D. Soaper's Motion in Limine, telephone conference
                   with Matthew D. Soaper regarding Motion in Limine, draft outline of
                   discussion with Matthew D. Soaper at Matt's request
 2/24/22   JKP     Updating defendants' exhibits
 2/24/22   JKP     Locating, compiling, and organizing plaintiffs' exhibits
 2/24/22   JMS     Review of draft objections to jmy instmctions; Draft revisions to the
                   same
 2/24/22   JMS     Prepare cross-examination of Rana Schiff
 2/24/22   JMS     Review of motion in limine regarding late produced documents;
                   CoITespondence to Sharon J. Sobers and Matthew D. Soaper regarding
                   the same
 2/24/22   JMS     Draft coITespondence to defendant's counsel regarding damages
                   stipulations and settlement proposal; CoITespondence to Peter A. Saba
                   and Sharon J. Sobers regarding the same; Draft revisions
 2/24/22   JNIS    CoITespondence to named plaintiffs regarding damages proposal;
                   CoITespondence to opposing counsel; Telephone conference with
                   opposing counsel
 2/24/22   JMS     Legal research regarding liquidated damages
 2/24/22   MDS     Continue to prepare motion in limine regarding recently produced
                   documents
 2/24/22   MDS     Review damages spreadsheet and settlement letter
 2/24/22   MDS     Continue to conduct legal research on subsequent remedial measmes
 2/24/22   PAS     Review and revise the settlement proposal; Conference with Josh M.
                   Smith regarding revisions to the settlement demand; Finalize the
                   settlement demand


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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours Amount
 2/24/22 SJS       Continue work on Response to Defendants' Jury Instructions that do not
                   require legal research, email proposed response to Joshua M. Smith
 2/24/22 SJS       Review Matthew D. Soaper's Motion in Limine to preclude recently
                   produced Kroger documents
 2/24/22 SJS       Legal research regarding liquidated damages under Ohio law
 2/24/22 SJS       Legal research regarding Defendant's willfulness instruction
 2/24/22 SJS       Telephone conference with Joshua M. Smith regarding response to
                   Defendant's Jury Instructions
 2/25/22 JKP       Locating, compiling, and organizing plaintiffs' exhibits
 2/25/22 JKP       Calling plaintiffs to schedule time to meet with Josh M. Smith and
                   Matthew D. Soaper for trial prep
 2/25/22 JKP       Drafting subpoenas for Kroger management personnel to be called at
                   trial
 2/25/22 JMS       Review and revise motion in limine regarding performance evaluations;
                   Conference with Sharon J. Sobers and Matthew D. Soaper regarding
                   revisions
 2/25/22 JMS       Telephone conference with Matthew D. Soaper and Sharon J. Sobers
                   regarding motions in limine
 2/25/22 JMS       Conference with Peter A. Saba regarding damages and liquidated
                   damages; Conference with Sharon J. Sobers regarding the same
 2/25/22 JMS       Legal research regarding Ohio wage claims and damages calculations
 2/25/22 JMS       Telephone conference with opposing counsel regarding damages
                   stipulations
 2/25/22 JMS       Correspondence to named plaintiffs regarding damages proposal
 2/25/22 JMS       Correspondence to opposing counsel
 2/25/22 MDS Continue to prepare motions in limine
 2/25/22 MDS Trial preparation meeting with Sharon J. Sobers and Josh M. Smith
             regarding motions in limine
 2/25/22 MDS Conduct legal research surrounding collective action members
 2/25/22 MDS Conduct legal research on 30(b)(6) designations at trial



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 2/25/22 PAS       Conference with Josh M. Smith regarding calculation of liquidated
                   damages and additional motions in limine
 2/25/22 SJS       Review Monahan briefing regarding Ohio wage law claims
 2/25/22 SJS       Telephone conference with Joshua M.Smith, Matthew D. Soaper
                   regarding Ohio liquidated damage calculation
 2/25/22 SJS       Draft Plaintiffs' responses to Defendant's Jury Instructions regarding,
                   Primary Duty, Administrative Exemption, Representative Testimony,
                   and Questions of Law/Fact, email Finalized Responses to Joshua M.
                   Smith
 2/25/22 SJS       Telephone conference with Joshua M. Smith, Matthew D. Soaper
                   regarding Motions in Limine that are needed
 2/27/22 JMS       Revise and revise objections to defendant's proposed jury instructions
                   and verdict form; Legal research regarding the same; Correspondence to
                   Matthew D. Soaper and Sharon J. Sobers regarding the same
 2/27/22 JMS       Receipt and review of revised motion in limine pertaining to late
                   produced documents; Correspondence with Matthew D. Soaper and
                   Sharon J. Sobers regarding the same
 2/27/22 JMS       Review and revise draft motion in limine pertaining to late-produced
                   documents; Correspondence to Matthew D. Soaper and Sharon J. Sobers
                   regarding the same
 2/27/22 JMS       Draft motion in limine pertaining to employee discipline; Legal research
                   regarding the same
 2/27/22 MDS Continue to prepare motions in limine
 2/27/22 PAS       Review and revise the objections to the jury instructions
 2/28/22 JKP       Drafting subpoenas for Kroger management personnel to be called at
                   trial
 2/28/22 JKP       Locating, compiling, and organizing plaintiffs' exhibits
 2/28/22 JKP       Drafting an affidavit for a motion in limine
 2/28/22 JKP       Editing, formatting, filing, and serving objections to defendants'
                   proposed jury instructions and motions in limine
 2/28/22 JMS       Review and revise objections to defendant's proposed jury instructions;
                   Conference with Sharon J. Sobers regarding the same; Conference with
                   Peter A. Saba regarding the same

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   Date Int        Professional Services                                                      Hours   Amount
 2/28/22   JMS     Review and revise motions in limine x3; Conference with Matthew D.
                   Soaper regarding the same; Conference with Sharon J. Sobers regai-ding
                   the same
 2/28/22   JMS     Receipt and review of defendant's motion in limine; Receipt and review
                   of defendant's objections to plaintiffs proposed jmy instrnctions, and
                   supplemental instrnction; Conespondence to Matthew D. Soaper,
                   Sharon J. Sobers, and Peter A. Saba regarding the same
 2/28/22   JMS     Review of deposition of Derek Chipman in preparation for client
                   meeting; Draft deposition summary and direct exam practice questions
 2/28/22   MDS     Continue to prepare motions in limine
 2/28/22   MDS     Continue to prepare motions in Limine
 2/28/22   MDS     Conduct legal research on collective action members opting out
 2/28/22   PAS     Receipt and review of conespondence from the Court x4
 2/28/22   PAS     Conference with Josh M. Smith regarding changes to the Jmy instrnction
                   objections
 2/28/22   SJS     Review Joshua M. Smith revisions to Responses to Defendant's
                   Proposed Jmy Instrnctions, review revisions to Motion in Limine
                   regarding Defendant's recent document production, fo1wai·d redlines to
                   Joshua M. Smith
 2/28/22   SJS     Conference with Joshua M. Smith in office regarding jmy instrnctions,
                   motions in limine, time records, tasks for trial
 2/28/22   SJS     Review Motion in Limine regai·ding Disciplinai·y Actions, review Joshua
                   M. Smith revisions to Plaintiffs' Responses to Defendant's Jmy
                   Instrnctions, telephone conference with Joshua M. Smith regarding
                   redline of Plaintiffs Responses to Defendant's Jmy Instrnctions,
                   telephone conference with Joshua M. Smith regai·ding trial thesis
 3/01/22   JKP     Compiling a binder of Derek Chipman's deposition materials
 3/01/22   JMS     Prepai·e for and attend trial preparation session with Derek Chipman;
                   Draft memo to file regai·ding the same
 3/01/22   JMS     Telephone conference with opposing counsel regai·ding settlement;
                   Co1Tespondence with Peter A. Saba regarding the same; Review and
                   revise conespondence to opposing counsel regai·ding offer of settlement




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Hardesty, Joseph                                                                                May 24, 2022
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   Date Int        Professional Services                                                    Hours Amount
 3/01/22 JMS       Legal research regarding class certification denial and
                   reconsideration/appeal
 3/01/22 JMS       Review of deposition transcript of Joseph Hardesty in preparation for
                   trial
 3/01/22 JMS       Correspondence with the court regarding update to settlement
                   discussions
 3/01/22 MDS Prepare for trial preparation regarding Derek Chipman
 3/01/22 MDS Participate in trial preparation for Derek Chipman with Josh M. Smith
 3/01/22 MDS Conduct legal research regarding company policies surrounding
             overtime as they relate to FLSA
 3/01/22 MDS Transcribe notes from Derek Chipman trial preparation
 3/01/22 PAS       Receipt and review of correspondence from the Court
 3/01/22 PAS       Conference with Josh M. Smith regarding response to settlement issues
                   and terms of the settlement demand
 3/01/22 PAS       Review of parameters of settlement demand
 3/01/22 PAS       Receipt and review of correspondence from opposing counsel
 3/01/22 SJS       Work on Trial Brief
 3/01/22 SJS       Exchange emails with Joshua M. Smith regarding settlement letter
 3/02/22 JKP       Searching for Briana Whitlow and Chris Weiler contact information on
                   Lexis
 3/02/22 JKP       Compiling a binder of Joseph Hardesty's deposition materials
 3/02/22 JKP       Formatting settlement letter
 3/02/22 JKP       Meeting with Matthew D. Soaper and Josh M. Smith regarding
                   subpoenas and client interviews
 3/02/22 JKP       Preparing trial subpoenas for Briana Whitlow and Chris Weiler
 3/02/22 JKP       Compiling a binder of Kroger training materials produced in discovery
 3/02/22 JMS       Correspondence with Joseph Hardesty regarding deposition transcript
                   and review of same
 3/02/22 JMS       Correspondence to Corbin Hom regarding trial preparation


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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours   Amount
 3/02/22   JMS     Draft and revise settlement conespondence to opposing counsel;
                   Conference with Peter A. Saba regarding the same
 3/02/22   JMS     Review of deposition transcript of Joe Hardesty in preparation for
                   meeting with client
 3/02/22   JMS     Review of plaintiffs exhibits in preparation for opening statements;
                   Begin drafting of same
 3/02/22   JMS     Review and revise subpoena cover letter to Briana Whitlow;
                   Conespondence to Matthew D. Soaper regarding the same
 3/02/22   JMS     Telephone conference with Sharnn J. Sobers regarding issues pertaining
                   to class ce1iification and settlement
 3/02/22   JMS     Draft and revise cross-examination of Rana Schiff
 3/02/22   JMS     Legal research regarding class representative awards in FLSA litigation
 3/02/22   JMS     Telephone conference with Joseph Hardesty regarding deposition
 3/02/22   MDS     Prepare for trial preparation regarding Joseph Hardesty; Prepare
                   subpoena cover letter for Briana Whitlow and Chris Weiler; Conduct
                   research regarding federal subpoenas
 3/02/22   MDS     Prepare subpoena cover letter for Briana Whitlow and Chairs Weiler
 3/02/22   MDS     Conduct research regarding federal subpoenas
 3/02/22   PAS     Review and revise the settlement demand
 3/02/22   PAS     Conference with Josh M. Smith regarding issues with allocations of
                   service fee to named plaintiffs
 3/02/22   PAS     Receipt and review of conespondence from opposing counsel regarding
                   witnesses present at trial and subpoenas
 3/02/22   SJS     Telephone conference with Joshua M. Smith, two times regarding
                   settlement, telephone conference with John Marshall, OELA attorney in
                   Columbus, regarding putting award for Named Plaintiffs in Settlement
                   Demand
 3/02/22   SJS     Read Clarke v Baptist Memorial Hospital, Kirsh, legal research
                   regarding Intervention to appeal denial of23(b) class ce1iification
 3/03/22   JKP     Fo1matting and sending trial subpoenas to Briana Whitlow and Chris
                   Weiler
 3/03/22   JKP     Creating and updating settlement memo

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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int         Professional Services                                                       Hours   Amount
 3/03/22   JKP      Labeling and organizing documents for trial
 3/03/22   JMS      Prepare for and attend witness preparation session with Amanda Gayha1t
                    and Rhonda Flm; Conference with Matthew D. Soaper regarding the
                    same
 3/03/22   JMS      Draft opening argument
 3/03/22   JMS      Draft memorandum in opposition to Kroger motion in limine pe1taining
                    to re-classification decision; Legal research regarding same;
                    Conespondence to Sharon J. Sobers and Matthew D. Soaper regarding
                    the same
 3/03/22   JNIS     Conespondence with named plaintiffs regarding conference call and
                    settlement discussions
 3/03/22   JMS      Telephone conference with opposing counsel regarding response to
                    settlement demand; Telephone conference with Peter A. Saba and
                    Sharon J. Sobers regarding the same; Draft settlement memo regarding
                    responsive offer; Draft proposed response
 3/03/22   JMS      Conference with Matthew D. Soaper regaridng potential contact with
                    Lamie White and ethical issues smTounding same; Receipt and review
                    of memo from Matthew D. Soaper regarding communications with
                    employees and witnesses of opposing pruty
 3/03/22   :tvIDS   Prepru·e for trial preparation regarding Amanda Gayhrut and Rhonda
                    Furr
 3/03/22   :tvIDS   Pru·ticipate in trial prepru·ation for Amanda Gayha1t and Rhonda Fun
                    with Josh M . Smith
 3/03/22   :tvIDS   Transcribe notes from Amanda Gayha1t and Rhonda Fmr trial
                    preparation
 3/03/22   :tvIDS   Conduct legal reseru·ch on the ability to contact the opposing pa1ty's
                    witness
 3/03/22   :tvIDS   Conduct legal research on the ability to sequester a plaintiff
 3/03/22   PAS      Review and revise the settlement demand for opposing counsel;
                    Conference with Josh M. Smith and Shru·on J. Sobers regarding terms of
                    counter proposal; Conference with Jeffrey G. Stagnru·o regru·ding issues
                    with the counter proposal




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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 3/03/22 SJS       Review/revise Memo regarding Intervention to appeal denial of 23(b)
                   class action certification/Appeal by settling named Plaintiffs to protect
                   attorney fees, forward Memo regarding Intervention/Appeal following
                   settlement to Joshua M. Smith
 3/03/22 SJS       Telephone conference with Joshua M. Smith regarding settlement,
                   telephone conference with Joshua M. Smith, Peter A. Saba regarding
                   settlement
 3/03/22 SJS       Forward Chip Amann Voire Dire to Joshua M. Smith
 3/04/22 JKP       Labeling and organizing documents for trial
 3/04/22 JKP       Proofreading and formatting motions in limine
 3/04/22 JMS       Draft objections to defendants' supplemental jury instruction; Legal
                   research regarding the same, including fluctuating workweek method
 3/04/22 JMS       Prepare for and attend telephone conference with named plaintiffs and
                   Peter A. Saba regarding settlement discussions
 3/04/22 JMS       Conference with Matthew D. Soaper regarding opposition to defendants'
                   motion in limine regarding Kroger policy on overtime
 3/04/22 JMS       Conference with Matthew D. Soaper regarding correspondence and
                   communications with opt-ins regarding trial preparation
 3/04/22 JMS       Conference with Matthew D. Soaper and Jessica K. Peterson regarding
                   subpoenas and service of same
 3/04/22 JMS       Review and revise order of witnesses for trial; Preparation surrounding
                   direct exam questions for opt-ins
 3/04/22 MDS Prepare for trial preparation meeting with Rondalyn West
 3/04/22 MDS Phone call with Christopher Wieler regarding witness subpoena
 3/04/22 MDS Phone conversation with Ohio Ethics Board regarding Laurie White
 3/04/22 MDS Phone call with Rondalyn West regarding testifying at trial
 3/04/22 MDS Prepare a response to Kroger's Motion in Limine
 3/04/22 PAS       Conference call with all named plaintiffs to review current settlement
                   posture and settlement strategy; Conference with Josh M. Smith
                   regarding settlement parameters
 3/04/22 SJS       Further review of Trial Brief, legal research regarding Sixth Circuit
                   cases analyzing CFR 541.202(b)

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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours   Amount
 3/04/22   SJS     Add Novartis material to Trial Brief

 3/04/22   SJS     Add other Sixth Circuit case addressing CFR 541.202 to Trial Brief

 3/05/22   JMS     Revise memorandum in opposition to defendant's motion in limine;
                   Correspondence to Sharon J. Sobers and Matthew D. Soaper regarding
                   the same
 3/05/22   JMS     Draft and revise objections to defendants' requested supplemental jmy
                   instmction, and memorandum in support; Correspondence to Sharon J.
                   Sobers, Peter A. Saba, and Matthew D. Soaper regarding the same

 3/05/22   JMS     Correspondence to Jessica K. Peterson regarding jmor questionnaires
                   and responses, and requesting same; Review of court standing order
                   pe1taining to same
 3/05/22   MDS     Continue to prepare motion in opposition to Kroger's Motion in Li.mine

 3/05/22   SJS     Add section on Peny v Randstad to Trial Brief
 3/05/22   SJS     Draft section of Trial Brief regarding other factors affecting
                   Administrative Exemption analysis

 3/05/22   SJS     Legal research regarding cases addressing 29 CFR 541.202(e)

 3/05/22   SJS     Review 23(b) ce1tification argument for Trial Brief

 3/05/22   SJS     Review/revise Trial brief after review of McFarland decision on
                   summary judgment
 3/06/22   JMS     Review and revise memorandum in opposition to motion in limine;
                   Legal research regarding the same

 3/06/22   JMS     Review of exhibits in preparation for trial; Draft order of witnesses

 3/06/22   JMS     Preparation and revisions to opening statements for trial

 3/07/22   JGS     Telephone conference with Peter A. Saba regarding settlement
                   negotiations
 3/07/22   JKP     Updating the documents in the binder for Kroger training materials

 3/07/22   JKP     Proofreading, fonnatting, and filing motions in limine and response to
                   supplemental jury instruction

 3/07/22   JKP     Labeling and reorganizing the joint exhibits for trial
 3/07/22   JKP     Drafting a notice of service of subpoena for Chris Weiler



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   Date Int        Professional Services                                                        Hours Amount
 3/07/22 JMS       Revise correspondence to opposing counsel regarding counterdemand;
                   Conference with Peter A. Saba regarding the same; Correspondence to
                   opposing counsel regarding counterdemand
 3/07/22 JMS       Review and revise memorandum in opposition to Kroger motion in
                   limine
 3/07/22 JMS       Revise objections to defendants' supplemental proposed jury instructions
 3/07/22 JMS       Review of draft trial brief; Correspondence to Sharon J. Sobers
                   regarding the same
 3/07/22 JMS       Telephone conference with Peter A. Saba regarding settlement
                   counteroffer and response
 3/07/22 JMS       Review of deposition of Matt Taske in preparation for witness session
 3/07/22 JMS       Travel to and review of courtroom technology in preparation for trial
 3/07/22 JMS       Receipt and review of Kroger's memorandum in opposition to motions
                   in limine
 3/07/22 MDS Prepare demonstrative exhibits for trial
 3/07/22 MDS Prepare stipulations to exhibits
 3/07/22 MDS Prepare updated exhibit list
 3/07/22 MDS Prepare an email to Corbin Hom regarding trial
 3/07/22 MDS Prepare for Matt Taske trial preparation
 3/07/22 PAS       Review and revise the settlement demand counter to opposing counsel;
                   Receipt and review of correspondence from opposing counsel regarding
                   settlement offer; Conference with Josh M. Smith regarding settlement
                   proposal response; Conference with Jeffrey G. Stagnaro regarding
                   settlement response
 3/07/22 SJS       Review/revise Trial Brief draft, forward draft to Joshua M. Smith
 3/07/22 SJS       Email Joshua M. Smith setting forth comments on our
                   response/objections to the Defendant's Request for Supplemental Jury
                   Instruction regarding fluctuating workweek
 3/08/22 JGS       Review of correspondences regarding settlement negotiations; telephone
                   calls with Peter A. Saba regarding settlement negotiations
 3/08/22 JKP       Compiling and organizing plaintiffs' exhibits and putting them in binders
                   for trial

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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 3/08/22 JMS       Prepare for and attend trial preparation session with Madeline Hickey
 3/08/22 JMS       Draft and revise opening argument, voir dire questions
 3/08/22 JMS       Multiple conferences with Peter A. Saba and named reps regarding
                   settlement discussions
 3/08/22 JMS       Review of Joseph Hardesty deposition transcript
 3/08/22 MDS Continue to prepare demonstrative exhibits for trial
 3/08/22 MDS Prepare for trial preparation meeting with Madeline Hickey
 3/08/22 MDS Trial preparation meeting with Madeline Hickey
 3/08/22 MDS Continue to prepare stipulated exhibits list
 3/08/22 PAS       Conference with Josh M. Smith regarding parameters of settlement
                   proposal; Review and revise the settlement calculation; Review of
                   exhibits for admissibility stipulation issues; Receipt and review of
                   correspondence from opposing counsel regarding settlement
                   negotiations; Conference with Jeffrey G. Stagnaro regarding settlement
 3/08/22 SJS       Review Monroe I, Canady, Garcia, and Trial Brief draft, start drafing
                   representative evidence section of Trial Brief regarding liability, i.e.
                   does jury make a decision regarding whether Plaintiffs are "similarly
                   situated"
 3/09/22 JGS       Review of correspondence regarding settlement negotiations: telephone
                   conference with Peter A. Saba regarding settlement negotiations
 3/09/22 JKP       Compiling and organizing plaintiffs' exhibits and putting them in binders
                   for trial
 3/09/22 JKP       Compiling and organizing joint exhibits and putting them in binders for
                   trial
 3/09/22 JKP       Travelling and giving the exhibit binders to the Court
 3/09/22 JMS       Prepare for and attend witness preparation session with Joe Hardesty and
                   Matthew D. Soaper
 3/09/22 JMS       Review of trial brief; Conference with Sharon J. Sobers regarding the
                   same; Draft revisions to same
 3/09/22 JMS       Conferences with Peter A. Saba and named representatives regarding
                   settlement negotiations



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   Date Int        Professional Services                                                       Hours   Amount
 3/09/22    JMS    Prepare for and attend witness preparation session with Kelly Rutledge;
                   Conference with Matthew D. Soaper regarding the same
 3/09/22    JMS    Prepare and revise cross exam of Buck Moffett; Review of Moffett
                   deposition
 3/09/22    JMS    Review of exhibits; Conference with Jessica K. Peterson regarding
                   additional/revised exhibits, including badge ID swipes
 3/09/22    MDS    Continue to prepare demonstrative exhibits
 3/09/22    MDS    Prepare for trial preparation with Joe Hardesty
 3/09/22    MDS    Conduct trial preparation with Joe Hardesty
 3/09/22    MDS    Deliver exhibits to the federal courthouse
 3/09/22    MDS    Prepare a letter for Rhonda FmT regarding her testimony at trial for her
                   employer
 3/09/22    MDS    Prepare for trial preparation with Kelly Rutledge
 3/09/22    MDS    Conduct trial preparation with Kelly Rutledge
 3/09/22    PAS    Conference with Jeffrey G. Stagnaro regarding summary of past
                   settlement negotiations and next response; Conference with Josh M.
                   Smith regarding issues with settlement negotiations and break down of
                   the settlement; Receipt and review of conespondence from opposing
                   counsel x3 regarding deposition exhibits, settlement; Receipt and review
                   of co1Tespondence from the Comt
 3/09/22    SJS    Draft and revise Trial Brief section arguing that jmy does not make
                   decision that plaintiffs are "similarly situated"
 3/09/22    SJS    Finish section of Trial Brief regarding using representative evidence to
                   determine damages
 3/09/22    SJS    Draft section of Trial Brief on reviving 23(b) class ce1iification,
                   telephone conference with Joshua M. Smith regarding moving up the
                   time to file Reply Brief, email draft of Trial Brief to Joshua M. Smith
 3/10/22    JKP    Compiling and organizing defendants' exhibits and putting them in
                   binders for trial
 3/ 10/22   JKP    Meeting with Peter A. Saba regarding trial preparations and details
 3/10/22    JKP    Obtaining the jmy questionnaires from the jmy commissioner
 3/10/22    JKP    Proofreading, formatting, filing, and serving trial brief

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Hardesty, Joseph                                                                                    May 24, 2022
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   Date Int        Professional Services                                                        Hours Amount
 3/10/22 JMS       Review and revise trial brief
 3/10/22 JMS       Review of exhibits and related documents in preparing opening
 3/10/22 JMS       Follow-up client preparation meeting/phone conference with Joe
                   Hardesty
 3/10/22 JMS       Conference with Peter A. Saba and Jessica K. Peterson regarding issues
                   related to evidence introduction and overcoming directed verdict
                   motions; Conference with Jessica K. Peterson regarding evidence charts
 3/10/22 JMS       Review and revise cross-exam of Rana Schiff
 3/10/22 JMS       Review and revise stipulations to exhibits and damages; Correspondence
                   to opposing counsel regarding the same
 3/10/22 MDS Prepare charts for trial regarding elements of plaintiff and defendants
             claims
 3/10/22 MDS Prepare for trial preparation with Kim Burchett
 3/10/22 MDS Prepare for trial preparation with Matt Taske
 3/10/22 MDS Prepare Matt Taske for trial
 3/10/22 PAS       Conference with Jessica K. Peterson regarding charts needed for voir
                   dire, exhibits, directed verdict
 3/10/22 PAS       Conference with Josh M. Smith regarding stipulations settlement issues
 3/10/22 PAS       Conference with Sharon J. Sobers regarding breakdown of elements for
                   directed verdict and Rule 23 (b) class
 3/10/22 PAS       Receipt and review of correspondence from the Jury commissioner
 3/10/22 PAS       Review of Jury questionnaires with Josh M. Smith
 3/10/22 SJS       Telephone conference with Joshua M. Smith regarding Trial Brief,
                   Kroger Job Description indicating recruiter job is a management position
 3/11/22 JGS       Telephone conferences with Peter A. Saba regarding settlement
                   negotiations
 3/11/22 JKP       Compiling and organizing plaintiffs' exhibits and putting them in binders
                   for trial
 3/11/22 JKP       Compiling and organizing joint exhibits and putting them in binders for
                   trial



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 3/11/22 JMS       Multiple telephone conferences and correspondence with co-counsel,
                   class reps regarding settlement negotiations
 3/11/22 JMS       Draft voir dire questions; Draft and revise opening
 3/11/22 JMS       Travel to courtroom and test equipment/technology
 3/11/22 JMS       Conference with opt-in Corbin Hom in preparation for trial
 3/11/22 MDS Continue to prepare charts for trial
 3/11/22 MDS Place phone calls to witnesses reminding them of the day they should
             attend trial and phone calls advising witnesses of settlement
 3/11/22 PAS       Receipt and review of correspondence from opposing counsel x4
                   regarding settlement; Telephone conference with opposing counsel x8
                   regarding settlement negotiations; Conference with Josh M. Smith
                   regarding settlement negotiations; Conference with Jeffrey G. Stagnaro
                   regarding settlement negotiations; Review and revise the allocation of
                   settlement with each demand; Receipt and review of correspondence
                   from the court; Revise and complete the allocation of final settlement;
                   Correspondence to opposing counsel x2
 3/14/22 JMS       Telephone conference with opposing counsel regarding settlement and
                   contact with court regarding conditional dismissal; Telephone
                   conference with Peter A. Saba regarding the same
 3/14/22 JMS       Telephone conference with the client regarding settlement and next steps
 3/14/22 PAS       Conference with Josh M. Smith regarding settlement procedure and next
                   steps for completing the case
 3/15/22 MDS Call Amanda Gayhart to discuss updates to the settlement
 3/15/22 PAS       Receipt and review of correspondence from the court; Receipt and
                   review of correspondence from opposing counsel
 3/16/22 MDS Prepare correspondence to class members regarding the case settlement
 3/17/22 JMS       Review of attorney's fees legal research and approval of fee awards
 3/22/22 JMS       Review and revise draft settlement agreement
 3/22/22 PAS       Receipt and review of correspondence from opposing counsel regarding
                   proposed settlement agreement
 3/23/22 JMS       Review and revise draft settlement agreement; Correspondence to Peter
                   A. Saba regarding the same


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Hardesty, Joseph                                                                                 May 24, 2022
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   Date Int        Professional Services                                                     Hours Amount
 3/26/22 JMS       Receipt and review of Peter A. Saba revisions to proposed settlement
                   agreement
 3/26/22 PAS       Review and revise the proposed settlement agreement; Conference with
                   Josh M. Smith regarding changes to the settlement agreement
 3/27/22 PAS       Conference with Jeffrey G. Stagnaro regarding issues with settlement
                   agreement and petition for attorney fees
 3/28/22 JMS       Revise correspondence to class members regarding settlement;
                   Correspondence to Jessica K. Peterson regarding the same
 3/28/22 JMS       Legal research regarding FLSA settlement and fee petitions; Conference
                   with Matthew D. Soaper regarding the same
 3/29/22 JKP       Formatting and sending out correspondence to plaintiffs regarding
                   settlement details
 3/29/22 JMS       Legal research regarding fee petitions in FLSA litigation; Conference
                   with Matthew D. Soaper regarding the same; Receipt and review of
                   memo regarding the same
 3/29/22 JMS       Telephone conference with the client regarding status update
 3/29/22 MDS Conduct legal research regarding attorneys fees relating to a settlement
             agreement
 3/30/22 MDS Continue to conduct legal research regarding attorneys fees; Prepare
             memorandum of finding
 3/30/22 SJS       Quick review of Hardesty/Kroger settlement agreement draft, email
                   Joshua M. Smith regarding "cy pres award"
 3/31/22 SJS       Review Hardesty/Kroger Settlement Agreement, email Joshua M. Smith
                   regarding Agreement
 4/01/22 JMS       Receipt and review of correspondence from Sharon J. Sobers regarding
                   settlement agreement and revisions to same
 4/06/22 JMS       Draft revisions to settlement agreement; Correspondence to Peter A.
                   Saba regarding the same
 4/06/22 PAS       Conference with Josh M. Smith regarding additional revisions to the
                   settlement agreement
 4/09/22 PAS       Review and finalize the proposed settlement agreement; Conference
                   with Josh M. Smith regarding final changes to the settlement agreement
                   and communication to opposing counsel

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Hardesty, Joseph                                                                                  May 24, 2022
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   Date Int        Professional Services                                                      Hours   Amount
 4/ 10/22   JMS    Receipt and review of Peter A. Saba revisions to settlement agreement;
                   Draft additional revisions to the same
 4/ 11/22   JMS    Review and revise settlement agreement; CoITespondence to opposing
                   counsel regarding the same; Review of fees in preparation for
                   submission of attorney's fee petition
 4/ 11/22   PAS    Conference with Josh M. Smith regarding review of final changes to
                   settlement agreement
 4/ 19/22   SJS    Pick up Hardesty FLSA Time Records at Office
 4/ 19/22   SJS    Review Hardesty FLSA time records
 4/20/22    PAS    Receipt and review of coITespondence from opposing counsel regarding
                   response to changes to the Settlement Agreement
 4/20/22    SJS    Review Hardesty FLSA Time Records
 4/21/22    SJS    Review Hardesty FLSA Time Records
 4/22/22    SJS    Review Hardesty FLSA Time Records
 4/22/22    SJS    Review Hardesty Settlement Agreement one more tin1e
 4/23/22    SJS    Finish Initial Review of Hardesty FLSA attorney time
 4/23/22    SJS    Review coITections to Hardesty FLSA attorney time review to assme
                   coITections can be followed
 4/23/22    SJS    Draft comments on the review of Hardesty FLSA attorney time
 4/25/22    JMS    Receipt and review of coITespondence from Sharon J. Sobers regarding
                   draft bills and revisions to time entries
 4/25/22    PAS    Conference with Josh M. Smith and Sharon J. Sobers regarding review
                   of changes to legal bills for attorneys fees application and settlement
                   agreement
 4/25/22    SJS    Finish review of Hardesty Settlement Agreement
 4/25/22    SJS    In office conference with Peter A. Saba, Joshua M. Smith, Amy Messer
                   regarding Hardesty FLSA attorney time; End of Job; Monahan litigation
                   regarding working through meal breaks.
 4/26/22    SJS    Review Amy L. Messer's comments/questions on Hardesty FLSA
                   attorney time



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Hardesty, Joseph                                                                                   May 24, 2022
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   Date Int        Professional Services                                                       Hours Amount
 4/27/22 JMS       Review of time entries for purposes of fee petition; Correspondence to
                   Amy L. Messer, Sharon J. Sobers, and Peter A. Saba regarding the same
 4/28/22 MDS Prepare and send an email to Amanda Gayhart regarding the status of
             the case
 4/28/22 PAS       Conference with James A. Stagnaro regarding issues with hours review
 4/29/22 JMS       Review of draft bills for purposes of fee petition; Conference with
                   Sharon J. Sobers regarding the same
 4/29/22 JMS       Correspondence to the named plaintiffs regarding release of claims and
                   confirmation; Telephone conference with named plaintiffs regarding the
                   same
 4/29/22 PAS       Review and revise the settlement agreement; Review and revise
                   information for the attorney fee petition; Conference with Josh M. Smith
                   regarding issues with information for Attorney fee petition
 5/03/22 PAS       Receipt and review of correspondence from the Court regarding
                   settlement status; Conference with Josh M. Smith regarding status of
                   settlement agreement and motion for approval
 5/04/22 PAS       Receipt and review of correspondence from opposing counsel x3
                   regarding final version of settlement agreement and contact with the
                   court; Receipt and review of correspondence from the court
 5/05/22 PAS       Receipt and review of correspondence from opposing counsel x2
                   regarding presentation to the court; Conference with Josh M. Smith
                   regarding issues with the court

                                     Professional Services


          Date Expenses                                                                                Amount
        1/27/16 Certified Mail
        2/09/16 Filing Fee
        2/10/16 Certified Mail
        2/22/16 UPS/FEDEX Shipping Charge
        8/04/16 FLSA phone line set-up
      11/02/16 Deposit

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Hardesty, Joseph                                                                 May 24, 2022
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          Date Expenses                                                              Amount
      11/30/16 Parking/Travel
      12/05/16 Deposition Invoice
      12/16/16 Parking/Travel
      12/21/16 Appearance Fee
      12/30/16 Court Reporter
        1/06/17 Transcript Invoice
        1/13/17 Transcript Invoice
        1/31/17 Class Action Web Page
        2/08/17 Attendance Fee
        4/25/17 Parking/Travel
        4/25/17 Parking/Travel
        4/30/17 Mileage
        5/25/17 Parking/Travel
        5/26/17 Parking/Travel
        5/26/17 Transcript Invoice
        6/08/17 Transcript Invoice
        6/08/17 Transcript Invoice
        6/09/17 Transcript Invoice
        6/13/17 Transcript Invoice
        6/16/17 Appearance Fee
        7/21/17 Transcript Invoice - Matt Taske
        7/21/17 Transcript Invoice
        1/26/22 Monthly Mail and Document Reproduction
        2/23/22 Parking/Travel
        3/03/22 Courier Fees
        3/03/22 B. Kenneh attendence and trial and mileage


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Hardesty, Joseph                                                                 May 24, 2022
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          Date Expenses                                                              Amount
       3/03/22 C. Weiler attendance at trial and mileage
       3/ 10/22 Parkingffravel
       3/11/22 Document Reproduction
       3/ 11/22 Binder costs for trial
       4/15/22 Legal Research

                                    Total Expenses

                                    Total This Invoice




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Amanda Gayhart w/2015 Merit         $
CbrislimBradley                     $
GrisMabbui                          $
Gris Mabbui w/ 2015 Merit           $
CoibinHom                           $
Crai M                              $
              w/ 2015Merit          $                  8/112015
                                    $                  7/612015
                                    $                    312015
          pman w/ 2015 Merit        $                  8/112015
Dommic Martin                       $                  /10/2014
Jacob ens,                          $                  120/2015 7/31/2016
Jacob ens, w/ 2016 Merit            $                  8/1120~ 9/2016
Jalom Jolmson - -                   $                    112016 7/31/2016
            nw/ 22.!_6~erit         $                           12/1/201_6 _ _
                                    $
             y                      $
             yw/2015Meit            $
               w/ 2016Meit          $
                                    $
                w/ 2015Merit        $
                                    $
                 w/ 2015 Merit      $                  8/112015    7/31/2016     52
Kelly R.ufledg,, w/ 2016 Merit      $                  8/112016    12/1/2016     17
Kimberl Burchett                    $                 11/312014    3126/2015     20
Lmsha Moore                         $                 2/2312015    7/3112015     23
Lmsha Moore w/ 2015 Meit            $                  8/112015    7/31/2016     52
Lmsha Moon w/ 2016 Meil             $                  8/112016    12/1/2016     17
l.aw=Haslw,sl                       $                 2/2312015    6130/2015     18
            slw,s2                  $               9 /19/2016     12/1/2016-    10
                                 - -$
               y                                     10/3112014     4/112015     22
                                $                     2/2312015    7/3112015     23
                                                       8/1/201_5_ _7/31~
          C.Ourwf2015Merit      $                                                52
          Cour wf 2016 Merit    $                     8/1/2016      12/1/2016    17
         ard                    $                    2/2312015      7/31/2015    23


         .
         ard w/ 2015 Merit      $                      8/1/2015     7/31/2016    52
         ard w/ 2016 Merit      $                      8/112016     12/1/2016    17
   II                           $                    2/2312015      7/3112015    23
Matt Taskew/ 2015 Merit         $                      8/112015     7/3112016    52
Matt Taske w/ 2016 Merit        $                      8/1/2016     12/1/2016    17
Michael Kovatch                 $                    2/23/2015      7/31/2015    23
Mkhael Kovatcl, w/2015 Merit    $                      8/112015      3/5/2016    31
Rhonda Fun                      $                    2/2312015      7/31/2015    23
Rhoad., Funw/ 2015 Merit        $                      8/1/2015     7/31/2016    52
Rhoad., Funw/ 2016 Merit        $                      8/112016     12/1/2016    17
                             - -$                   9 /14120r r -   7/31/2016
ll...w West                                                                      46
llondalyuWest w/ 2016 Merit     $                      8/1/2016     12/1/2016    17
San Ellcim-Sch=                 $                    11/312014      3il312015    19
Wahid Lewis                     $                   3 /16/2015      7/31/2015    20
Wahid lewis w/ 2015 Merit       $                      8/112015     7/31/2016    52
Wahid Lewis w/ 2016 Merit       $                      8/112016     12/112016    17




                                                                                                                          Attachment 2
